Case 23-589, Document 77, 01/17/2024, 3604437, Page1 of 213




             23-589
                                IN THE

   United States Court of Appeals
       for the Second Circuit
               ___________________________________________


                MICHAEL DAVIS-GUIDER,
                       Plaintiff-Appellant,

                             – v. –

   CITY OF TROY, RONALD FOUNTAIN, INDIVIDUALLY,
         DANIELLE COONRADT, INDIVIDUALLY,
         CHARLES MCDONALD, INDIVIDUALLY,
            TIM COLANERI, INDIVIDUALLY,
 Defendants-Cross-Claimants-Counter-Claimants-Appellees,

               RENSSELAER COUNTY,
           MICHAEL SIKIRICA, INDIVIDUALLY,
 Defendants-Cross-Claimants-Counter-Claimants-Appellees.

              _________________________________________

      On Appeal from the United States District Court
          for the Northern District of New York
             Case No. 1:17-cv-1290 (FJS/DJS)



          APPENDIX VOLUME 10 OF 11
              Case 23-589, Document 77, 01/17/2024, 3604437, Page2 of 213

             APPENDIX VOLUME 10 TABLE OF CONTENTS


ECF 123-40: Redacted Exhibit 9 ................................................ 1825

ECF 123-41: Redacted Exhibit 15 .............................................. 1895

ECF 123-42: Redacted Exhibit 21 .............................................. 1940

ECF 124: Declaration of Katherine F. Maloney, M.D. .............. 1952

ECF 124-1: Exhibit 1 ................................................................... 1955

ECF 124-2: Exhibit 2 ................................................................... 1961

ECF 129-1: Response to Plaintiff’s Local Rule 56.1

Counter-Statement ...................................................................... 1964

ECF 130-1: Rhiannon I. Spencer Attorney Reply

Declaration................................................................................... 1979

ECF 130-2: Exhibit D .................................................................. 1981
                                                                           ___               ___, __       _______________ _
                                                                                                           ,


                            Case Case 23-589, Document
                                 1:17-cv-01290-DJS     77, 01/17/2024,
                                                   Document   123-40 3604437,
                                                                              APPENDIX
                                                                                 Page3Page
                                                                       Filed 04/01/22  of 213
                                                                                            1 of 70
                                                                                                                                                      1825
=RICA             -   INVESTIGATION                                        DAVIS,                      9/29/15                                                 73


                                          GRAND                         t,TtJR        Y :                Sure.

                                          (Off                     th       (.,e rec-ord.)

                                          (Whe.r·eui:,·7>on,                                         JMICHAEL

           SIKIRICA,                      l'1. D.            I'         'lr--7rl:iS      .t:'E~      called                 to         the

           grand            jury               roan                . )
                                                         HALL:                                :r ' 1 J. r ~min                   d     yo u

           that         you          are                s ti]            __:L          under                    oath         and

           swo r n          t o      t e ,l J.            t. h. ea               t r u t: h ..

                                         THE             v·vI'I'"'.            ESS::                      Yes.
                                      MS .               H AL,            :r.. :             A         couple               of

           f o 1 l ow up            q u e s t i o n s ,,                                D c:, ,::::t o r .

I' HER            E X AM I NAT            I ON             f3 Y              MS .                l-f A L L :

      Q.               With              resp<:::~                ct            to            t r1e             condition                     V-

  found               a t     t. he            res         j.      d t=.'i :n c e                jr_ n         Tr- o y     when              the

nnedj.cs                arrived,                           clo               you                 know              what           --         what

~ e        she        wa s         i n        p h y ~1 .i c                  C:::i.1 1 y ~?

      A.               W e J_J. ,             s h e               w a rs              c o C; 1            to        the          touch,              she

 u n r e s po n. s i v e ,                           b u t              1: l' 1 e y            cl i d           de t ect ,

)o s e d l y ,              s om e            (::!   J. e c:: t         :i::::-:L c a    l           ,3. c t i v • t y           i n         h e r

•t ,        s o       t. h e y      d i d              t r a r 1 .s po                   r t             r •e r      t o     th e            h o s p j_ t a 1 .

      Q.              A n d        wh a t               t :L n:1 E:~                  wa s             s h e       p r on o u n c e d                d e ad?

      A.               Sh e        wa s              p r o n C)               u n c e <.::i a t                    2 ; 08         p .m .

      Q.              And          that                 was                  /:3.t           tl-ie             hospital?




--------------·--                                                           -----
                            ,TOAN        L.          BUl~:LE~I<,.;H                     (51F3)                 767-3030


                                                                                        000853
                           Case Case 23-589, Document
                                1:17-cv-01290-DJS     77, 01/17/2024,
                                                  Document
                                                                       APPENDIX
                                                             123-40 3604437,    Page4Page
                                                                      Filed 04/01/22  of 213
                                                                                           2 of 70
                                                                                                                                                     1826
  SIKIRICA             -     INVESTIGATION                         -   DAVIS,                 9/29/15                                                       74


               Q.                 Okay.                 And            with               respect                   to         the

  injuries                   that          you           observed                            on        V                 ~ during
 your          autopsy                  performed                        on             February                     27th,             2015,

 the      injuries                      that             you           observed,                            is       that

 consistent                         with         C.P,R.'?

              A.                  No.
              Q.                  The         injuries                      that                  you       observed,                           could
 they         have            been              c:aused                by        C.P.R.'?

              A.                  No.
              Q.                  And      in          your             professiona.l,                                    over             the

 1 ast,            since,               what,                 '89,            <;:1s       a       medical                 e:xarni           n er-?

              A.               Y<~S        --~

              Q.                  In    your             career                    as         a        medical                  examiner,
have          you           had         the           opportunj_t:.y                              to       observe                   the

i ..nterior                 organs               of          people                   that              have             had         C.P.R.

performed                     on        them?

              A.               Yes.

              Q.               And         wo u 1 d             th a t;.           j_ n   c l u de               c h i l d r en            '?

            A.                 Yes.

            Q.                And          have              you         ever                 seen            injuries                          of

this          nature?

          A.                  Not          ot         this             extent.                          No.

          Q.                  And          the          type             of           i.nj        ury         --         injuries                     you

observed,                    what             type            of        injuries                           have           you         seen




                                    JOAN        L.      BURLEIGH                   (518)               767-3030


                                                                                000854
                     Case Case 23-589, Document
                          1:17-cv-01290-DJS     77, 01/17/2024,
                                            Document
                                                                 APPENDIX
                                                       123-40 3604437,    Page5Page
                                                                Filed 04/01/22  of 213
                                                                                     3 of 70
                                                                                                                                                     1827
 SlK!RJCA              - INVESTIGATION                           -     DAVIS,                9 / 2 9 / 15                                                   75


 those            in?

            A.                  As         I    said,                motor                               motor-              vehicle
 accidents,                      severe                   blunt               force                    injuries                     to         the
 abdomen,                 and          a                  a     child                  in         a       car          crash              or         run
 over       by          an       automobile                            or         something,

                                                MS.            HALL:                   Does               that

                answer                your.            q,Jestion,                           gx-and                juror?
                                               GRAND                 JUROR:                       I-le          said            they
                didnrt                know            what             they                 were                doing
                with            C.   P.R.                 Could               they                accj_dentally
                do       this           if          they             just              had             no         idea            and
                was       pretending                            to          do         C.    P.R.?

                                               MS.            HALL:                Go          ahead,

                Doctor,                j_ f         you         - -

                                               THE            WITNESS:                        Well,                    I
            think                everyone                       knows                  where                the             heart
            is.               So       if           you're              going                     to        do         C.P.R.
            yol.J're                 going                to      do         it         here
                (indicating),                                 you're                not               going                to
            squeeze                   from              here                (indicating).

                                               GRAND             ~JUROR:                      I          see.               Got

            it.
BY   MS.          HJU.,L:               (Cont'g.)

           Q.                And        where                  were              the          broken                       ribs          with




                                 JOAN          L.     BURLEIGH                    (518)               767-3030


                                                                            000855
                      Case Case 23-589, Document
                           1:17-cv-01290-DJS     77, 01/17/2024,
                                             Document   123-40 3604437,
                                                                         APPENDIX
                                                                           Page6Page
                                                                 Filed 04/01/22  of 213
                                                                                      4 of 70
                                                                                                                                           1828
 S1KIR1CA                  -        INVESTIGATION                    -    DAVIS,           9/.2     9/15                                              76


 .respect                      to      the           heart?

               A.                      Way         down         in           the      back::,              on           the         opposite
 side          of              the          heart.

                                                     GRAND               JUROR:               O·n          both
                   sides
SY      MS.           HALL:                     (Cont'g.)

              Q.                      Lower             right             side,             Poct:.or?

              A.                      Lower             right             side.               Yes

                                                     GRAND               JUROR:               On          both

                   sides               or       one           side?

                                                   THE WITNESS:                              O:o.e          side.
                 Nine                 and       ten.

                                                   GRAND              JUROR:                 OJ;: a Y.
BY      MS.          HALL:                     (Cont'g.)

              Q.                     Were          there               any         broke!.O               ribs            on        the        left
side          of        her.           body?

            A.                       No.

                                                   MS.        HALL:                 Any           other

               questions?

                                                   Yes,         sir.

                                                GRAND             JUROR;                    Y•E:i6h,              if          you
              dj_d              stop           breathing,                          and      you             did           the

              C. P.R.,                       and         he     did           break               her            ribs
              du r i n g                   C. P.R. ,            wo u l d            th e          b 1 o od              s t i l 1.




                                       JOAN        L.     BURGEIGH                 (518)          ,·'67-3030

                                                                               000856
                       Case Case 23-589, Document
                            1:17-cv-01290-DJS     77, 01/17/2024,
                                              Document   123-40 3604437,
                                                                                   APPENDIX
                                                                            Page7Page
                                                                  Filed 04/01/22  of 213
                                                                                       5 of 70
                                                                                                                                                           1829
S JKIRICA          -    INV£.~,              'I':CGA':rION                             -    DAVIS,               9/29/15                                      77


             flow             in           t:o               the                  liver?

                                                            THE                  WITNESS:                                Well,                 C.P.R.

             can                           C ~ a. Il                              can                bleed               --            you        can

            bleed                  with                          C.P.R.,                                but          you're                    not

             going                 tr::,             1:::,leed                         350             M.L.s                  of         blood,

            You'r.e                      not.                    going                          to        bleed                 40         percent

            of         your                   bJ.ood                             volume                       into              your
            abdominc:tl                                     cavity                              if       you             use             C.l?.R.

                                                        MS.                      HALL:                     Okay.                        The.re's

            another                           hand                          back                     there,                I           beJievE;?

            Nope         7

                                                       Yes,                       grand                   juror.

                                                       THE                       FOREPERSON:                                       Were
            C.P.R.                   f      ,c:::;i:i:::-        an              infant,                        would                   that          be

            the         s am ,2,                  a s                 for                  an          ad u l t ,              30

            comp.re.ss,:lons,                                                    two                 breaths?

                                                      MS.                    HALL:                        Well,                    I     don't

            l)elieve                        1:here                          's             been            any            testimony

            with             re~3}:>ec:t                                to                             your          recollection
            .recall.s                ..

                                                      Doc,                        if            you           can             answer?

                                                     'I'HE                  WlTNESS:                                 I        think               the
            b re at hi              r.t •t;J           pa         x.·t            of             it       has             been

            som.ewha                t.           d     j_    s c o n t i nu e d .                                    I         th.ink              it's



                               JO?.\           N            L.        BURLEIGH                           ( 518)          767-3030

                                                                                                     000857
                    Case Case
                         1:17-cv-01290-DJS Document   123-40 3604437,
                                                               Filed 04/01/22
                                                                         Page8Page  6 of 70
                              23-589, Document 77, 01/17/2024,
                                                                       APPENDIXof 213
                                                                                                                                                         1830
                                                                                                                                                                          78
SIKIRICA             -     J NVESTIGATION                         -     DAVIS,                9/29/15


              just               pump.ing                       he        ch           st          at         this                point

              in          time.

BY     MS.          HALL:                  (Co          t'g.)

             Q.                  And         wi        h     respect                          to          Michael                        Davis,                     are

you     aware                  of        his       attempt                           at           C.1?.R.?

             A.                  Yes.

             Q.                  And         djd           he          tell                 you           approx                                  or          are

you     aware                  approx·mately                                   how            many                    ime          s         he

attempted                      it?

         A.                      He       squeezed                       four                or           five                    imes,                  is

what         he          said.
             Q.                  And       when              you              sa,y            "sque                  zed,"                   what              do

you     mea               by          "squ         ezed"?

         A.                      Between                   his           two              hands,                   he             claimed                      that

he     had          squeezed                      the            baby                four               or         fiv                            mes.

                                               MS.          BALL:                         Yes,               mo'      am.

                                               GRAND                   JUROR:                       How            much                 did

              V-                     weigh             and               ow           tall                was            she?

                                               'I'HE        WIT               ESS:                  She            weighed

              2~/         pounds,                  and            she           was                88

              cent          irneters.                        So          she'd                     be        around

              she           was           pretty                  s1nal         l.                 Less              than

              88          c:...ntimeters                        ....                  I'd               hc.1.ve          to                        I

              t.b    • nk            1    have             her           grow                ch,3.rt.                         I        can




                                      .JOAN L.             BURLEIGH                   ( 518)              7 67-3030


                                                                                000858
                    Case Case
                         1:17-cv-01290-DJS Document   123-40 3604437,
                                                               Filed 04/01/22
                                                                         Page9Page  7 of 70
                              23-589, Document 77, 01/17/2024,
                                                                          APPENDIX
                                                                               of 213
                                                                                                                                                1831
                                                                                                                                                       79
IKIRICA        -   I VESTIGATIOl                                  -     DAVIS,             9/29/15


            ook          at        that,                       actually,                         an                      tell

          you.
                                       (W               £!::!reupon,                       The          Wi                 ness

          examining                    sa:l              d         document.)

                                      THE                    WI'I'NESS:                          She                 was

          about               34     inch                e,s           tall.

                                      MS .                   HALL:                    l f        1                         yes,

          ma'am.
                                      G          A!\fD                JUROR:                     You                 said              it

          was       blunt              force                           trauma,                   ic:•               that

          co.:r:rect?

                                      THE                 WITNE:ss:                          Yes                .

                                      GRAND                           JUROR:                     So             t        Jat

          would           eljmina                        .e            :kicking                  or                 an

          ob j ec t ,              be c a u ~; ,e                      i t      wo u 1 d             b e              b r ui s ed

          on       the         outs             id·!,                 correct?
                                      T H.E               Vi.f I      'I' N E S S :          We l .l ,                         i t

            o u     d     po s s • b 1 y·                         b e          s om et h i n g                           J_ i k e      a

          kick,           but          the                   kick               wouldn'                   'l,                     it

          would                ave              to           be          ir          the         back,.                         and         I

          would           see          bruising                                 in         the                  a.       ~ k


                                      GRAJSl D                        ,JUROR:                On                      he           back?

                                      T HE               li~ T T N 'E S S :                                          o         break

           he        ribs.                  And                    -h19:r-e           was            no               evidence




                              JOA          L.           E,URLETG.H                   (518)           767-3030

                                                                                     000859
                 Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 8 of 70
                                                                 APPENDIX
                     Case 23-589, Document 77, 01/17/2024, 3604437, Page10 of 213
                                                                                                                                       1832
                                                                                                                                              80
SIKIRICA           -    INVESTIGATION                            - DAVIS,             9/:2         9/15


           o f         an y      br u i s i n g                   t o th e                 .s 1< j_ n .

                                         GRANO                    JUROR:                     :3 o                     so         she

           was,              lj.ke,               squeezed                     that                 hard

                                         THE               WITNESS:                          ~3 he              was

           squeezed.                              Yes.
                                         GRAND                    JUROR:                     C)kay.

                                         MS.               HALL:                Okay.                           Any

           other               questions                          from           the                Grand                  Jury?

                                         Yes,                    ma' am.

                                         GRAND                    JUROR~                     B c:::: just

           rnentioned                        just.               before               the.it               him             --

           the           man          said                that          he       squ          E~ e        zed          the

           baby              giving                  it          C.P.R.                    Cc>uld                    he         then

           damage                the              back            if      he          tr      i ed              to         give

           C . P . R .           by          s q u e e z in g?                        I ' v • .a           n e v er

           heard               anybody                      doing              that                J:'.'.)efore,

           but         ...

                                         THE               WITNESS:                         T:rr:. e            back

           t.'he         broken                   ri.bs           could               be           j;rom

           squeezing                         to           the          back,               ye~:),               but             it

           wouldn't                    be            associated                            wit:h

           C.P.R.
                                         GRAND                    JUROR:                    NC.)      .          But             I

           me a n t            - -     you                me n ti o n e d                  t. h    211 t        he         s a id



                               JOAN          L.           BURLEIGH             (518)              ·7 67-3030


                                                                          000860
                           CaseCase
                                1:17-cv-01290-DJS  Document   123-40 3604437,
                                                                      Filed 04/01/22
                                                                                Page11Page 9 of 70
                                     23-589, Document 77, 01/17/2024,
                                                                                APPENDIX
                                                                                       of 213
                                                                                                                                                   1833
SIKIRICA               -       INVESTJ'.GATI.:ON                            -      DAVIS,            9/29/15                                               81


                 he            squeezed                         tlhe             baby            to        give           it

                 C.P.R.                       Dj     d          you              just            say          that             a    few

                 mi nut              es       ago?

                                                    TH fC              W IT NESS:                          Yes.

                                                    GR,Z\N             D        JUROR:                     Did       he

                 testify                      to          t]tlat?

                                                    J>-1S.             HALL:                    You          --      your

                 recolJection                                     recalls.                             I     can't

                                                    G RA, N D                   ._,U RO R :                Yes.

                                                    MS.              HALL:                                 answer              that

                 for            yo1,.1.


IY   MS            HALL:                          (Cont             'g.          )

            Q,                      With            res:pect                           to       how         Mj_chael                  Davis

erformed                        C.        P.R.,                ,::i.:id          you           observe                that             on      a   video

nywhere?                            A       rE!cor1::Jj1.n9?

            A.                      Yes.

            Q.                   Okay.                     A     n d            w ha       t    he     w a. s        d em o :n s t r a t i n g

n    thal               video,                     cou~l          cl        that               have           caused                the

n j u t:· i r:; s          j    n       V

            A.                   What              he           w,3.s            demonsLrating                                 could            have

a.u$ed             the              :injuri               e~3          on            V_,                   the       squeez:i.ng

f feet             to           her           abdorne                  n.               Yes.

            Q .                  Wha t             i. n j u :c y                 w o Ll l d           yo    1.1   see          as         a   re s u 1 t

f    that?




                                      JOAN          L.         .BURLEIGH                       (518)        7 67-3     03 0

                                                                                        000861
---,-------~-------------------------------.
             Case Case 23-589, Document
                  1:17-cv-01290-DJS     77, 01/17/2024,
                                    Document   123-40 3604437,    Page12
                                                        Filed 04/01/22   of 213
                                                                       Page
                                                                                APPENDIX
                                                                             10 of 70
                                                                                                                                                               1834 82
   S:I KIRICA                        -    INVESTIGATION                         -        DAVIS,               9/ 2 9 / J_5


                          A.                   You             woµld             see              the          tearing                       ot     the

   J_i     ve        r.                                    I        saw         he            was        a         very           big             man.              He

   he           had                 ver:·y          large                 hands,                     The             J_ i ve r              would            be
   to:r.:·n,                   could                be         .Lacerated                          severely,                          a~nd         you         could.
  b :c €~ a k                  r i bs .                But           the            amount                    of         bleeding                       suggests

   tha,t                  shf~           wai:;         alive               afterwards.                                     Foux·             or         five
  sq       u.eezes                       is         not          going                   to        produce                     that               kind         of

  bJ..ood.                 in            the         abdominal                             cavity.

                                              Her           heart               probably                           only           has             maybe             10
  M_       :r:...s         o.f.          blood.                      So     if             you          sq1.J.eeze                    every              10       M.L.s

  ofr                      of:           blood                 out         of        tr1at              heart                  five            times,

  w.b.ich                  .i.!;;        very             unlikely,                           you            would,,                  21t     the            most,

  get            50            M.L.s                 of         blood.

                     Q.                       And,             again,                    ho\l'l     much                 was           .Ln        her

 abdominal                                cav.ity'?

                     A.                       Closer                 to         40 0           M. L . s .

                     Q.                       And         with             respect                       to         your              f:~Lnding,                  was

 t h E~ r: e              a n y t }1 i n 9                  ab out              V                       D-                  in          your
 e ;< Et 1 n i n a t ion                         and            a.u tops             y        of        h <~r        t    h a t        would

 incLi.cate                              why        she             would                have            lost               consc:i..ousness

 w j_ t. h o u t                    th :L s         .i n j u r y ?

                     A.                    No.

                     Q~                    In        other.               words,                    would                 there               be         a

 r e a .~,o n                  t o        1::i. n d.       her            i n bed                  n o t:          r e s po       n s iv(:!         7




                                                JOAN           L.     BURLEIGH                     (518)            767-3030


                                                                                           000862
--------                     --··---------------------------
                            Case
                     Case.......  23-589, Document
                             1:17-cv-01290-DJS     77, 01/17/2024,
                                               Document   123-40 3604437,
                                                                         APPENDIX
                                                                             Page13
                                                                   Filed 04/01/22   of 213
                                                                                  Page  11 of 70
                                                                                                                                          1835
S!KIRICA         -    J:NVF.::S'I'IGAT!ON                            -     DAVIS,            9/29/15
                                                                                                                                             83


           A.             No.

           Q.             No           illness?                                 Nothing                  metabolic?

       A.                A        h f= a l. t h y                    ch     j_ l   d .

                                               MS.                 HALL:                  All       right.

            Anythi.ng                        £·urther?
                                               ·yes            .

                                              ASSISTANT                               FOREPERSON:                                  It

            was                    I         believe                        I      just            heard                    that

            if       there                  w~s                some             electri.cal                            --      it

           wa s        d e t e c t                 E: d        t h a t          t h ere            wa s           s om e

           heart                            e 1 e c t r i c a J.                      :Lrnp u 1 s e

                                               (Whereupon,                                  the         Court

           Reporter                         asked.                   for           clarification.)

                                              J.\ S S IS            TANT              FOR F.,PERSON                     :

           activ:Lty                        w)'1en                 the                    when           thE:!


           ambuJ_        a. nee                a rrj_ved.

                                              M.S.                 HALL:               Okay.
                                             A~ssI,S'I'AN'T                           FOREPERSON:                                  And

           is                "v.JOl.:'.11      d                     wou 1d               t h at         •. n d .i cat e

           th a t        s :h e             wa s                         that             her       --           that               she

           had.       pc:lt:3SE~d                   oetore                      the         ambulance                          or

           she        w a ;•3,              1:'Lke,                 within                  minutes                     of
           passinq,                         E:30          to         speak?

                                                               HALL:                   If         you            can



                              JOAN             L.          BURLEIGH                   ( 518}        767-3030

                                                                                000863
                      Case Case 23-589, Document
                           1:17-cv-01290-DJS     77, 01/17/2024,
                                             Document   123-40 3604437,
                                                                       APPENDIX
                                                                           Page14
                                                                 Filed 04/01/22   of 213
                                                                                Page  12 of 70
                                                                                                                                     1836
3IKXRJ:CA            -    INVESTIGATIO•N                          -     DAVIS,          9/29/Jt5
                                                                                                                                            84


                 answer                 that            quest            ·on       -~

                                                THE          W I'TNESS:                      I         can

                understand                           the          question.
                                                It         vv o u :1 d         i n di c a t e                  - -     i f

                if       these                 injuries                      occurred,                          she

                would                have            been              dying           in         a.         course            of

                about                J..5      or       20        mi.nutes.

                                                So         Lo         E i nd      t he           e l E:: c t r i ca 1

                a.ct i v i t y                 i n di      c at       ,e d     t ha t        th        e, y

                occur.red                      15       ox        20         minutes                   b•(?.!fore            the

                a.mbu l a n c e                 go t            t h ~e re .

:Y   MS     .        HALL        :          (Cont            ' g . )

          Q.                Wa s            the       r E:~ a n y             s a vi n g           t r.1..i s          chi    1 d?

          )\.               No.

                                               MS.           HALL:               Grand                  jurors

                .have       any             othet:·               questions                  7

                                                (Whereupon,                        the            G:cand                Ju1:~y

                j nd i c a t e s                in         t: h e       n e g a t j_ v e . )

                                               MS.           HALL:               Okay.                        I'll

            t ha n k             t. h j_ .s w i L n e ~~ s .                      Thank                  you.

                                               THE           WITNESS:                       Yup         ..           Thank

            you.

                                                (Where              upon,          The            W:iL tness

            was          excused.)



                                     JOAN       L.      BURLE;IGH               (518)            767--3030

                                                                              000864
          Case Case 23-589, Document
               1:17-cv-01290-DJS Document
                                                  APPENDIX
                                     77, 01/17/2024,
                                            123-40 3604437,    Page15
                                                     Filed 04/01/22   of 213
                                                                    Page  13 of 70
                                                                                                                           1837
                                                                                                                                            43
                 FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15

    ''

          1      Thereupon,

          2                                                   RONALD FOUNTAIN,

          3      having           been          duly              sworn          by     The       Foreperson                   of     the

          4      Grand           Jury,          was         examined                  and        testified                as

          5      follows:

          6      EXAMINATION BY MS.                                    HALL:

          7                 Q,            Again,                  if      you        would         state           your         name

          8      and      spell           it         for      the             record,            please?

          9                 A.             It's            Ronald               Fountain,                F-O-U-N-T-A-I-N.

         10                 Q.            And where                       are        you      currently                employed?

         11                 A.            Troy             Police               Department.

         12                 Q.            And how                      long      have         you        been         employed

         13      there?
         14                 A.            Twenty-three                           years.

         15                 Q.            And in                  what          capacity             are        you       currently

         16      working            in?
         17                 A.             I am the                     juvenile              investigator/sex

         18      crimes           for          the         City          of      Troy        Police.

         19                 Q.            And what                      exactly             do     you       do      on        a daily

         20      basis?
         21                 A.             I am assigned                             every         case         in     the          City

         22      of    Troy,            well,              just          about,            regarding                 a sexual

         23      assault,               a child               injury,                 a child             fatality,                 an

         24      adult       sexual                  assault,                  all      come        to       me.
'
~




                                                JOAN L. BURLEIGH (518)                              7~7-10~n
                                                            000865
      Case Case 23-589, Document
           1:17-cv-01290-DJS Document
                                          APPENDIX
                                 77, 01/17/2024,
                                        123-40 3604437,    Page16
                                                 Filed 04/01/22   of 213
                                                                Page  14 of 70
                                                                                                                         1838
              FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15                                                                                    44

 (
      1                 Q.           Do you                   have         any      specialized                         training

      2       with      respect               to         those             cases?
      3                 A.          I do.                     I've         been       to     Dallas,                    Texas        for

      4       the     Crimes            Against                 Children               conference.                            They

      5       sent      me to           Seattle,                     Washington               for            the        Juveniles

      6       for     Justice.                 I've             been          to     the      New York                    State

      7       Best      Practices,                   the             Advanced              Best         Practices,
      8       investigator                    school,                 and        probably               a whole                 bunch
      9       of     other       little              trainings                      every         year             to     keep       me
     10      updated          on        all         the         laws.
     11                 Q.          And            how         long         have       you        been             in      that
     12      capacity?

     13                A.           About                eight             years.
     14                Q.           And            were          you        working           in        that             capacity
     15      on      February             26th            of         2015?
     16               .A.           I     was.

     17                Q.           And            did         there          come         a point                 in      time
     18      when       you      were          called                 to     respond              to     856            4th       Ave.?
     19                A.           Yes.

     20                Q.           And        where                 is     that?
     21                A.           It        is         in     Lansingburgh,                          the         northern
     22      part      of     the        city.
     23                Q.           City            of         Troy?
     24                A.           County                of         Rensselaer,                  State             of        New
'.




                                         JOAN L. BURLEIGH (518)                             767-3010
                                                    000866
 Case Case
      1:17-cv-01290-DJS Document   123-40 3604437,
                                            Filed 04/01/22 Page  15 of 70
           23-589, Document
                                      APPENDIX
                            77, 01/17/2024,           Page17 of 213
                                                                                                               1839
                                                                                                                                     45
        FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1      York.

 2                  Q.           And       what        was           your          purpose             of     going

 3      there?

 4                  A.           There          was        a call             for          a child            fatality

 5      at    the        time.           They          didn't              know        if      the          child             was

 6      going        to        make      it      or        not,         so     they          called            --         my

 7      Captain            called             myself            and        told        me to            respond                 to

 8      the       scene.

 9                  Q.           And       you        in        fact         did      that?

10                 A.            I did.

11                 Q.            And      describe                   wha           occurred             when             you

12      arrived.

13                 A.            When         we got              there            there       was          a couple

14      of    patrol            officers               that            were        already             at           he

15      scene.             An ambulance                     had         already              left.             I think                I

16      caught           the     tail          end         of     the         ambulance                pulling

17      away.            Ad      the          mother            of      the        child         and         the

18      boyfriend               of      the      mother                were        both        still           at         the

19      scene,           outside,              waiting.

20                 Q.            And      what         was           the      mother's                 name,             if     you

21      recall?

22                 A.            Her      name         is         Rebecca             Parker.

23                 Q.            And      what         was           the      mother's                 boyfriend's

24      name?



                                     JOAN L.          BURLEIGH (518)                  767-3030
                                               000867
 Case Case
      1:17-cv-01290-DJS Document   123-40 3604437,
                                            Filed 04/01/22 Page  16 of 70
           23-589, Document
                                    APPENDIX
                            77, 01/17/2024,           Page18 of 213
                                                                                                           1840
                                                                                                                           46
        FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1                A.          Michael              Davis          Guider          (phonetic

 2      spelling)

 3                Q.          And with              respect            to        Michael               Davis

 4      Guider,         do     you      know         his        date        of     birth?

 5                A.          I'm      going          to     go     with

 6                Q.          Are      you         guessing?

 7                A.          I'm      pretty             sure.           I      know       it's           19 ■.

 8      That's         for     sure.

 9                Q.          You said              the      ambulance                  had        left.

10                A.          It     did.

11                Q.          Who took              her?           Who left              in        the

12      ambulance,             if      you      know?

13                A.          The      2-and-a-half                    year        old,            V

14      Davis.

15                Q.          And mom nor                  Michael               Davis        went             in   that

16      ambulance?

17                A.          Neither              one     of      them          went       in       the

18      ambulance.

19                Q.          Do the          Troy         Police             prevent              either

20      party       from       going          in     an     ambulaQce?

21                A.          No,      we would              not.

22                Q.          Would          the      paramedics                  --     have            you

23      worked         with        paramedics               before?

24                A.          Twenty-six                  years.



                                   JOAN L. BURLEIGH (518)                        767-3030
                                            000868
Case Case
     1:17-cv-01290-DJS Document   123-40 3604437,
                                           Filed 04/01/22 Page  17 of 70
          23-589, Document
                                         APPENDIX
                           77, 01/17/2024,           Page19 of 213
                                                                                                                                1841
                                                                                                                                                   47
        FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1                Q.               And         do      they            prevent                    a parent                     or      a

 2      legal          guardian                to          go     with             a child                     in     an

 3      ambulance?

 4                A.               Absolutely                         they          would                let          them            go.

 5                Q.               Would             let         me go?                   They              wouldn't

 6      preve          t    them          from             going             --

 7                A.               They         would                 not         stop            them.                   No.

 8                Q.               And         once             you         arrived                    at      this            address,

 9      February                 26th,         2015,              describe                        what          you            did.

10                A.               Well,             we spoke                     to      Michael                     and           Rebecca

11      just       briefly,                 and            asked             them            if         they          would                come

12      down           o the            police              station                     and        talk              to        us     because

13      we didn't                 know         what              was         going                on        yet.

14                                 So myself                     and         my partner,                              Chuck

15      McDonald,                 asked             Michael                  to         go        with          us.             Michael

16      sat      in        the      front             see,            because                     he's          a very                big

17      fe      low,        and          Chuck             sat         in         the        backseat,                         and      we

18      drove          down         to      the            police                 station.                      Rebecca                 was

19      brought             down          by        one          of     the             patrol                 officers                 who

20      was      there,             and        she          was         brought                     to         the         station.

21                Q.               And         they             both         went             voluntarily?

22                A.               They         did.

23                Q.               And         did         there              come            a point                     in        time      on

24      February                 26th       when             you        had             a conversation                                with



                                         JOAN L. BURLEIGH (518)                                    767-10~0
                                                  000869
 Case Case
      1:17-cv-01290-DJS Document   123-40 3604437,
                                            Filed 04/01/22 Page  18 of 70
           23-589, Document 77, 01/17/2024,
                                           APPENDIX   Page20 of 213
                                                                                                                       1842
                                                                                                                                      48
        FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1      Michael           Davis?

 2                 A.            There              did.

 3                 Q.            Would              you      describe                  that           for        the      grand

 4      jurors,           please.

 5                 A.            He was               sitting             downstairs                        in      Chuck

 6        cDonald's                   office,              which          is        right           next          to      mine.

 7      We're       in       the           juvenile             sectio                    of     the        police

 8      department,                    the          back       part           of     it.            And          we asked

 9      Michael           --          well,          we started                     off        by      asking             him     how

10      the       day     went.                  Who was            at        the         house.                 What         could

11      have       happened.                        And     according                     to     Michael,                 there

12      was       nobody              at      the     house             but         him        from         the         time

13      Rebecca           left             for       work        in       the        morning                at         8:30.

14      And when               she         returned             home            at        1 p.m.,                the      only

15      person          in       that            house         was        him        and         ~ D-

16                 Q.            And          did        you        a     any          point           in        time

17      verify          that           information?

18                 A.            He did.                    We got             a statement                       from

19      Rebecca,             we got                 a statement                     from         an     independent

20      witness           that             she       was       at       work,             and       we got              her

21      Stewart's               work             records            for         that           day,          that         she     was

22      using       the          --        the       cash       register                    at      S ewart's

23      between           the          hours           of      9 a.m.               and        1 p.m.

24                 Q.            So        she        was       not       with             the        child            between



                                       JOAN L.           BURLEIGH (5 8\                    lhl-~n~n
                                                    000870
    Case Case
         1:17-cv-01290-DJS Document   123-40 3604437,
                                               Filed 04/01/22 Page  19 of 70
              23-589, Document 77, 01/17/2024,
                                              APPENDIX   Page21 of 213
                                                                                                                              1843
                                                                                                                                                     49
            FOUNTAIN - I VESTIGATION - DAVIS, 9/29/15

/
     1      9 and           1 --         at      9 a.m.              and         1 p.m.                on      February                    26th?

     2                 A.              That's            correct.

     3                 Q.              And did               Michael                  describe                   the          day,          or

     4     how the               day          started?

     5                 A.                He     did.

     6                 Q.              And          could           you         describe                 that            for         the

     7     Grand            Jury,         please.

     8                 A.              Michael               said           that             he        woke         up        to     the

     9      smell           of      V-              pooping                in      her            Pamper.                 And

    10      they're              trying             to       potty              train             her,         so        he

    11      immediately                   made           her         stop          pooping                  in      her            Pamper

    12     and      he       guided              her         towards               the            back         bathroom.                         The

    13     bathroom                 was        in      the         back          part             of     the        apartment.

    14                                   At     that          same          time             Rebecca                was        leaving

    15     and      said,              goodbye,                I     love          you,            to       them          and         walked

    16     out      the          door.              He       continued                     to      bring            her            back,

    17     helped            her         get        on       the         toilet,                  and       I guess                  she

    18      fin'shed                pooping,                 according                     to      him,          at       8:30             in

    19     the      morning.
    20                                   Then        after               that         he        brought                her         back

    21      into       the          Jiving             room          where              he        sleeps.                 He         put         a

    22     new      Pamper               on      her,          he        got       her            something                   to      drink

    23      and     she          didn't             want           it,          and        then          she        was            tired             at

    24      8:30       in        the      morning                  and          decided                she       wanted                to        go



                                              JOAN L. BURLEIGH (518)                               767-3030
                                                       000871
 Case Case
      1:17-cv-01290-DJS Document   123-40 3604437,
                                            Filed 04/01/22 Page  20 of 70
           23-589, Document
                                       APPENDIX
                            77, 01/17/2024,           Page22 of 213
                                                                                                                      1844
                                                                                                                                            50
        FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1      back       to      bed.

 2                 Q.           Can        you       describe                      for      the         grand              jurors

 3      the       layout          of        he     apartment,                        the         size           of      the

 4      apartment?

 5                 A.             Sure.            It's          --         it's           not        huge,           but           it's

 6      not      tiny        either.               When           you          walk             in     the        main            entry

 7      door       you're             in    like          a living                   room,             that's

        probably             about,           I don't                  know,              15,        20        feet        by        15

 9      feet.           And       that's           where              they           have            a couple                 of

10      mattresses                and       they          sleep              --

1 J.               Q.           Wh en        you          say         '' th e y "          who        a re       yo u

12      referrjng               to?

13                 A.           Oh.          Rebecca              and              Michael                have        a

14      mattress             and       they         sleep              in         there.              There's                 a T.V.

15      with       a --         with        a D.V.D.                  player               attached                   to      it.

16      There's            a futon            to      the         left,              that            they         can         push

17      down       into         a bed,           also.                And          then          they           have          a

18      dresser            in     that        room.

19                                Immediately                    to         the          right            of     that             room

20      is      where        ~slept.                             And              there          is       a single                   bed,

21      a bunch            of     clothes             and         stuff              like            that.              She          has

22      a dresser,                I believe.                     And              then          there's               a space

23      heater          on      the        ground           to        keep           her         warm           because

24      they       said         that        room          kind          of         gets          cold.



                                      JOAN L. BURLEIGH (518)                               767-3030
                                              000872
 Case Case
      1:17-cv-01290-DJS Document   123-40 3604437,
                                            Filed 04/01/22 Page  21 of 70
           23-589, Document
                                         APPENDIX
                            77, 01/17/2024,           Page23 of 213
                                                                                                                      1845
                                                                                                                                          51
        FOUNTAIN - I VESTIGATION                                - DAVIS,            9/29/15



 1                                 The        next           room         up        is        he      kitchen,                and

 2      then        after           the         kitchen              is        the        bathroom.                    And

 3      that's             the      entire              house.

 4                 Q.              The        wall           where         Rebecca                 and      Michael

 5      sleep,             is     that          a     shared             wall            with        ~•s                    room?

 6                 A.              It     is.

 7                 Q.             Okay.                From        the          room        where           V-                --

 8      where           Michael            and          Rebecca                sleep,              can      you         see        into

 9      V-'s                room?

10                 A.              You can.

11                 Q.              Describe                  what,         if         anything,                  he     says

12      nex

13                 A.              He told                 me that              she        went          back         to      bed

14      because             she         was         tired.               And         he     put       a D.V.D.                 in

15      the       recorder                and         he      watched                           ational               Treasure

16      was       the       D.V.O.              he      told         me he               watched.                He watched

17      the       D.V.D.           and          he      fell         asleep.

18                 Q.             What's               the        nex           thing           he       told         you.

19                 A.              He told                 me     that          he        awoke          and      the

20      credits             were          playing,                 and         he        decided            to        get      up

21      and       start             aking             breakfast                 for         him          and~-                          He

22      said        he      called              in      for        ~a                     couple            of        times         and

23      she       d'dn't            respond.                      And     we're             assuming                  this         is

        around             12:30          p.m.               So    about             four          hours          later.



                                        JOAN L. BURLEIGH (518) 767-3030
                                                     000873
      Case Case 23-589, Document
           1:17-cv-01290-DJS     77, 01/17/2024,
                             Document
                                                APPENDIX
                                        123-40 3604437,    Page24
                                                 Filed 04/01/22   of 213
                                                                Page  22 of 70
                                                                                                                                    1846
              FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15                                                                                                     52


      1                    Q.               Well,              did         the        defendant                   at        any              point

      2       in     time            tell           you         what            time         he      woke            up?
                           A.               He said                  he        thought             it        was        11         or         12:00.


                                                                                                                                               --
      3

      4      He wasn't                      sure.               He said                he      went          in        to          see

      5       she      was           lying           in         her        bed.              He went               to        wake              her         up

      6      and       shake             her,             she         wouldn't                move.                At which                        time

      7      he      said            that           he        started                what         he      believed                       to        be
      8      C.P.R.               And          he        started                  compressions                         in          the            room.

      9                    Q.               Did          he        tell          you        how many                 times               he        did
     10      that?

     11                    A.               He said                  in        the       room        he       did           it       once,
     12      then          he     carried                     her         out        into         the        living                 room,               put
     13      her       on        the         futon             and         there             he      again             tried                 C.P.R.
     14      When          she         didn't                 respond,                 he     said           he        tried                 to      get
     15      a phone              to         work,             but         the         phones             weren't                   working,
     16      his       cell            phones.                      So he            ran      up        to     a neighbor's
     17      house,             and          left             V-                there.               He ran             up          about

     18      five          doors,              knocked                    on     a friend's                    house                up         the
     19      street,              nobody                 answered.                         He went             back              again               to

     20      the       house,                checked                 on~,                         who        still               wasn't
     21      moving             or      breathing,                         again             tried           to        give             her
     22      C.P.R.               She         didn't                 respond.                     He left               the             house

     23      again,             leaving                  V-                in        the      house,               proceeded                         over

i,
     24      to      the        restaurant                          across             the        street.                    It'         s




                                              JOAN L. BURLEIGH (518)                                    767-3030
                                                          000874
 Case Case
      1:17-cv-01290-DJS Document   123-40 3604437,
                                            Filed 04/01/22 Page  23 of 70
           23-589, Document
                                          APPENDIX
                            77, 01/17/2024,           Page25 of 213
                                                                                                                           1847
                                                                                                                                                 53
        FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1      Testo's            Restaurant                       in       Troy,            which             is         kitty-corner

 2      to      where           they         live.                 He asked                 if         he     could                 use     the

 3      phone,           one         of     the            employees                  said,             here.                  You         can

 4      use      my cell               phone.                  He then                called                 for         an

 5      ambulance.                     He called                     9-1-1.                 And         I     believe

 6      within           the         next            ten       minutes                the         Fire             Department

 7      arrived            at        the         scene.

 8                Q.              Did           he     tell          you          what           he         did      after

 9      that?

10                A.              After              he       left          Testo's,                   he         was          crossing

11      the      street,               at        the        same          time         the

12      mother,            Rebecca,                    was         pulling             in         the         house.                      She

13      had      gotten              a ride                from        Mr.        Brown,                who         was

14      dropping               her         off         after           her        shift                at     Stewart's.

15      He went            and         said,               she's          not         breathing.                           She's            not

16      breathing,                   to     Rebecca.                      And         at         the         same          time            the

17      Fire       Department                        was       pulling                in         and         the        police

18      were       pulling                 in.             And       he      said           that            was          it.

19                Q.              Did           --     at        any        point            in        time          did            he

20      describe               how V                        was        in       the         morning?

21                A.              He said                  she       was          a little                   slow              to     the

22      go.        I mean,                 he        was       --      she         just           wasn't,                  like,            all

23      with       it.           But         she           walked            to       the         bathroom                      fine,

24      she      wasn't              thirsty.                       He said                she         had         had         a cold,



                                       JOAN L. BURLEIGH (518)                                767-3030
                                                     000875
 Case Case
      1:17-cv-01290-DJS Document   123-40 3604437,
                                            Filed 04/01/22 Page  24 of 70
           23-589, Document
                                     APPENDIX
                            77, 01/17/2024,           Page26 of 213
                                                                                                                   1848
                                                                                                                                         54
        FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1      but     that         was     about               a week            before.                     She       --     they

 2      given          her    some         over-the-counter                                   Motrin             from

 3      Family           Do)lar.              She            was        fine.              She         hadn't           been

 4      sick       late)y,           not        in           the        last          few        days.

 5                 Q.          Did       he        indicate                    when          the       last           time       he

 6      had     given         her        Motrin               was,         or         Family              Dollar

 7      Ibuprofen?

 8                A.           He said                  it        was     over             a few          days         ago.

 9      At     least         a few         days              ago.

10                 Q.          Did       he        --        if      you            would,          can         you

11      describe             what        you        observed                    as     Michael                Davis'

12      demeanor?

13                A.           Calm.               He wasn't                        runn'ng            around               or

14      screaming             like         you           would             hink            somebody                would            if

15      they       had       had     a 2-and-a-half                                 year         old       who         wasn't

16      breathing.                  And       --         and        he         --     he      was         kind         of

17      subdued.              He wasn't                      yelling.                   He wasn't

18      screaming.                  He wasn't                      claiming,                  I don't                 know       what

19      happened.              He was               just            very            even         keel         about

20      everything.

21                Q.           What        is        Michael                   Davis'              rela         ionship             to

22      V-D~

23                A.           I think                  in        a roundabout                      way,         he         might

24      be     a cous·n             of     hers.                   He's         not        the         biological



                                    JOAN L. BURLEIGH (518)                                 767-3030
                                              000876
 Case Case
      1:17-cv-01290-DJS Document   123-40 3604437,
                                            Filed 04/01/22 Page  25 of 70
           23-589, Document
                                         APPENDIX
                            77, 01/17/2024,           Page27 of 213
                                                                                                                           1849
                                                                                                                                            55
        FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1      father,              but      he        might          be      a cousin                     of      the

 2      biological                   father.                  And      I'm         not             sure          if        there's

 3      an      actual             blood          relation                 or      if        it's           an         adoption

 4      thing.

 5                 Q.              Okay.               But,         suffice                  to      say,             Michael

 6      Davis          is      cousins             with          v-                o-•                    biological

 7      father?

 8                 A.              Correct.

 9                 Q.              What,          if        anything,                   did          he      say           after

10      that?

11                 A.              Well,          once          we got              to        the          police

12      station              we spoke              to         him      at       length.                     He told                  us

13      about          his      basketball                     career.                   He told                      us      about

14      how       h~     got         home        the          night          before                 after              going          out

15      to      a friend's                    house.             How                              was       already

16      asleep           the         night         before              when             he         got      home              around

17      ten.           She         was        already            in        bed.               It         might             have       been

18      a little               bit       latter               than         that.                   That          she          had

19      eaten          SpaghettiOs,                      he      thinks,                 the             night             before.

20      But       besides               that,          he      talked              about                 himself               a lot,

21      that       he        was        the      only          person              in         the         house.                  There

22      was       never            anybody             else           in     there.                      He told               me that

23      numerous               times.

24                                 At      subsequent                      interviews                      he          told         me he



                                        JOAN L. BURLEIGH (518)                               767-3010
                                                  000877
 Case Case
      1:17-cv-01290-DJS Document   123-40 3604437,
                                            Filed 04/01/22 Page  26 of 70
           23-589, Document
                                       APPENDIX
                            77, 01/17/2024,           Page28 of 213
                                                                                                                 1850
                                                                                                                                     56
        FOUNTAIN - INVESTIGATIO                               - DAVIS, 9/29/15


 1      knew       his         own strength                     and         he      knew         that          he

 2      couldn't               harm         a child.

 3                Q.                Couldn't              harm            a child           or       --

 4                A.                Well,         he      knew            how to          treat            a child,

 5      and      tha           he     had         held        many          children               and         he      knew

 6      that       he would                 not        hurt          them        by       holding              them            or

 7      doing          anything              wrong.

 8                Q.                Going         bac           to        that        interview,                     did       he

 9      account               for     --     well,             if     you        know,           what          time            was

10      9-1-1          called?

11                A.                About         1:07          p.m.,            1:05       p.m.

12                Q.                And     you         said         he      said         he      woke          up

13      between               11 and         12?

14                A.                Yes.          But         there          was        also         no        clocks,

15      and      the          phones         weren't                 working,              so      he       really

16      wasn't           too        sure          of     the         time.

17                Q.                Did     he         have         any      explanation                       for         a time

18      difference                  between              11         and      12 and            when         9-1-1

19      arrived?

20                A.                He could              not         explain             that.

21                Q.                Did     he         talk         about         V-              being              injured

22      or     hurt           in    any      way         that         morning?

23                A.                He said             there             was     no      hing            wrong            with

24      her.           It's         normal             occurrence                   for        her        to     be        a



                                      JOAN L. BURLEIGH (518)                            767-30~0
                                                  000878
    Case Case
         1:17-cv-01290-DJS Document   123-40 3604437,
                                               Filed 04/01/22 Page  27 of 70
              23-589, Document 77, 01/17/2024,
                                              APPENDIX   Page29 of 213
                                                                                                                             1851
                                                                                                                                               '57
            FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


        1   little               tired          and       sometimes                 go         back         to        bed          at     8:30

        2   in       the         morning            for          a 2-and-a-half                            year            old.

        3              Q.                 Did       he     indicate                 to        you       how          C.P.R.              was

        4   performed?

        5              A.                He did,                  He --

        6              Q.                Could           you       describe                   that,             please.

        7              A.                He explained                      to     me in                         in      --        he

        8   would           place             his        hand          underneath                    her        back              and     he

        9   would           push          very           gently           on      the          front            of         her         chest

    10      and       her         stomach                area,          and       then          he         would             blow         into

    1       her       mouth              a few           times.               And        he      said           her          chest

    12      would           rise          and       the          air      wouldn't                   come            out.              So he

    13      slowly,               again,            pushed              the       air          out         of        her          and

    14      would           try          blowing            in         again,            but           he       air          wouldn't

    15      come           out,          he'd       have          to      push           it     out.

    16                 Q.                Did        he     tell           you     how many                      times             he

    17      tried           that?

    18                 A.                At     least             three         different                       times.

    19                 Q.                And        you      said          that          he      went             for         help,            he

    20      left           the      child           at      the         house?

    21                 A.                Twice.

    22                 Q.                Was anyone                    home       with           lhat             child?

    23                 A.                No     one.

    24                 Q.                With         respect              to     V-                  D-                     do     you
.

                                              JOAN L. BURLEIGH (518)                            767-3010
                                                         000879
 Case Case
      1:17-cv-01290-DJS Document   123-40 3604437,
                                            Filed 04/01/22 Page  28 of 70
           23-589, Document 77, 01/17/2024,
                                           APPENDIX   Page30 of 213
                                                                                                                               1852
                                                                                                                                                    58
        FOUNTAIN - INVESTIGATION- DAVIS, 9/29/15


 1      know          what           she       was        wearing              on          February                      26th            of

 2      2015?

 3                    A.              I believe                 she          had        on        a                some             type          of

 4      nightshirt,                        with          a f ower              on          it,          and         a         Pamper.

 5                    Q.              And         was      there             any        discussion                            with            him

 6      with          respect                to     the        Pamper?

 7                    A.              We asked                 him      if      he          had             changed                 it

 8      recently.                      We asked                him       if        he        changed                     it      after              he

 9      gave          her           C.P.R.              We asked               him           about                 the         one         that

10      was          on     the        floor.              And         how         he        stopped                     her         in       mid

11      poop          from           pooping              in     the          rest           of         it         and         then           got

12      back              o the            toilet          to         continue                   pooping.                       He --

13      he      --        his        explanation                     was,          this            is         what                       how

14      they          do        i     , and         this         is      how          they're                      potty

15      training                    her.

16                                    He stated                 he      had          not          changed                     her

17      diaper              after            C.P.R.              And          that           was             the         way         we

18      found             her.

19                    Q.              And         with         respect               to          the         diaper,                     were

20      there             any        observations                      made           at         the          time             that           the

21      child             was        fou      d?

22                    A.              I believe                 the          diaper               was          clean.

23                    Q.              When          you        say       "clean,"                      is      that             dry

24      and



                                           JOAN L. BURLEIGH (518)                                767-3030
                                                    000880
Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 29 of 70

                                     APPENDIX
    Case 23-589, Document 77, 01/17/2024, 3604437, Page31 of 213
                                                                                                                         1853
                                                                                                                                               59
       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1                A.            Dry        and        no      fecal                matter.

 2                Q.            Did        you        have          an            opportunity                          to      walk

 3     through            the        house?

 4                A.            I did.

 5                Q.            Did        you        make         any             observations                              with

 6·    respect            to     the         apartment,                       and            specifically

 7     vlllil's           room?
 8                A.            Her        bedsheets,                        it         --          it      kind         of      looked

 9     like       made.              There         was         a little                        indentation                          on the

10     pillow          where           the       head          was,               and          then              the         sheet        was

11     perfect,            and         the       --        and          the             blankeL                  over         the

12     sheet       was          really           neat.                  It        wasn't                   like         fussed            up

13     or     messed            up or         anything.                           It         was           all         kind         of

14     very       neat,          like         somebody                   had             just              got         out      of       bed

15     and      pulled           everything                    back               up.

16                Q.            And is             that          the              area          where              Michael

17     Davis       described                  finding                   ~ D-                                     unresponsive?

18                A.            Yes.
19                Q.            Was the               information                            --           what         you      were

20     seeing          with          your        eyes          consistent                                with          the

21     information                   he      was        giving                you?

22                A.            Yes.

23                Q.            It        looked           like              C.P.R.                      had      been

24     performed                in     that        --



                                                                              ,~.,r.,         ---
                                     JOAN L.          RTl'RT.\:'Tr.'U
                                                 000881
Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 30 of 70
                                         APPENDIX
    Case 23-589, Document 77, 01/17/2024, 3604437, Page32 of 213
                                                                                                                             1854
                                                                                                                                                  60
       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1                    A.            Oh,        no.           It     --        there             was          no        messy

 2     stuff.                 He definitely                        wasn't              moving                her             on      top

 3     and       messing                 up     the         sheets.                  It         just         didn't                  look

 4     like           it.          But        could           he        have?              1 don't                     know.

 5                    Q.            And        you         said         with           respect                to         a dirty

 6     diaper,               you         observed                 a dirty                 diaper?

 7                   A.             It        was      sitting                on       (sic)            the            living,                on

 8     the       floor             next         to         a sippy              cup.

 9                    Q.            With           respect               to~,                          did         you            have        a

10     con~ersation                        with            Michael              Davis            about                 her         being

11     in      any          pain         or     expressing                      pain            in     any             way?

12                   A.             I did.                 And      I asked                 him         if         she            cried

13     at      all,          if      she        screamed                 and         yelled              when                she         went

14     back           to     bed         at     8: 30         and        he        said,             nope,              she          didn't

15     say       a      wor·d.             She        didn't             yelJ                   She      didn't                    say      she

16     was       hurt.               He actually                        said,             usually                 if         sre's

17     hurt,            she        would            tell          me if            something                      hurt.

18                    Q.            And        did         she      indicate                    to      him            in         any      way

19     tha            she         was      hurt?

20                   A.             No,        she         did      not.

21                   Q.             With           respect               to     --        during              the                course

22     of      the          conversatjon,                         did         you         ask        him          about              him

23     touching                   her,        or      doing             anything                  to     her,                i     juring

24     her       in         any      way?



                                         JOAN L. BURLEIGH (5181                             7h7-~n~n
                                                      000882
Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 31 of 70
                                         APPENDIX
    Case 23-589, Document 77, 01/17/2024, 3604437, Page33 of 213
                                                                                                                                       1855
                                                                                                                                                               61
       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1                  A.             I did.                    I asked                  him            if            maybe               by

 2     chance,                 when          he     brought                    he         back                     to       the         bathroom

 3     to      finish             the         morning                   poop,                 if      he            was           upset             again

 4     about             changing                 the         child's                    diaper.                            I     asked             him

 5     if      he        had      maybe             picked                her            up         or             squeezed                   her        and

 6     said         that          this             is     where                poop                comes                   from.              Did        you

 7     actually                 give          her         a squeeze                       and              tell                 her,          this            is

 8     what         it         feels          like            and         --        and             that's                      how         you         know

 9     when         you         have          to        go       to       the            bathroom.                                And,           again,

10     he      said         he         did        not         do        that.

11                  Q.             Did            you     discuss                     his            size                  and         his

12     strength?

13                  A.             We did,                at            length.                      I        --

14                  Q.             And            what         was            discussed                            with            respect                   to

15     that?

16                  A.             I asked                him            if         he         knew                that            his           size,

17     being             one      6 foot                10       and           300        pounds,                           compared                    to

18     her      size,             being             a tiny                little                    girl,                   that            he

19     wouldn't                 have          to        squeeze                 very                hard                   to     hurt           her.

20     And      he        said          he         knows            his         own                strength                       and         he

21     knows             that          he     would              not           hurt                a child.                         He        knows

22     how      to        handle              children.

23                  Q.             Did            there            --         anything                        with               respect                 to

24     the      February                     26th         interview                           --         any~hing                        in       the



                                        JOAN L.              RllRT.J:'Tf':U         1.::,n1          ...,,.....,    ---·

                                                        000883
Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 32 of 70
                                       APPENDIX
    Case 23-589, Document 77, 01/17/2024, 3604437, Page34 of 213
                                                                                                                           1856
                                                                                                                                                 62
       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 l     February             26th,             2015         interview                 that                 gave               you         any

 2     sort        of      further              information?

 3                A.             I     remember                him      telling                   us            how          he      was

 4     alone,            how         there         was       no      one       else              there                  on         the

 5     February             26th,            but        that         interview                        was             very          short

 6     and       brie,           because                we didn't               even                  know              at         that

 7     time        how~                      had        passed.

 B                Q.             Did         there          come        a point                   in            time           when

 9     you       re-interviewed                         and       met      with             Michael                          again?

10                A.             I met           with          him      two       other                        times.                I met

11     with        him      on        February               2nd      of       2015              and             --

12                Q.             February                  2nd?

13                A.             I'm         sorry.               March        2nd               of            2015          at      the

14     police            station,               and        I interviewed                              him             on      tape.

15     And       then       I met            with          him       again           on          September                          9th        at

16     ~he       police              station.                Interviewed                         him             a      few         weeks

17     ago.

18                Q.             o·d         you      learn          any       other                    information

19     than        that        which            you        previously                   gjven                    to          the         grand
        •            ?
20     Jurors.

21                A.             I believe                  I 1 ve      said          everything.                                    I

22     could        be      missing                something.                    It's                 been              a while.

23                Q.             During              the       course          of         those                   interviews,

24     if     you        could          recall             what       was        said,                     in         sum          and



                                      JOAN L.         BORT.F.TC::1-l tr;.      0 1    .,,....,        ""..,"

                                                   000884
 Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 33 of 70

                                       APPENDIX
     Case 23-589, Document 77, 01/17/2024, 3604437, Page35 of 213
                                                                                                                        1857
                                                                                                                                              63
        fOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1      substance,                 with          respect                    to         that         day        and      V-'s

 2      injuries.
 3                A.               I   --       the          last           interview                     I had          with             him

 4      on      September                9th,          I        spoke             at        length,             telling                 him

 5      that        we knew              now          the        cause                 of     death,            how          she        had

 6      died,          ad      that            there             had         to         be      somebody                who         did

 7      this        to      her.             And       he        stated                 to      me again                that            he

 8      was      the        only         person                 in     the         house,              there            was         no

 9      one      else        there             the          entire                day.               He also            stated

10      that        he      knew         his          own        strength,                      and        he        knew          that

11      he      would        not         harm          a child                    because              he       knew          it        was

12      like        to      use        his       strength,                        and          he     would            not         do

13      that.            I believe                    that's                everything.

14                                              (Pause.)

15                                              MS.          HALL:                I don't                 think          I

16                   have          anything                   further                   fxom          (sic)

17                   this          witness.

18                                              Do any               of          the          grad          jurors

19                   have          any         questions?

20                                              Yes,            ma'am.

21                                              GRAND JUROR:                                  I'm

22                   confused.                     Where              did          she          die?            In

23                   the      house             or         in        the         hospital                 or      in

24                   transport?



                                       JOAN      T,        ~r PT r,T,-,,.
                                                      000885
Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 34 of 70
                                   APPENDIX
    Case 23-589, Document 77, 01/17/2024, 3604437, Page36 of 213
                                                                                                                    1858
                                                                                                                                     64
       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1                                       MS. HALL:                      Detective

 2                 Fountain?

 3                                       THE WITNESS:                             The            easiest

 4                 way      to     answer           that          is,         the            hospital

 5                 has      to     pronounce                deaths,                 whether

 6                 you're          dead      or      not.               So

 7                                       GRAND JUROR:                             No.              I         know

 8                 that.           But      where           did         --        where                did

 9                 she      expire?

10     BY MS.          HALL:          (Cont'        g. )

11                Q.         Do you          recall           V-                    --           or          do     you      know

12     V          's     condition             at     the         house,                    at         856         4th       Ave.,

13     when       9-1-1          arrived,           or      the         paramedics                                arrived?

14                A.         She       was     not         breathing,                            and          they        were

15     doing       everything                they          could             to      try               and         get       her     to

16     breathe.             She       was      --     there             was          no           heartbeat                   and

17     there       was      no      breath          at      that             time.

JS                Q.         So the          child           was         in         full               cardiac

19     arrest?

20                A.         According               to      the         medical                       people.                 I'm
21     not     medical            people,           though.

22                                       MS.        HALL:               Did        that                answer

23                 your      question,               ma'am?

24                                       GRAND JUROR:                             Uh-huh.



                                  JOAN L.      BURJ,F.T~H           1i:;1P\         -ic-.         ..,,.,~~

                                             000886
 Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 35 of 70
                                   APPENDIX
     Case 23-589, Document 77, 01/17/2024, 3604437, Page37 of 213
                                                                                                                             1859
                                                                                                                                         65
         FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1                                         GRAND JUROR:                               What            time

 2                   was     that?

 3       BY MS.        HALL:           (Cont'g.)

 4                Q.          What             time       was         9-1-1             called?

 5                A.          1:05         p.m.-ish,                       give         or take                         a couple

     6   of   minutes.

 7                Q.          And      with             respect                to       the            earlier

 8       question,           so      the         actual              death             was           pronounced.

     9            A.          At     St.         Mary's               Hospital                   by               the

10       attending           physician,                    whoever                    that           was.

11                Q.          Do you              know          if         they         wee                ever              able   to

12       revive        ~or                     get       any         life             back           to           her?

13                A.          I heard                  there          was         some           kind                   of    rhythm

14       somewhere,            but         I     don't           know

15                Q.          I want              --      if         you       don't             know,                   don't      --

16                A.          I don't                  know.

]7                Q.          Okay.

)8                                         MS.          HALL:               Any         other

19                   questions                 from       the          grand             jurors?

20                                         GRAND JUROR;                               What            time

21                   did     the      individual                       go      over             to          the

22                   restaurant                 to      use          the       phone?

23                                         THE WITNESS:                               About                1:05

24                   p.m.          They         were           there           within                   five



                                   JOAN L. BlJRLEJ~H                        IC:.1R\      ,t=,        -:,n--.r-.

                                                 000887
Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 36 of 70
                                    APPENDIX
    Case 23-589, Document 77, 01/17/2024, 3604437, Page38 of 213
                                                                                                                      1860
                                                                                                                                     66
       fOUNTAI          - INVESTIGATION                     - DAVIS,           9/29/15



 1                  minutes            of        him         calling,                the           Fire

 2                  Department                   had         showed            up.

 3     BY MS.           HALL:            (Cont'g.)

 4                 Q.           And        is        the      Fire        Department                            who

 5     appropriately                     responds                in       Troy            when            there's            a

 6     medical             emergency?

 7               A.             Yes.             They         have        --         we       have              our    own

 8     ambulance                service.                    So the            Fire           Department                 and

 9     the    ambulance                  from          Troy          go       to      every               medical            scene

10     in    the        city.

11                                          GRAND JUROR:                             Could              the

12                  damage          have             been       caused               by           him

13                  trying          to          do     C.P.R.?

14                                          MS.            HALL:          I don'                    believe

15                  that's          an          appropriate                    question                        for

16                  this         witness               --

17                                          GRAND JUROR:                             It's           the

18                  other         one.               I'm      sorry.

19                                          MS.            HALL:          I

20                                          GRAND JUROR:                             Because                    I

21                  didn't          know             there         was         C.P.R.

22                  involved               before             this.

23                                          MS.            HALL:          Well,               your

24                  recollection                       refresh             --        you           know,



                                   JOAN L.            BURLF:T~l-l         1c:-,1p,      ..,c..,    ...,"..,"

                                                     000888
Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 37 of 70
                                   APPENDIX
    Case 23-589, Document 77, 01/17/2024, 3604437, Page39 of 213
                                                                                                            1861
                                                                                                                   67
       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1             your           recollection                        recalls            what            the

 2             t      stimony               was.             If     you      want          to        call

 3             that        witness                   back,          we can           do         that.

 4             If      you         want           to       ask      for      a read              back,

 5             we can              do       that           as     well.

 6                                          GRAND JUROR:                       No.          He

 7             didn't              say         anything              about           C.P.R.

 8                                          GRAND JUROR:                       Yes,         he

 9             did       --

10                                          MS.        HALL:             Your

11             r      collection                     --     wait.            That's              for

12             your        de]iberations                            --

13                                          GRAND JUROR:                        Sorry.

14                                          MS.        HALL:             Your

15             recollection                          re      --     recalls.                   So,

16             it's           --       if      the         grand          jurors           want            to

17             call        back             in       that         witness,               we can             do

18             that           as       well.

19                                          Any        other         questions                   for

20             this        witness?

21                                          Oh.            I'm     sorry.                Yes,

22             ma'am.

23                                          THE FOREPERSON:                              Mr.
24             Davis,              a        the           time      of      Mr.      Davis



                                   JOAN L. BURLF.TGH1~1A\                          ,~,     ~n~~

                                                 000889
 Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 38 of 70
                                  APPENDIX
     Case 23-589, Document 77, 01/17/2024, 3604437, Page40 of 213
                                                                                                                           1862
                                                                                                                                  68
       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1              spoke           that       he     --      they             have              a way                    in

 2              to      change            her     diaper.                     Was were                              they

 3              have         to     --     a way          to      change                     --           change

 4              her       diaper?                Was      there               any            kind                   of

 5              noise           she      was      making              or       any                kind                of

 6              sound?

 7                                       MS.      HALL:               If      you             know                   the

 8              answer             to    that?

 9                                       THE WITNESS:                         He said                               that

10              she       had       awoken           and       he          had        gotten                          up

11              because             she        was      pooping                in        her

12              diaper.                 How

13                                       MS.      HALL:               Not        --           in             the

14             morning.                  At             are       you          referring                                   to

J5              the      afternoon?

16                                       •rHE     FOREPERSON:                           I 'rn

17              referring                when        he       first            spoke,                          that

]8             he      got        up     to      change           her

19                                       MS.      HALL:               Okay.

20                                       THE      FOREPERSON:                           --              to

21              change            her      diapers.

22                                       MS.     HALL:                Okay.                   Thank

23              you       for       clarifying.

24                                       THE WITNESS:                         He had                          told



                                  JOAN    L.    BURJ.F.Tr::l-1      /C:.1A\       '1C....,        ':)/'\ .... ,.,

                                               000890
Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 39 of 70
                                      APPENDIX
    Case 23-589, Document 77, 01/17/2024, 3604437, Page41 of 213
                                                                                                                    1863
                                                                                                                                      69
       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1                 me that              he         had         heard         her,           and         that's

 2                 when          he     woke             up      because              he         knew         she

 3                 was      pooping                     in     her      diaper.                    How he

 4                 knew,          I don't                     know

 5                                               THE FOREPERSON:                                 Heard          her

 6                 doing          what?

 7                                               GRAND JUROR:                         Pooping              --

 8                                               MS.         HALL:         He can                 only

 9                 answer              the         question               as         to     what          he

10                 was      --        what           he        told       him

11                                               THE WITNESS:                         He said              h

12                 knew          she         was         pooping.

13                                               MS.         HALL:         And            those          are

14                 M ..     Davis            1     words?

15                                               THE WITNESS:                         They         are.

 6     BY MS.          HALL:             (Cont'g.)

17                Q.            And with                     respect            to        ~s                    activity

18     tha        morning,               djd            he      describe                  that      to         you?

19                A.            Just             that          she     had       awoken                 and       she        was

20     pooping.                 And      --         and         I helped-~                        you     know,            I

21     started            changing                  her         and      told             her      to     stop          and

22     bro       ght      her      to         the            bathroom.                    That's          what          he     told

23     me.

24                Q.            Other             than          being           tired,              as     you



                                   JOAN L. BURLEIGH (518\                                  7M1-~n~n
                                                    000891
 Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 40 of 70
                                             APPENDIX
     Case 23-589, Document 77, 01/17/2024, 3604437, Page42 of 213
                                                                                                                                    1864
          FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                                          70


     1    testified                    to         earlier,                  did         he        mention                    that          she

     2   was
     3                A.                She         wasn't                 thirsty.                      Se             took          the

     4   sippy             cup         and         she          didn't              take               a drink.                      She        put

 5       it     to         her         mouth             and           tasted            it            and        put          it         down.

     6                                                THE FOREPERSON:                                        So     he

 7                     so         he         changed                 her        and          brought                    her

 8                     back             into             the         area          where               she         --

 9                     wlere                 he     went             to     go       change                  her?

10                                                   MS.             HALL:              Well,             we can

11                     re-ask                 that             question,                     if        you         --

12       BY MS.             HALL:                  (Cont'g.)
13                    Q.                If        you         would,               Detective                      Fountain,                      what

14       did     Michael                     Davis              tell         you         he        did            after              changing
15       her,         or        tell          --         tell             you      what            happened                     after
16       changing                 ~?

17                    A.               After              he         stopped             her             from            pooping,                    he

18       guided             her         back             to       the        bathroom                    in        the          back            of
19       the     house                 so     she          could             finish                going                to      the

20       bathroom                 on         the         toilet,                then              he     brought                    her           ack
21       to     the         living                 room          where             he        sleeps                and          he        put        a
22       new     Pamper                 on         her          there,             and            then         she            went          back

23       to     bed        in      the             bedroom                 right             next            to         that          room.
24                   Q.                Did         he           ut        her       to        bed         or        did             she     put



                                             JOAN L. BURLEIGH (~1RI                                    7h7-~n~n
                                                          000892
Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 41 of 70
                                      APPENDIX
    Case 23-589, Document 77, 01/17/2024, 3604437, Page43 of 213
                                                                                                                              1865
                                                                                                                                               71
       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


 1     herself              o bed               --

 2                A.             He said                     she       puts           herself                  to        bed.           She

 3     went       in        here           and              went         back             to      sleep,                 were      his

 4     words.
 5                Q.             And         did             you         find         the         --       or        where         did

 6     you       find       the        sippy                     cup     and          the         dirty              diaper             that

 7     you        estified                 to             earlier?

 8                A.             Right               in          the        living             room            where            Mr.

 9     Davis           sleeps.

10                Q.             In        the            area         where              he      testified

11     changing             her        Pamper?

 2                A.             Yes.                And           that's             between                  --        you      know,

13     it's       a common                 --             it's         the       living                room,              and      then

14     her      doorway               into                her      bedroom.                       And        that                  it      was

15     right           before          her                doorway,               in         the        Jiving                 room.

16     Sitting            on          he        floor              was          the         crumpled                     up     paper

17     and       the      sippy            cup              of     water.

18                                              MS.              HALL:            Any          other

19                 questjons                     from              the       Grand             Jury                for

20                 this          witness?

21                                               (Whereupon,                          the         Grand              Jury

22                 indicates                     in          the         negative.)

23                                              MS.              HALL:            Let          the         record

24                 reflect                 in         the          negative.



                                      JOAN           L.      BIJRT,P. ~1-1       1t;,o,        .,r.,      '"'"~-

                                                          000893
 Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 42 of 70
                               APPENDIX
     Case 23-589, Document 77, 01/17/2024, 3604437, Page44 of 213
                                                                                                                    1866
                                                                                                                           72
        INVESTIGATION - DAVIS, 9/29/15


 1                                     Excuse                you      at        this             time.

 2                                     Thank             you.

 3                                     THE WITNESS:                             Thanks.

 4                                     {Whereupon,                        The         Witness

 5              was     excused.)

 6                                     (Off            the      record.)

 7                                     MS.         HALL:              Okay.                  That's

 8              the     conclusion                      in     this                     the

 9              conclusion                  of     proof            in         this           case

10              wjth      respect                 to     the        investigation

11.             into      the      death                of     V

12                                     Is        this         any         additional

13              questions              the         Grand            Jury             has           at        this

14              time?
15                                     GRAND JUROR:                             Yes.                  Can

16              you     read       back            what            the         doctor                     said

J7              about       the        C.P.R.?

18                                     MS.         HALL:              Would                 you            like

19              me to       recall                the        doctor?

20                                     GRAND JUROR:                             If          he

21              doesn't          mind.                  I just              didn't                 hear

22              the     part

23                                     MS.         HALL~               Is       that              the

24              request           of        the         grand            jurors?



                               JOAN L.           BURT,F.H::H          (1;1PI         jC"l        ..,"""

                                             000894
              Case Case
                   1:17-cv-01290-DJS Document   123-40 3604437,
                                                         Filed 04/01/22 Page  43 of 70
                        23-589, Document
                                                   APPENDIX
                                         77, 01/17/2024,           Page45 of 213
                                                                                                                           1867           15
                    SIKIRICA - INVESTIGATION - DAVIS, 9/29/15

.,   -
          1        having          been          duly       sworn            by        The     Foreperson                  of     the

          2         Grand         Jury,          was      examined                 and        testified               as

          3         follows:

          4        EXAMINATION BY MS.                             HALL:

          5                  Q.             Good        morning.                   Would             you     state          and

          6         spell         your          name      again          for           the      record,             please?

          7                  A.             Yes.           My name                is     Michael             Sikirica,

          8         S-I-K-I-R-I-C-A.

          9                  Q.             And,         Dr.       Sikirica,                   are        you       currently

         10        employed?

         11                  A.             Yes.

         12                  Q.             And what               is     your           employment?

         13                  A.             Well,          I'm      the        medical                examiner              for

         14        Rensselaer                   County,           and        I also            have          a private

         15        business               serving          many          other               counties           in      the       area.

         16                  Q.             And what               is     "medical                   examiner              for

         17        Rensselaer                   Coun      y"      mean?                Can      you        describe              that?

         18                  A.             Well,          it's         an        appointed                position.                 I

         19        was      appointed               by      the         director                of     the      Health

         20         Departrnen                     I manage              the           death         investigations                       in

         21         this       cou        ty,     the      medical/legal                         death

         22         investigations,                       work          w'th           the      police          department.

         23        We have           four         death           scene            investigators.                          And      I do

         24        the      autopsies               that          are        required                in      this       county.



                                                 JOAN L.          BURLEIGH (518)                 767-3030


                                                               000895
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  44 of 70
               23-589, Document
                                        APPENDIX
                                77, 01/17/2024,           Page46 of 213
                                                                                                                    1868              16
           SIKIRICA        - INVESTIGATION - DAVIS, 9/29/15


 1                   Q,          What           are         your            --     well,        you          said        y9u

 2         work      in     other         counties                     with         your       private               business

 3         as     well?

 4                   A.          Yes.

 5                   Q.          Do you               do      those              same        responsibilities

 6         in     other        counties?

 7                   A.          A little                   bit        less.            Many            counties            in

 8         New York            State           don't              have           medical           examiners               or

 9         they      have       a coroner                    system.                 So they                 need        someone

10         with      the       training                to         do     the        autopsies.                      So    I do

11         the      autopsies             for          many            counties.

12                   Q.          And when                   you        say         "training",                  what        is

13         your      training?                  What's                 your         educational

14         background?

15                   A.          Yes.               I graduated                     from        med.           school            in

16         1989,       State          University                       of        New York           in        Buffalo.                I

17         did      a general             pathology                      residency                 in        Berkshire

18         Medical          Center,             Pittsfield,                        Massachusetts.                          I did

19         a fellowship                 in          forensic                pathology               in        San

20         Antonio,           Texas.                 And          a fellowship                     in

21         neuropathology                      at      Brown             University                 in        Rhode

22         Island          Hospital             before                 I went           to     work.

23                   Q.          And where                   did            you     first          work,            Doctor?

24                   A.          I     first           began                working           as        an     assistant



                                     JOAN L. BURLEIGH (518)                                767-3030


                                                     000896
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  45 of 70
               23-589, Document
                                            APPENDIX
                                77, 01/17/2024,           Page47 of 213
                                                                                                                        1869          17
           SIKIRICA - INVESTIGATION - DAVIS, 9/29/15


 1         to     the        medical             examiner                 for         the         State          of     Rhode

 2         Island,            and         then            I became              the         deputy            chief         for

 3         the     State         of        Rhode             Island.                 And          in      2001        I came

 4         back         to    this         area.

 5                   Q.              Doing            the        duties           and         responsibilities

 6         you     prescribed                    --        described                  previously?

 7                   A.              Yes.

 8                   Q.              Over        the         course             of      your            career,           how

 9         many         autopsies                would           you        estimate                   that        you've

10         performed?

11                   A.              Well,            I     know       I've           done             over       ten

12         thousand.

13                   Q.              And     how many                  of       those             autopsies               have

14         been         on    children                or      infants?

15                   A.              It     would            have         been          at        least           several

16         hundred.
17                   Q.              Do you               hold      any         certificates?

_8                   A.              Yes.

19                   Q.              And     what            would          those             be?

20                   A.              I'm     Board               Certified                   in        anatomic

21         pa     hology,             clinical                pathology,                     forensic                 pathology

22         and     neuropathology.
23                   Q.              And     did            there         come          a point               in        time

24         when         you    were          asked            to     perform                 an        autopsy            on      a



                                          JOAN L.           BURLEIGH (5 8)                   767-3030


                                                      000897
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  46 of 70
               23-589, Document
                                      APPENDIX
                                77, 01/17/2024,           Page48 of 213
                                                                                                          1870         18
          SIKIRICA - INVESTIGATION - DAVIS, 9/29/15


 1        person         by   the     name         of~                    D-?

 2                  A.        Yes.

 3                  Q.        And do          you        recall           what         date        that         was?

 4                  A.        I believe                 that      was        on the           27th        of

 5        February.
 6                  Q.        Of what           year?

 7                  A.        This       year.

 8                  Q.        2015?

 9                  A.        Yes.

10                  Q.        Okay.           And do            you       recall          V-              D-'

11        date      of    birth?

12                  A.        It     was      in        July.          I'd        have        to     look        at    a

13        copy      of    my record,               if     --

14                  Q.        You have             a copy            of      your        report           with

15        you,      Doctor?

16                  A.        Yes,       I do.

17                  Q.        And referring                     to     that,           will        that         help

18        refresh         your       recollection                    with       respect             to     the

19        autopsy         performed            on V                    D-
20                  A.        Yes.

21                  Q.        I'd      ask      you        to     refer           to     that.

22                                       (Whereupon,                   The      Witness

23                   complying           with           request.)

24                  A.        Yes.           Her        date      of      birth          was



                                    JOAN L. BURLEIGH (518)                      767-3030

                                              000898
     Case Case 23-589, Document
          1:17-cv-01290-DJS Document
                                            APPENDIX
                                77, 01/17/2024,
                                       123-40 3604437,    Page49
                                                Filed 04/01/22   of 213
                                                               Page  47 of 70
                                                                                                                     1871             19
           SIKIRICA            - INVESTIGATION - DAVIS, 9/29/15


 1

 2         BY MS.              HALL:            (Cont'g.)

 3                       Q.          At        the     time            of                when      you     performed

 4         the      autopsy               on                                         about         how       long          had

 5         she      been         deceased?
 6                       A.          She        had        been         deceased                 about          20   hours
 7         or      so.
 8                       Q.          Do you            know            her        time       of     death?

 9                    A.             It     would            have            been         around         2:00        in         the

10         evening             the        day        before.
11                       Q.          February                26th            of     2015?
12                   A.              Yes.
13                    Q.             And        why were                you         asked         to     perform                an

14         autopsy             on V-                  D-
15                   A.              Well,           this          was        an        unusual          death         in        a

16         healthy             2-and-a-half                       to        3-year-old                 child,         that            we
17         didn't             have        a --        we didn't                    have          a reason            for
18         V-             to    be        dead.             So,        of         course,          she      does           need
19         an      autopsy.
20                   Q.              And        what         exactly                is      an    autopsy?
21                   A.              Well,           an      autopsy                is      an    external
22         examination,                    combined                with            an     internal

23         examination,                    and        it     also            involves              analysis                of
24         other          things           that            could         be        important.                   Things



                                          JOAN L. BURLEIGH (518)                            767-3030


                                                     000899
     Case Case 23-589, Document
          1:17-cv-01290-DJS Document
                                             APPENDIX
                                77, 01/17/2024,
                                       123-40 3604437,    Page50
                                                Filed 04/01/22   of 213
                                                               Page  48 of 70
                                                                                                                                  1872             20
           SIKIRICA           - INVESTIGATION - DAVIS, 9/29/15


 1         like        medical              records,                    witness             statements,                            police

 2         reports,                photographs,                         other          kind            of        testing                 like

 3         toxicology.                     Other              specific                 testing                   may          be

 4         X-rays,            microbiology                         testing              to        see            if         a person

 5         may      have        an      infection.                           So it's                         it's             a

 6         conglomeration                      of        these               modalities                      to        determine

 7         the      cause           and      manner                of        death.

 8                     Q.            And      in     this               particular                     case            of         V-

 9         D_,               can       you    describe                       the      procedure                        that            you

10         used        with         respect              to        the         autopsy?

11                     A.            Yes.           In        --        in      ~•s                    case,                she        came

12         to     us    in      a --         in      a body                  pouch.               It        was         locked                up

13         from        the      hospital                 where               she      was         pronounced.                              We

14         open        the      pouch,             we took                   some       photographs.                                We

15         took        measurements                      of        her        body.               We look                    for         any

16        evidence              of      trauma.                    In        her      case,             we also                    did        a
17         sexual            assault          kit.                 We arranged                     to            have             X-rays

18        taken.              X-rays          were             done            in     the         morgue.                         We

19        measured              her       height               and           her      weight.                       Just

20        recorded              her       general                  features.                      And            then             we went
21        ahead         and         we did          the            internal                 examination.
22                     Q.            Okay.           And           with             respect                 to        the

23        external              examination                        --        well,          let         me take                    a step
24        back.             Who was           present                    doing          this            autopsy?                         Do



                                       JOAN L. BURLEIGH (518)                                767-3030


                                                    000900
         Case Case 23-589, Document
              1:17-cv-01290-DJS Document
                                              APPENDIX
                                    77, 01/17/2024,
                                           123-40 3604437,    Page51
                                                    Filed 04/01/22   of 213
                                                                   Page  49 of 70
                                                                                                                     1873
                                                                                                                                      21
               SIKIRICA          - INVESTIGATION - DAVIS, 9/29/15

I
     1         you      know?

     2                   A.            The        representatives                          from         Troy         P.D.

     3         were      present,              including                 Troy         --         Tim        Colaneri,

     4         Detective              Fountain.                   And        there             was      another

     5         detective,                if    I could              refer           here             (indicating).

     6                                              {Whereupon,                    The          Witness

     7                    examining                 said          document.)

     8                   A.            It     was        Charles             McDonald.                       And     there

     9         was      also       the        Assistant                 District                 Attorney,              at     the

    10         time      was      Andra            Ackerman.

    11         BY MS.           HALL:             (Cont'g.)

    12                   Q.            And        what       is     the           purpose              for      Troy

    13         Police          being          present             for        the      autopsy?

    14                   A.            Well         an     autopsy                can't          occur          in      a

    15         vacuum,           so      we have            to      have           some          information                  of

    16         what      the      police            or      other            people             may         know       about

    17         the      case.            So they            are         there         to         feed        me

    18         information,                   I'm        there          to      ask        them         questions.

    19         It's      a give             and     take          situation.                      And        they're           also

    20         there        to     take        photographs                      and        to     collect              any

    21         evidence           that         might          need           to     be         secured.

    22                   Q.            And        did      that         occur             in     ~•s                 case?

    23                   A.            Yes.
    24                   Q.            And        you      then         testified                    that       you         were



                                            JOAN L. BURLEIGH (518)                             767-3030

                                                         000901
     Case Case 23-589, Document
          1:17-cv-01290-DJS Document
                                          APPENDIX
                                77, 01/17/2024,
                                       123-40 3604437,    Page52
                                                Filed 04/01/22   of 213
                                                               Page  50 of 70
                                                                                                                     1874              22
           SIKIRICA          - INVESTIGATION - DAVIS, 9/29/15


 1         doing           observations                 of      her      external                   body?

 2                    A.            Yes.

 3                    Q.            What,         if     any,         findings                   did         you        find       or

 4         meet
 5                    A.            There         was        just       a very              slight              lifting

 6         of      the             of     the      toenail             along             the        right            great

 7         toe.            So that          was        the      extent           of        it.            It       --      there

 8         was       no      trauma         --     no        significant                   trauma.

 9                    Q.            Any     bruising                noted           at      all?

10                    A.            No.

11                    Q.            And     then         from         that          point              did      you        begin

12         an      internal             examination?

13                    A.            Yes,         we did.

14                    Q.            Could         you        describe               that            for        the       Grand

15         Jury,          please?

16                    A.            Well,         the        internal               examination                         starts

17         with          a "Y"        shaped           incision              that          goes           down,           cross

18         the       chest         and      abdomen.                  And     then             we also,                  later

19         on,      do      an     incision             of      the      scalp             and         remove             the

20         brain.

21                                  But     the         remarkable                  thing,                as    doing            the

22         "Y"       shaped           incision,               as      we cut             into          the         abdominal

23         cavity,            there         was        a large           amount                of      blood            that

24         started            to    ooze         from         the      abdominal                    cavity.



                                        JOAN L. BURLEIGH (518)                           767-3030

                                                  000902
     Case Case 23-589, Document
          1:17-cv-01290-DJS Document
                                            APPENDIX
                                77, 01/17/2024,
                                       123-40 3604437,    Page53
                                                Filed 04/01/22   of 213
                                                               Page  51 of 70
                                                                                                                       1875           23
           SIKIRICA        - INVESTIGATION - DAVIS, 9/29/15


 1                   Q.           And        is     it        normal            to        have        blood             --      is
 2         that      a finding                you        would            normally                see        in         the
 3         abdomen          cavity?

 4                  A.            No.
 5                  Q.            Okay.             And why               not?

 6                  A.            Well,           the         --     there's               no blood

 7         circulating                 in     the        abdominal                   cavity.                 Your

 8        intestines               are        there,               your        liver         or         your           spleen.
 9        So you          don't          have        free           blood            in     the        abdominal
10        cavity.
11                  Q.            So it's               not        something                 you        would             see        in
12        a normal           child
13                  A.            No.
14                  Q.            --        a healthy               child?

15                  A.            No.

16                  Q.            Were        you        able            to     quantify                or        qualify
17        or      measure         that            amount            of        blood         in        there?
18                  A.            Yes,        I was.
19                  Q.            And what,                   if    you         recall,               was         the
20        measurement?

21                  A.            We had            about           350         M.L.s            of     liquid
22        blood,          plus         a small            amount               of      blood           clot,             totally
23        and      probably             about            400        M.L.s.
24                  Q.            And based               on        --        with         respect                to     a



                                       JOAN L. BURLEIGH (518}                             767-3030

                                                  000903
 Case Case 23-589, Document
      1:17-cv-01290-DJS Document
                                          APPENDIX
                            77, 01/17/2024,
                                   123-40 3604437,    Page54
                                            Filed 04/01/22   of 213
                                                           Page  52 of 70
                                                                                                                  1876
                                                                                                                                     24
       SIKIRICA         - INVESTIGATION - DAVIS, 9/29/15


 1     child       of         V-'s                 age,            height            and         weight,           that          you

 2     described               taking              earlier,                   how many              blood          is      in

 3     her      body          overall?                    Or       how much                blood          --      how much

 4     blood        flow            --     for          her        age        and       size,           how      much

 5     blood       was         in         that          abdominal                   cavity          overall?

 6     Meaning,               compared                  to        what        her       norm        --         amount          of

 7     blood       in         her         entire              body         is?          Do you            follow           that

 8     question?

 9                A.            Yes,             I think             so.

10                                               (Laughter.)

11                A.            The                   the         blood          volume            on      a     child          of

12           of    ---'sage                             would            be      somewhere                between              800

13     and      1,000          milliliters.                              So there                was      about           40

14     percent           of         her      blood                volume            that         had      leaked           into

15     her      abdominal                  cavity.

16                              And once                     it     gets         into        the         abdominal

17     cavity          it's          out         of       circulation.                           So it's           not

18     pumped          anywhere,                   it's            just          internal                bleeding.

19     BY MS.          HALL:                (Cont'g.)

20                Q.            Can't              go        through             the        heart          and       to    the

21     extremities                   or      anywhere                    else?

22                A.            No.

23                Q.            Okay.                 Were          you       able          to      determine,                  at

24     some       point,             where              that         came           from?



                                     JOAN L. BURLEIGH (518)                                767-3030

                                                   000904
     Case Case 23-589, Document
          1:17-cv-01290-DJS     77, 01/17/2024,
                            Document
                                               APPENDIX
                                       123-40 3604437,    Page55
                                                Filed 04/01/22   of 213
                                                               Page  53 of 70
                                                                                                                                      1877             25
           SIKIRICA            - INVESTIGATION - DAVIS, 9/29/15


 1                      A.             Yes.

 2                       Q.            Would              you      describe                    that            for             the       Grand

 3         Jury,          please?

 4                      A.             Well,              it     was         fairly                obvious                    that         there

 5         were          very          severe              lacerations                        of        the         liver.                     There

 6         were          lacerations                       to     the         effect                that            a large

 7        portion               of      liver              had      actually                   been                torn          away.

 8                                     And          the         liver          is        --        is      an        organ               that

 9        we describe                     as         friable.                      And        --        and         that              means,

10         it     doesn't               have          a thick                 capsule                   around                 it,       it's
11         kind          of     crumbly.

12                                     So when                  blunt          force               trauma                 is         applied

13        to      the         abdomen,                we can                 see        damage                to         the          liver,
14        and       the         liver              tears.               It         lacerates.                         Because
15        the       --        it's       a crumbly                      organ,                with            only             a very
16        thin           capsule              around              it.              It    --        it's             --         it's        like
17        no other                   organ,           really,                 in        the        body,                 in      that
18        effect,               that          it      is        very          friable.
19                   Q.                And         the          encapsulation                           around                  the
20        liver,              was       that          intact?
21                   A.                No.           That          was         torn.

22                                                   (Whereupon,                        Grand             Jury                                         MK
23                       Exhibits                  Number               2,     3 and               4 were
24                       marked              for          identification.)



                                         JOAN L. BURLEIGH (518)                                    767-3030

                                                          000905
     Case Case 23-589, Document
          1:17-cv-01290-DJS Document
                                            APPENDIX
                                77, 01/17/2024,
                                       123-40 3604437,    Page56
                                                Filed 04/01/22   of 213
                                                               Page  54 of 70
                                                                                                                               1878                  26
           SIKIRICA           - INVESTIGATION - DAVIS, 9/29/15


 1         BY MS.             HALL:             (Cont'g.)

 2                     Q.            Doctor,                   I'm        going          to       show            you         what's

 3         been        premarked                 as        Grand             Juror's              Exhibit                     2,         3 and

 4         4    for         identification.

 5                                   I'm        going                to     ask         that          you         take             a look

 6         at     those.             And         if        you            would,          tell          me what                     is     it

 7         you're             looking            at        here?

 8                                                    (Whereupon,                       The       Witness

 9                      complying                    with            request.)

10                     A.            Number               --     Number                4 is           a laceration                         on
11        the         top      surface               of        the         liver.               Number                  3 is         a

12        closeup              of    a severe                    laceration                      to     the             top         of     the
13        liver.               And      Number                 4 is          an        additional                   picture,

14        pretty             much       the          same                    excuse             me.            Number                --         it

15        would         be       Number              --        looks          like             Number              4.

16        BY MS.             HALL:              (Cont'g.)
17                     Q.           And do                those             pictures                  fairly              and

18        accurately                 depict               ~ D-'                                  liver?
19                     A.           Yes.              This            shows            one       of         the
20        lacerations,                     it        doesn't                 show         them          all.
21                     Q.           But         it        --     just             --     which              laceration

22        does         that         show?
23                    A.            This             shows            the      one         on         the         top,             right
24        portion              of    the         liver.



                                        JOAN L. BURLEIGH (518)                                 767-3030

                                                      000906
         Case Case 23-589, Document
              1:17-cv-01290-DJS     77, 01/17/2024,
                                Document
                                                    APPENDIX
                                           123-40 3604437,    Page57
                                                    Filed 04/01/22   of 213
                                                                   Page  55 of 70
                                                                                                                                  1879
               SIKIRICA                                                                                                                      27
                                   - INVESTIGATION - DAVIS, 9/29/15

(
     1                      Q,            Other           than          the         exhibit              stickers,                   has

     2         that         been       changed                 or      altered                in     any        way           from        when
     3         you     viewed              it       at        the      time         of        the        autopsy?

     4                      A.            No.

     5                                                   MS.        HALL:            At       this          time

     6                       I'm      going              to     ask         that         Grand            Juror's

     7                       2,     3 and            4 be            moved          into           evidence.

     8                                                   (Whereupon,                     Grand           Jury                                RCD

     9                       Exhibit            s   Number              2,      3     and          4 were

    10                       received                into            evidence.)
    11                                                   MS.        HALL:            I'm        going             to

    12                       leave          up      on         the      table            for         any     of             the
    13                       grand          jurors              who wish                 to        review
    14                       those         during               their           deliberation.
    15         BY     MS.         HALL:             (Cont'g.)

    16                      Q.            Doctor,               with          respect               to      the         injury,
    17         what         else      did           you        observe              during               your           internal
    18         examination?
    19                  A.             There              was         evidence                of      fracturing                     of
    20         two     ribs          along           the        back          of      the           lower          right            chest.
    21        Those          ribs         were           number             9 and             10.
    22                  Q.             And          are         those          ribs            located                 in     the     area
    23        of      the        heart?
    24                  A.             No.



                                            JOAN L. BURLEIGH (518)                                 767-3030

                                                          000907
     Case Case 23-589, Document
          1:17-cv-01290-DJS Document
                                             APPENDIX
                                77, 01/17/2024,
                                       123-40 3604437,    Page58
                                                Filed 04/01/22   of 213
                                                               Page  56 of 70
                                                                                                                                1880             28
            SIKIRICA - INVESTIGATION - DAVIS, 9/29/15


 1                    Q.              Are         those                 ribs          located               in     the      area            of

 2          the      liver?

 3                    A.              Yes.

 4                    Q.              Okay.               Can            you          describe               the         ribs          of    a

 5          2-year-old                child,                  or        a 2-and-a-half,                             3-year-old

 6          child?
 7                    A.              Well,             at         --      at         that         age       of      about

 8          2-and-a-half                    or      3,         they're                  very          flexible                  yet.

 9          They              they're               not             calcified                   yet.              It's          very

10          hard       to     detect              a fracture                          by      X-ray.

11                                    When         we took                      the        X-rays            we did             not         see

12          a fracture,                    but      it         was             quite          obvious,                   when      you

13          got      in      there,              that          the             ribs          were        broken.                 And

14          when      the       ribs             broke,                 they          torn          some          small          blood

15          vessels           in      the         area              and         there          was          actually

16          hemorrhage                around                  the         fracture                  site.
17                    Q.           And           you          mentioned                      taking              X-rays.                You

18          took      X-rays               with          --         of         V-?

19                    A.              Yes.
20     11             Q.           And did                    they             show          anything?

21                    A.           No.             No.

22                    Q.              In     addition                      to         your         internal

23          examination,                    with             the          injury              to     the          liver          and        to

24          the      ribs,         did           you         make              any      other·observations



                                           JOAN L. BURLEIGH (518)                                  767-3030

                                                        000908
     Case Case 23-589, Document
          1:17-cv-01290-DJS Document
                                            APPENDIX
                                77, 01/17/2024,
                                       123-40 3604437,    Page59
                                                Filed 04/01/22   of 213
                                                               Page  57 of 70
                                                                                                                         1881               29
            SIKIRICA         - INVESTIGATION - DAVIS, 9/29/15


     1      with       respect              to        internal                   injury?
 2                     A.             There           was        no other                    internal              injury.
 3                     Q.             Could           the        ribs,             broken             ribs,             you      said

 4          they're            in     the        area            of        the      liver,            is         that
 5          correct?
 6                    A.             They're             behind                  the       liver           --
 7                    Q.             They're             behind?                       Could          those             ribs,
 8         broken           ribs,           have        caused                   damage          to     the         liver?
 9                    A.             No.
10                    Q.             In     addition                   to        doing          the        internal               and
11         external               examination                     of~                        D_,                what          other
12         tests         did         you     run,           if        any?
13                    A.             Well,            we did               a full             toxicology                   screen
14                                                    We draw                 --       we drew              fluids              for
15         toxicology                 testing.                    Those            were         drugs             of      abuse
16         and     any         kind        of     pharmaceutical                              drugs.                That         only
17         showed           the       presence                of           atropine,               which            is      a
18         substance                they         would            use         in       the      emergency                   room        to
19         try     and       revive              her.
20                                   Oh.          I did            cultures                   from         her          blood         and
21         her     lungs.              These            are           a small                piece          of      tissue
22         that       are       taken            to     see           if      anything                grows,              any
23         bacteria             or     virus            will           grow,            that          she        may       have         an
24         infection.                  That           was        negative.



                                       JOAN L. BURLEIGH (518)                                767-3030

                                                      000909
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  58 of 70
               23-589, Document
                                            APPENDIX
                                77, 01/17/2024,           Page60 of 213
                                                                                                                             1882
                                                                                                                                             30
          SIKIRICA - INVESTIGATION - DAVIS, 9/29/15


 1                                   I also          took             multiple                    --        I took            25

 2        sections              of     various                 internal                    organs               for

 3        microscopic                  examination,                           and          they          didn't              really

 4        show        any       significance.

 5                                   And      I sent                a dried                blood               sample             out

 6        for      what         we call             a metabolic                            screening                   analysis.

 7        These        are                 this          is        a screening                         that's               done

 8        typical            y at          birth              in    the         hospital.                          This       is        New

 9        York        State          mandated                  law,           that          if         you're              born         in

10        the      hospital,                a couple                     of     drops             of          blood          are

11        taken,          then         they're                 sent           to      the         Health               Department

12        Laboratory.                      This       detects                   undiag                 --      sort          of

13        inborn          errors            of      metabolism.                             Things                 that       could

14        lead       to      retardation                       and        things                 that          you          may     not

15        see       initially               on      --         on        a baby.

16                                   So I         sent             a sample                of          that         out.           I did

17        detect          --      they        did             detect            a slightly                         elevated

18        thyroid              stimulating                     hormone,                    but         that           can     also           be

19        elevated              postmortem.                         And         it         wasn't              a significant

20        elevation.

21                                   So,     really,                   the          test          showed              no

22        evidence              of     any         significant                        natural                  disease.

23                   Q.              Out     of      any            of        the      tests                that          you've

24        just       described?



                                       JOAN L. BURLEIGH (518)                                767-3030

                                                     000910
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  59 of 70
               23-589, Document
                                              APPENDIX
                                77, 01/17/2024,           Page61 of 213
                                                                                                                             1883              31
           SIKIRICA             - INVESTIGATION - DAVIS, 9/29/15


 1                    A.               Correct.

 2                    Q.               If     ~ D-                           was            ill          or     sick          in        some

 3         respect,               or        diseased             in     some            represent                      prior            to

 4         death,           would            that        have          been            revealed                  in         some

 5         capac'ty               or        some        form        based              on         the         test          that        you

 6         ran?
 7                    A.               Yeah.            To a medical                          --         a reasonable

 8         degree           of     medical               certainty,                     there                 was      no

 9         evidence               of        any     sickness                 or        illness.

10                    Q.               So with               respect              to        the          toxicology,                     did

11         that       give         you         any       information                         with             respect              to    the

12         cause           of    death?
13                    A.               No.

14                    Q.               With         respect            to         the         slides                 and      the

15         sections               you        talked            about,             did             that         give          you        any

16         indication                  or     help           you       contribute                        to      the         cause           of

17         death?
18                    A.               No.
19                    Q.               And with               respect              to         the         microbiology

20         cultures              and         met        --     or      the        metabolic                      screening,

21         did      either             of      them          give       you            any         information                      to

22         help       determine                   the        cause           of        deat?

23                    A.               No.          They        were                    they             were         all

24         negative.                   And,         I    guess,              a negative                         finding             by



                                            JOAN L.          BURLEIGH (518)                   767-3030

                                                        000911
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  60 of 70
               23-589, Document
                                              APPENDIX
                                77, 01/17/2024,           Page62 of 213
                                                                                                                         1884              32
           SIKIRICA            - INVESTIGATION - DAVIS, 9/29/15


 1         itself             is       significant                       to     determine                  the      cause             of

 2         death.
 3                       Q.            And why                is     that?

 4                       A.            Well,             because               we ruled              out         any          natural

 5         cause          of        death.               And        this          massive             amount              of      blood

 6         in      the        abdomen              cavity                would         lead          to        shock          and

 7         death.
 8                       Q.            And about                   how much                 time          would          it      take

 9         after          the        initial               injury               to     loss          of

10         consciousness?
11                       A.            Probably                within                ten     minutes.

12                       Q.            And how much                           time         would          it     take          from

13         the      initial                 injury            to         death?

14                   A.                Within             about               15 minutes                  or     so.

15                       Q.            And in             this           pa rt i cul a r             case,             Doctor,

16         were          you        able       to        ascertain                    to     a reasonable                       degree

17         of      medical              certainty                   what          caused             the         death          of

18

19                   A.                Yes.

20                   Q.                And,         if        you        would,             describe               what

21         caused             her       death            to        the        Grand          Jury.
                                               .
22                   A.                It    .would            be        hypovolemic                      shock          due         to

23         large          hemoperitoneum,                                due      to       multiple               lacerations

24         of      the        liver,           with           right             rib        fractures                due         to



                                            JOAN L. BURLEIGH (518)                            767-3030

                                                         000912
         Case Case
              1:17-cv-01290-DJS Document   123-40 3604437,
                                                    Filed 04/01/22 Page  61 of 70
                   23-589, Document
                                             APPENDIX
                                    77, 01/17/2024,           Page63 of 213
                                                                                                                       1885            33
               SIKIRICA - INVESTIGATION - DAVIS, 9/29/15

I
     1        blunt          force      trauma.

     2                   Q.           And     in      English?

     3                                          (Laughter.)

     4                   A.           A large            amount          of        internal                   bleeding

     5        into       the      abdominal               cavity           due          to        the     severe

     6        lacerations               of     the        liver,           the          tearing                injury             of

     7        the      liver,          and     also        a presence                    of        the         right             rib

     8         fractures.
     9                   Q.           And that's              the        cause               of      death,

    10        correct?
    11                  A.            Yes.

    12                  Q.            And were            you       able           to        make         a

    13        determination                  with         respect             to        the        manner              of

    14        death?

    15                  A.            Yes.
    16                  Q.            And what            was       that?
    17                  A.            The     manner          in     this           case             is       homicide.

    18                  Q.            And what            exactly             does               "homicide"                  mean?

    19                  A.            Simply         means          death           at        the         hands             of

    20        another           individual.
    21                  Q.            Could        this       trauma               to        V            's     interior

    22        organs           have     been         caused         by        some            sort        of      accident?

    23                  A.            No.

    24                  Q.            Could        she      have         caused               these            injuries



                                        JOAN L.        BURLEIGH (518)                    767-3030

                                                     000913
 Case Case 23-589, Document
      1:17-cv-01290-DJS Document
                                        APPENDIX
                            77, 01/17/2024,
                                   123-40 3604437,    Page64
                                            Filed 04/01/22   of 213
                                                           Page  62 of 70
                                                                                                                  1886
                                                                                                                                    34
        SIKIRICA          - INVESTIGATION - DAVIS, 9/29/15


 1      to     her

 2                 A.             Well,            I            I --         if        I could              qualify

 3      myself.              It        could            be      something                    like      a car

 4      accident.

 5                 Q.             Have         you           seen       those            types            of

 6      injuries

 7                 A.             Yes.

 8                 Q.             --        previously?

 9                 A.             Yes.             I've         seen         those             in     car        accidents

10      and       severe           trauma               like         that,             but      nothing               that

11      V-            would            have            done      to        herself.

12                 Q.             And with                   respect              to     the        type         of     injury

13      you       observed              internally                     on~,                         could        that           have

14      been         as    a result                    of     C.P.R.?

15                 A.             No.

16                 Q.             With         respect                to     the         amount             of       pain,

17      would~                                ~~have                                          experienced                    pain

18      as     a result                of     her           injuries?

19                 A.             Yes.

20                 Q.             Could            you         describe                that         for        the      grand

21      jurors,            please.

22                 A.             Well,            she         had      broken               two      ribs.             And

23      rib       fractures                  can        be     very          painful.                  The        liver

24      laceration,                    the      liver            doesn't                have         much         in      the



                                       JOAN L. BURLEIGH (518)                            767-3030

                                                   000914
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  63 of 70
               23-589, Document
                                             APPENDIX
                                77, 01/17/2024,           Page65 of 213
                                                                                                                   1887              35
           SIKIRICA            - INVESTIGATION - DAVIS, 9/29/15


 1         way     of       a nervous                 innervation,                     but       the        ribs         surely

 2         do.       So she             would          have         been          in      pain         from        the         rib

 3         fractures.

 4                   Q.            Would            you      have         expected               her         --      outward

 5         signs          of     pain        or       seen         outward             signs           of     pain?

 6                   A.            Yes.

 7                   Q.            And describe                      what           you       would          expect             to

 8         see     with          those         types          of        injuries.

 9                   A.            She        would          have         been          crying              and      she

10         would          have        had      a tender                 spot        along         the         back         of

11         her     right          skin         and        soft          tissue.

12                   Q.            Would            these          injuries               have         caused            her

13         to     suffer?

14                   A.            Yes.

15                   Q.            As a result                     of     the          autopsy              you

16         performed              on     February                  27th        of      2015       of~

17         .,              did        you      fill          out        your        portion             of        a Death

18         Certificate                  --

19                  A.             Yes.

20                  Q.             --        with       respect             to         your      find"ngs?

21                  A.             Yes.

22                   Q.            I'm        going          to      show           you       what's          marked             as

23         Grand        Juror's              1,       and     just         ask         that       you         take         a

24         look      at        your      portion              there.



                                        JOAN L. BURLEIGH (518)                          767-3030

                                                      000915
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  64 of 70
               23-589, Document
                                           APPENDIX
                                77, 01/17/2024,           Page66 of 213
                                                                                                                      1888       36
           SIKIRICA - INVESTIGATION - DAVIS, 9/29/15


 1                                               (Whereupon,                  The      Witness

 2                     complying                 with         report.)

 3                    A.            Yes.

 4         BY MS.           HALL:            {Cont'g.)

 5                    Q.            And does               that         accurately                     reflect            your

 6         finding?
 7                    A.            Yes.

 8                    Q.            Okay.

 9                                               MS.       HALL:             At     this          time

10                     I'm      going            to     ask       that         Grand             Juror's

11                     Exhibit             1 be         moved           in     pursuant                    to

12                     C.P.L.R.              4518          under         business                     record.

13                                               (Whereupon,                  Grand              Jury                            RCD

14                     Exhibit             Number             1 was          received                   into

 5                     evidence.             l
16                                            MS.          HALL:             I'm      also             going

17                     to     leave          that          on     the        table              for        any

18                     of     the      grand            jurors           who         wish             to      view

19                     this         document               as     part         of     their

20                     deliberation.

21         BY MS.           HALL:            (Cont'g.)

22                    Q.           And,          lastly,           Doctor,                 is         there           anything

23         with       respect           to        the      pathology,                  as         wel            as     your

24         internal           or      external                  examination,                      that           would



                                      JOAN L. BURLEIGH (518)                          767-3030


                                                      000916
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  65 of 70
               23-589, Document
                                           APPENDIX
                                77, 01/17/2024,           Page67 of 213
                                                                                                                     1889             37
           SIKIRICA - INVESTIGATION - DAVIS, 9/29/15


 1         account          for       why                                           would          have           lost

 2         consciousness?
 3                   A.            She        lost           consciousness                        because                of     the

 4         bleeding           into            her         abdominal                 cavity.                 That's             why

 5         she      lost      her          consciousness.

 6                   Q.            With         respect               to      the         pathology,                     the

 7         toxicology               and        all          the     studies,                    aside         from            the

 8         injury,          is      there            anything                 else         that         would            have

 9         rendered           her        unconscious?
10                   A.            No.

11                   Q.            There's                 no     explanation                     other            than         the

12         injury          that       would               cause         her         to     become            unconscious

13         on    February             26th           of         2015?

14                   A.            Correct.

15                                             MS. HALL:                      I don't              have

16                    any         further                 questions             for         this

17                    witness.

18                                             Does             anyone          else            have        any

19                    questions                 for          this        witness                 from        the

20                    Grand          Jury?
21                                             Yes,             ma'am.              I'd         ask        that

22                    you         direct             it      to     me and

23                                             GRAND JUROR:                              Yes.           I just

24                    heard,             is     it         unusual             to        have         no



                                      JOAN L. BURLEIGH (518)                               767-3030

                                                     000917
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  66 of 70
               23-589, Document
                                         APPENDIX
                                77, 01/17/2024,           Page68 of 213
                                                                                                                       1890   38
           SIKIRICA - INVESTIGATION - DAVIS, 9/29/15


 1                 outer          signs                when         there's                an         injury

 2                 to     a rib            or          a fracture?

 3                                          You said                   there              was         no

 4                 outer          signs~                you         know,            that           there

 5                 was       an     injury.                     Is        that           --

 6                                          MS. HALL:                           Doctor,               I'll

 7                 ask     that            you          --      do        you        ask         --       answer

 8                 that        question                      from         grand            juror.

 9                                          THE WITNESS:                              Yes.               It's

10                 not     unusual.                          This         --     this            injury

11                 occurred                due          to      compression                         of       the

12                 abdominal                    cavity,              blunt               force

13                 compressive                         injury             to     the          abdominal

14                 cavity,               leading                to        a lot           o         blood

15                 into       the          abdominal                      cavity

16                  (demonstrating.)                                 But          it's           not
17                 necessari                    y going              to         bruise              anything

18                 because               it's           a soft             part           of        the

19                 body.            So you're                       not         going            to       push

20                 the     skin            or          the      soft            tissue              against

21                 a bone           or          something                  where              you're

22                 going          to       really               compress                   it.            It's

23                 flexible,                    it's          going             to       squeeze                 in.

24                 And as           it          squeezes                  in,        as       the



                                  JOAN L. BURLEIGH (518)                                   767-3030

                                                       000918
 Case 1:17-cv-01290-DJS Document 123-40 Filed 04/01/22 Page 67 of 70
                                     APPENDIX
     Case 23-589, Document 77, 01/17/2024, 3604437, Page69 of 213
                                                                                                                 1891               39
       SIKIRICA        - INVESTIGATION - DAVIS, 9/29/15


 1                  abdomen           squeezes                  in     it      tears           the

 2                  liver.             It     doesn't                necessarily                         leave

 3                  any      marks          on      the         outside.

 4     BY     MS.     HALL:             (Cont'g.)

 5               Q.           And when                you        say         "blunt            force             trauma,"

 6     and      you're          indicating                   with           your         hand,             as     part         of

 7     your      determination                       to      the       manner             and            cause          of

 8     death,         could           you         describe             for         the       Grand               Jury         the

 9     mechanism              that          would          have        caused             this             injury?

10               A.            It     would           be        a blunt              force               trauma          of     a

11     compressive                  nature,           a squeezing                        nature             to      the

12     abdomen.

13                                          MS.      HALL:              Any          further

14                  questions                from         the        Grand           Jury?

15                                          THE FOREPERSON:                              What             was

16                  the      result           from         her         metabolic

17                  screening?

18                                          MS.      HALL:              Doctor,                if         you

19                  could,           please.

20                                          THE WITNESS:                         Yes.               It

21                  just       showed              a mildly                 elevated

22                  thyroid           stimulating                      hormone.                     But

23                  that's           a --          could         be         easily

24                  explained                as     a heart                 attack           because



                                    JOAN L.         BURLEIGH            ( 518)       7 67-3 03.0


                                                  000919
         Case Case
              1:17-cv-01290-DJS Document   123-40 3604437,
                                                    Filed 04/01/22 Page  68 of 70
                   23-589, Document
                                             APPENDIX
                                    77, 01/17/2024,           Page70 of 213
                                                                                                                         1892   40
              SIKIRICA      - INVESTIGATION - DAVIS,                                9/29/15

(
     1                 that           hormone                   elevates            after           death.

     2                 And       it         was       only           elevated               a small

     3                 amount,                and          it      would        not         have       played

     4                 into           her         medical               --    any      medical

     5                 condi           ions           or         anything.

     6        BY MS.        HALL:              (Cont'g.)

     7                Q.          Would               it         have        caused          her       to         lose

     8        consciousness

     9                A.          No.

    10                Q.          --         in      any           respect?

    11                A.          No.

    12                                            MS.           HALL:          Any          other

    13                 questions                   from            Grand           Jury?

    14                                            THE FOREPERSON:                              If     I

    15                 could           finish.                     From       --      at      postpartum

    16                  (sic),              that's               performed             after

    17                 metabolic                   screening                  in      all      of      your

    18                 autopsies?

    19                                            THE WITNESS:                         I'm ...

    20                                            MS.           HALL:          Let          me --          I'll

    21                 direct               the       question.

    22        BY MS.        HALL:              (Cont'g.)

    23                Q.          Doctor,                   with           respect           to      the          organ

    24        sectioning,               the          metabolic                 screening,                   the



                                       JOAN L.              BURLEIGH (518)                  767-3030

                                                           000920
            Case Case
                 1:17-cv-01290-DJS Document   123-40 3604437,
                                                       Filed 04/01/22 Page  69 of 70
                      23-589, Document
                                                     APPENDIX
                                       77, 01/17/2024,           Page71 of 213
                                                                                                                                1893           41
                  SIKIRICA - INVESTIGATION - DAVIS, 9/29/15


        1         pathology                  that         was       run,             this      was          all       done

        2         postmortem,                     correct?

        3                    A.               Yes.           Everything                      was         done        postmortem,

        4         and       everything                    was       pended              at      the         time.               On the

        5         death           certificate                     you'll               see      that           the        "pending"

        6         is       crossed             out.              I didn't               make          the         determination

        7         of       the      cause            of     death              until          all        the         results            came

        8         back.             But        that         is      --         these          are          typically              all

        9         tests           that         were         done             postmortem.

       10                                     Now the              metabolic                   screening                  is     the

       11         same           type        of      test         that's               done         on      a newborn,

       12         healthy               child.              But          I     did      it     on V-because                               I

       13         didn't            have          much           information                    about             where

       14         was       born.              Occasionally                          children               are       born        outside

       15         of      the       hospital,                    things              could          be      missed.               So we

       16         decided               to     go        ahead       and             do the           --       the        screening

       17         tests.
       18                                                   MS.     HALL:               Grand              juror          in

       19                        the         back.

       20                                                   GRAND JUROR:                        Yeah.                With

       21                        regard             to      the      ribs            being          broken,

       22                        could            they       have             been          broken           like         a

       23                        couple             of      weeks             before           that?               Or      is

       24                        this         something                      that      happened                   right
....


                                                  JOAN L. BURLEIGH (518)                             767-3030

                                                              000921
     Case Case
          1:17-cv-01290-DJS Document   123-40 3604437,
                                                Filed 04/01/22 Page  70 of 70
               23-589, Document
                                       APPENDIX
                                77, 01/17/2024,           Page72 of 213
                                                                                                                1894   42
           SIKIRICA - INVESTIGATION - DAVIS, 9/29/15


 1                 about            the      time         of     the           death?

 2                                          MS.       HALL:                Doctor,               if      you

 3                 could            answer          that         question                   --

 4                                          THE      WITNESS:                        Yes.             These

 5                 were         very         fresh         hemorrhages.                               There

 6                 was     no        healing,              there               was      no

 7                 discoloration                      of        the        blood            around

 8                 them.             They         occurred                 around             the        time

 9                 of     the        lacerations                      to       the      liver.

10                                          MS.       HALL:                Any        other

11                 questions                 from         the         grand            jurors?

12                                           (Whereupon,                       the      Grand            Jury

13                 indicates                 in     the         negative.}

14                                          MS.       HALL:                I    have          no

15                 further                questions              of        The        Witness.

16                                          THE WITNESS:                             Thank            you.

17                                          MS.       HALL:                Thank            you        very

18                 much,            Doctor.

19                                           (Whereupon,                       The      Witness

20                 was       excused.)

21                                           {Off      the        record.)

22                                           (Whereupon,                       the      People's

23                 next         witness             entered                the         grand            jury

24                 room.        )




                                    JOAN L. BURLEIGH (518)                             767-3030

                                                  000922
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page73Page
                                            Filed 04/01/22   of 213
                                                                      1895
                                                                 1 of 45
                                                                             1


 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 2   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 3   MICHAEL DAVIS-GUIDER,

 4                                             Plaintiff,

 5                    - against -              CV:    1:17-cv-01290

 6   CITY OF TROY, RONALD FOUNTAIN, Individually,
     DANIELLE COONRADT, Individually, CHARLES McDONALD,
 7   Individually, TIM COLANERI, Individually,
     ADAM R. MASON, Individually, RENSSELAER COUNTY,
 8   MICHAEL SIKIRICA, Individually, and JOEL ABELOVE,
     Individually,
 9
                                   Defendants.
10   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

11

12             DEPOSITION of MICHAEL SIKIRICA, held on the 24th

13   day of May 2021, commencing at 9:33 a.m., via ZOOM,

14   before Jeanne O'Connell, Registered Professional

15   Reporter and Notary Public in and for the State of New

16   York.

17

18

19

20

21

22

23
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page74Page
                                            Filed 04/01/22   of 213
                                                                      1896
                                                                 2 of 45
                                                                             26


 1       A.    I think it was early March, yes.

 2       Q.    Early March.

 3             And then was the next thing you issued your

 4   report sometime in August or so?

 5       A.    Yes.

 6       Q.    And then you, thereafter, met with the DA's

 7   office after that?

 8       A.    Yes.

 9       Q.    And then you testified in the grand jury?

10       A.    Correct.

11       Q.    And then you testified at trial?

12       A.    Correct.

13       Q.    Presumably, you met with the DA to prepare for

14   trial at least once or a few times, correct?

15                    MS. PECK:      Objection to form.

16                    You can answer.

17                    THE WITNESS:       Yes.

18   BY MR. KLEIN:

19       Q.    Have I missed any significant meetings in this

20   case, or events?

21       A.    I did meet with the defense attorneys as well,

22   yes.

23       Q.    And was it just -- how many defense attorneys
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page75Page
                                            Filed 04/01/22   of 213
                                                                      1897
                                                                 3 of 45
                                                                             48


 1       A.    Yes.

 2       Q.    Then at some point thereafter you heard about the

 3   acquittal?

 4       A.    Yes.

 5       Q.    And then, how long after that did you reach out

 6   to set up this meeting with Joel Abelove and Jessica

 7   Hall?

 8             Was it upon hearing about the acquittal or weeks

 9   or months later, if you know?

10       A.    It would have been very shortly afterwards, maybe

11   the same day.        I instructed one of the investigators

12   that I had to talk to them immediately, and we had the

13   meeting at my office.

14       Q.    Did you convey that message through your

15   assistant that you were upset about how the case went?

16                    MS. PECK:      Objection.

17                    MS. SPENCER:       Object to form.

18                    THE WITNESS:       Yes.

19   BY MR. KLEIN:

20       Q.    How did you communicate that?              Let them know I

21   need to see them right away, or what type of words or

22   message was communicated?

23       A.    Well, I told the investigator for the office that
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page76Page
                                            Filed 04/01/22   of 213
                                                                      1898
                                                                 4 of 45
                                                                              49


 1   I wanted to see them immediately, and they came.

 2       Q.    And can you describe, walk us through that

 3   meeting?

 4             Who was present for it and what was discussed?

 5       A.    Well, this is the meeting with Jessica Hall and

 6   Joel Abelove.        That was the meeting.           And we discussed

 7   the -- we discussed the prosecution ineptness at

 8   following through on questioning Dr. Teas.

 9             Also, the judge had not given -- in my opinion,

10   the judge had not given me enough time, for 15 minutes,

11   to go over the flaws I found in Dr. Teas' testimony, and

12   I was very frustrated.

13       Q.    So, what was the tone of the meeting?                 Was it

14   just you venting or was it -- did they share your

15   concerns, or did they push back on it, or something

16   else?

17       A.    They were like spanked puppies.

18       Q.    What do you mean by that?

19       A.    They were very apologetic and they totally

20   understood where I was coming from.

21       Q.    Dr. Sikirika, were you a little sore, so to

22   speak, from the experience you had the year before on

23   the Adrian Thomas acquittal?
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page77Page
                                            Filed 04/01/22   of 213
                                                                      1899
                                                                 5 of 45
                                                                                  50


 1             Did that prompt some of your feelings in seeking

 2   a meeting with the DA directly after this?

 3                    MS. PECK:      Objection.

 4   BY MR. KLEIN:

 5       Q.    You can answer.

 6       A.    No.    This was a whole different animal.

 7             This was my frustration with an attorney that I

 8   did not think belonged in a prosecutor's office.                      That

 9   was the extent of my frustration.

10             This woman may be a fine person, I'm sure she

11   was, but she did not belong in the courtroom.

12       Q.    What did Joel Abelove say in response that you

13   can recall?

14             Did he agree?        Did he say he would look into it

15   or anything else?

16       A.    He did.     He basically said, I understand where

17   you're coming from.          She came highly recommended and I'm

18   very disappointed in her performance.

19       Q.    What about Jessica Hall, what if anything do you

20   recall her saying at the meeting?

21       A.    Basically the same thing.

22       Q.    What else was said at the meeting that you can

23   recall?
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page78Page
                                            Filed 04/01/22   of 213
                                                                      1900
                                                                 6 of 45
                                                                               51


 1       A.    That was about it.

 2       Q.    Was anyone else present at the meeting other than

 3   you, DA Abelove, and ADA Hall?

 4       A.    No.

 5       Q.    To your knowledge, did they take any job action

 6   against ADA Chavkin, whether a transfer, demotion or

 7   anything else, because of this case?

 8                    MS. PECK:      Objection.

 9                    THE WITNESS:       Not to my knowledge.

10   BY MR. KLEIN:

11       Q.    Have you dealt with her again since that case up

12   until today?

13       A.    No, and I never will.

14                    (Sikirica Exhibit 2 marked for

15        identification.)

16       Q.    Now, DA Abelove issued a statement to the press.

17   I'm showing it to you now.             Do you guys see this?          We'll

18   call this Exhibit 2, Sikirika 2 -- this is Defendant's

19   Response to Plaintiff's Request for Interrogatories and

20   Request for Production of Documents.

21             I will scroll down to page Exhibit C which starts

22   at page 53.

23             Did you ever see or were you aware of the
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page79Page
                                            Filed 04/01/22   of 213
                                                                      1901
                                                                 7 of 45
                                                                             53


 1             At the trial, did you witness or were you made

 2   aware of the testimony of the responding fire department

 3   witness named Bayly?

 4       A.    Well, I was not aware or -- I was not made aware

 5   of his testimony, but I did have the copy of a statement

 6   that he had previously made.

 7       Q.    Right.     I'm going to flip to that right now on

 8   Exhibit 1.

 9             Michael Bayly, from the City of Troy Fire

10   Department, issued a statement.               The Bates number in

11   Exhibit 1 is 1682.

12             Is this the statement that was in your file?

13       A.    Yes.

14       Q.    So, in this statement, other than receiving this

15   written typed out deposition, did you ever meet or speak

16   with Michael Bayly?

17       A.    No.

18       Q.    Other than receiving written or typed out

19   depositions from other fire department employees, like

20   James Titans, lieutenant, James Lucey, firefighter

21   medic, Frank Shumaker, captain, and maybe others, did

22   you ever speak with any of them?

23       A.    No.
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page80Page
                                            Filed 04/01/22   of 213
                                                                      1902
                                                                 8 of 45
                                                                             54


 1       Q.    Did you come to learn, either during trial or

 2   since trial, that Firefighter Bayly testified that they

 3   were working on V              for about 20 minutes, doing I

 4   believe as many -- approximately a hundred chest

 5   compressions a minute from the time they started working

 6   on her in the home.          There was a period of time until

 7   they put her in an ambulance, maybe about 10, 15

 8   minutes.      And there was another 20-minute period of time

 9   where they continued working on her a hundred chest

10   compressions per minute to the hospital.

11             Were you aware of that, of in sum and substance

12   testimony of that nature by Firefighter Bayly?

13       A.    I knew that the child had received CPR

14   resuscitation at the scene and during transport and in

15   the emergency room.

16             I'm not sure I could imagine 100 pumps per

17   minute, but I was aware that CPR had been given to her

18   over a long period, yes.

19       Q.    Actually, I have the details here.

20             Bayly, who was the EMT, said 120 per minute is

21   what he recalled.         16 minutes at home and then 20

22   minutes on the way to the hospital, with three or so men

23   switching because of exertion, to avoid being exerted.
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page81Page
                                            Filed 04/01/22   of 213
                                                                      1903
                                                                 9 of 45
                                                                             55


 1             Are those facts that you were aware of when you

 2   issued your report?

 3       A.    Yes.

 4       Q.    You knew that there were thousands of chest

 5   compressions just done by EMTs alone before she even got

 6   to the hospital?

 7       A.    Yes.

 8       Q.    And then there was a Dr. Crisafulli, an ER

 9   doctor, from St. Mary's.

10             Did you have a deposition from her?

11       A.    Yes.

12       Q.    And I'm showing you that, page 1689.

13             This deposition, other than this written

14   deposition, did you ever speak with her?

15       A.    No.

16       Q.    This doesn't say anything about the number of

17   chest compressions that were done by hospital staff,

18   does it?

19       A.    No.

20       Q.    She testified at trial.            Did you know that?

21             Did you see her testimony or did you ever get to

22   read it?

23       A.    No.
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page82
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1904
                                                                 10 of 45
                                                                              57


 1       Q.    Did you have an understanding of that when you

 2   rendered your opinions in this case, that there were,

 3   more likely than not, 6,000 chest compressions done by

 4   fire department and hospital staff?

 5       A.    Yes.

 6                    MS. SPENCER:        Object to form.

 7   BY MR. KLEIN:

 8       Q.    When medical, EMTs and hospital staff do chest

 9   compressions, they are literally squishing the heart so

10   that the blood will pump through it, correct?

11                    MS. PECK:       Objection to form.

12                    THE WITNESS:        Correct.

13   BY MR. KLEIN:

14       Q.    Were you familiar with literature on CPR-related

15   trauma as of 2015?

16       A.    Yes.

17       Q.    Were you aware that prolonged CPR was

18   significantly associated with a higher incidence of rib

19   fractures?

20                    MS. PECK:       Objection to form.

21                    THE WITNESS:        Some studies have suggested

22         that, yes.

23   BY MR. KLEIN:
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page83
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1905
                                                                 11 of 45
                                                                                 58


 1       Q.    Any reason that you discount those or think that

 2   those are not right?

 3       A.    Other studies have disclaimed that, have

 4   countered that.

 5       Q.    Can you point to any of them?

 6             Do you have them?

 7       A.    The Wake Forest study.            The Wake Forest study.

 8       Q.    For 2010?

 9       A.    Yes.

10       Q.    Do you agree that CPR typically is performed for

11   less than 30 minutes?

12       A.    In children, it can be prolonged, yes.                  Most of

13   the time it's less than 30 minutes, but in children, you

14   want to do as much as possible, and it can go on for a

15   considerable amount of time.

16       Q.    And during CPR sometimes rib fractures can't be

17   avoided.      Is that a fair statement?

18       A.    Can be voided?

19       Q.    Can't be avoided.

20       A.    Can't be avoided, that's correct, yes.

21       Q.    There are studies that document avoidable rib

22   fractures, meaning that hand placement may have been

23   incorrect by trained medical staff, right?
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page84
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1906
                                                                 12 of 45
                                                                              59


 1                    MS. PECK:       Objection to form.

 2   BY MR. KLEIN:

 3       Q.    Are you aware of that?

 4             Are you aware of any literature where there were

 5   avoidable rib fractures at the hands of EMTs or medical

 6   staff?

 7                    MS. PECK:       Objection.

 8                    THE WITNESS:        Yes.    There's

 9         recommendations that certain positions in the

10         hands be avoided to prevent rib fractures.

11   BY MR. KLEIN:

12       Q.    But even -- so is it your understanding, just

13   from the literature and your experience, that even

14   trained EMTs and medical providers trained in CPR can

15   get the hand placement wrong and resulting in avoidable

16   hand fractures -- avoidable rib fractures?

17       A.    I don't quite understand the question.

18             Could you repeat it, please.

19       Q.    Are there incidents that you're aware of either

20   anecdotally, through literature, or through colleagues,

21   of avoidable rib fractures at the hands of well

22   intending EMTs and medical staff?

23                    MS. PECK:       Object to form.
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page85
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1907
                                                                 13 of 45
                                                                              60


 1                     THE WITNESS:       I'm not aware of those

 2         studies, but I know studies have proven that, if

 3         you put your hands behind the decedent and you

 4         try to perform CPR, you do risk fractures.

 5   BY MR. KLEIN:

 6       Q.    Similarly, if you do it on a soft surface you

 7   risk fracturing as well, correct?

 8                     MS. PECK:      Objection to form.

 9                     THE WITNESS:       Not so much fracturing on a

10         soft surface, but if you do it on your knee.

11                     If you take a child and try and perform

12         CPR with the child's back against your knee, you

13         do risk fracture.

14   BY MR. KLEIN:

15       Q.    What were the ribs that were fractured in this

16   case?

17       A.    I believe -- if I can check my report quickly.

18       Q.    Yeah.

19       A.    They were the posterior aspects of the ninth and

20   tenth rib.

21       Q.    Are you aware of the literature or other reports

22   of ruptured livers attributed to placement of the hands

23   or compressions that are too vigorously applied by
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page86
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1908
                                                                 14 of 45
                                                                                 66


 1   mechanisms that could be from the I think we said 6,000

 2   compressions?

 3             Could they be caused by that?

 4                    MS. PECK:       Objection.

 5                    THE WITNESS:        No.

 6   BY MR. KLEIN:

 7       Q.    No?    Not at all?       No way?

 8                    MS. PECK:       Objection to form.

 9                    THE WITNESS:        Correct.      No way.

10       Q.    Why no way?

11       A.    Because these liver lacerations were extremely

12   severe.      Actually, a portion of the liver had been torn

13   away from itself.          These went way beyond anything

14   described in the literature or in my experience.                       I have

15   never seen more than one laceration of the liver with

16   any person suffering from CPR, and I've never seen

17   lacerations over the top of the liver like that.

18             These were a question of quantity.                 The quantity

19   of the lacerations, the five of them, are way beyond

20   what would be expected in any kind of CPR situation.

21       Q.    So, do you dispute that V                 D        was found

22   unresponsive, possibly in cardiac arrest, before any

23   compressive compression was done to her by Michael Davis
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page87
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1909
                                                                 15 of 45
                                                                                67


 1   as described in the video?

 2       A.    I can't dispute that, but I can't confirm it

 3   either.      I can't confirm she was in cardiac arrest.

 4       Q.    If you can't dispute it, how do you know she

 5   hadn't already -- she wasn't already postmortem when

 6   Michael Davis attempted just a few efforts at CPR?

 7       A.    Well, I found no reason for her to be dead.

 8       Q.    You heard or -- you heard and you read Dr. Teas'

 9   testimony about sudden unexplained death, right?

10       A.    Yes.

11       Q.    Is that something that you credit as a cause of

12   death?

13       A.    No.

14       Q.    What is sudden unexplained death and can you tell

15   us what your view on that is as a diagnosis?

16       A.    Are you referring to SUDI or SIDS?

17       Q.    Well, this would be a SUDI situation because of

18   her age, right?

19       A.    No, it wouldn't be.

20       Q.    It would be a SIDS?

21       A.    No.    It wouldn't be a SIDS at all.               It would be

22   neither.

23       Q.    Well, Dr. Teas testified that it was a SUDI
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page88
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1910
                                                                 16 of 45
                                                                                   72


 1   hospital has prolonged CPR.              It's very, very common.

 2             I wish the EMTs would leave them at the scene,

 3   actually, when they know they're dead, because now you

 4   complicate it with all the therapeutic changes that are

 5   going to occur.

 6             They do what they have to do to save the child's

 7   life, so they do prolong CPR all the time.                    It's very,

 8   very common.        And I've never in my career seen anything

 9   like these liver lacerations from CPR.

10       Q.    Well, do you think it would have been important

11   to know how the fire department employees actually did

12   the CPR by speaking with each one of them?

13             Same with the emergency room personnel.                      Was that

14   something that would have been helpful for you to rule

15   out CPR post injuries as being postmortem or premortem?

16       A.    No, because they are trained how to do the CPR

17   properly and I assume they would do it properly.

18       Q.    Right, but we all know that people make mistakes

19   or, you know, even well-intentioned medical

20   professionals could get it wrong, which is why there are

21   CPR injuries that are not intended but may occur; is

22   that fair?

23       A.    I suppose that's fair.
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page89
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1911
                                                                 17 of 45
                                                                                 73


 1       Q.    So, what would be the reason to not interview the

 2   fire department?          In a case like this where there's such

 3   extreme injury as you described to the liver, that

 4   you've never seen before, why make the assumption that

 5   they did it properly or they were well trained?

 6             What if they weren't?           What if you could have

 7   helped expose that they weren't and maybe they had a

 8   real system failure here in how they do CPR in infants?

 9             Maybe they knew how to do adults well but they

10

11

12
     didn't know how to adjust it to this size to V

     stature?

               You just never evaluated any of that, did you?
                                                                      -     's




13                    MS. PECK:       Objection.

14                    THE WITNESS:        No, I did not.        I trusted

15         the CPR was done properly by the trained

16         personnel.

17   BY MR. KLEIN:

18       Q.    If it was not, and we don't know whether it was

19   or was not because you didn't speak with them, that

20   could be a contributing cause to the rib and liver

21   injuries, whether or not that caused the death, correct?

22                    MS. PECK:       Objection to form.

23                    THE WITNESS:        Even with an untrained --
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page90
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1912
                                                                 18 of 45
                                                                                  74


 1         even with improper CPR, these injuries are beyond

 2         what would be expected in any CPR situation.                     The

 3         injuries are blunt force, severe, compressive

 4         injuries to the abdomen.

 5   BY MR. KLEIN:

 6       Q.    So, the theory is that this man just squeezed a

 7   baby for no reason to do CPR but it was really an act of

 8   abuse?

 9             What is your thought about why this happened?

10                    MS. PECK:       Objection to form.

11                    THE WITNESS:        I have no thoughts about

12         why it happened.         I don't make that assumption

13         why it happened, but I can tell you that it

14         happened because someone applied very severe

15         compressive injuries to that child's abdomen,

16         crushing two breaks -- breaking two ribs and

17         crushing the liver.

18   BY MR. KLEIN:

19       Q.    But you would never know if it's someone or if it

20   was multiple people because you never specifically

21   inquired with Bayly or any of these other fire

22   department personnel or medical, ER personnel, correct?

23                    MS. PECK:       Objection.
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page91
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1913
                                                                 19 of 45
                                                                              75


 1                    Brett, you're asking and answering the

 2         same question over and over again.

 3                    MR. KLEIN:       You can object to form.

 4                    THE WITNESS:        So, you're asking me why I

 5         didn't interrogate the EMS people?

 6   BY MR. KLEIN:

 7       Q.    Not interrogate, more just interview them so that

 8   you were -- had clear understanding of the nature of the

 9   CPR intervention in this case.

10       A.    I simply assumed they knew how to do it in

11   children.

12       Q.    Is that an assumption that in retrospect would

13   have been better not to assume in a case like this?

14                    MS. PECK:       Objection.

15                    THE WITNESS:        No.

16   BY MR. KLEIN:

17       Q.    When they testified at trial to collectively

18   6,000 chest compressions, is that something that you

19   fully expected at trial, or were you surprised that it

20   was that long?

21                    MS. PECK:       Objection.

22                    THE WITNESS:        No.    Again, Brett, as I've

23         said, you know, these children receive very
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page92
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1914
                                                                 20 of 45
                                                                               76


 1         prolonged CPR.        So, the number is -- sounds like

 2         a lot, but it's common.            It's very common in my

 3         opinion.

 4   BY MR. KLEIN:

 5       Q.    In terms of the fluid in the abdominal cavity,

 6   the bleeding, the internal bleeding, every time there

 7   was a pump of the heart that's pumping blood through the

 8   heart to the liver?

 9       A.    As effectively as possible, yes, but it's pumping

10   actually blood to the liver but throughout the entire

11   body as well.

12       Q.    Do you agree that liver lacerations typically do

13   not kill people instantly or quickly, that it's a slow

14   bleeding organ?

15       A.    It would depend on the severity of the

16   lacerations, definitely.

17       Q.    Do you agree that each chest compression was a --

18   do you agree that a human like V                    D        can bleed

19   postmortem, that she could continue to bleed after her

20   -- after she was in cardiac arrest and dead?

21       A.    There may be postmortem bleeding.                I agree with

22   that, yes.

23       Q.    You have cases where you have to use suction and
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page93
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1915
                                                                 21 of 45
                                                                                    77


 1   you see bleeding as much as a day after a death?

 2             Have you had that experience?

 3       A.    Yes.     I've used suction after cases of CPR with

 4   liver lacerations.

 5       Q.    So, when you're seeing 350 or 400 CCs of blood or

 6   is it MLs or CCs?          I'm sorry.

 7       A.    ML is equivalent to a CC.             They're basically the

 8   same thing.

 9       Q.    So, when you're seeing that much blood in an

10   abdominal cavity, are you correct in assuming the whole

11   amount was present in a case like this when V                          died,

12   or do you assume that there was a significant amount of

13   blood pumped in through extensive CPR efforts?

14                    MS. PECK:       Objection.

15                    THE WITNESS:        Well, I would always assume

16         that some of it could be accounted for by CPR.                     I

17         would, yes.

18   BY MR. KLEIN:

19       Q.    Do you note that in your report anywhere?

20       A.    No.

21       Q.    Any particular reason why not?

22       A.    Because it's simply an assumption.                 I tend to

23   report what I see.
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page94
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1916
                                                                 22 of 45
                                                                              78


 1       Q.    Well, wasn't it an assumption that it was Michael

 2   Davis that did the compression but not the EMTs that

 3   caused the injuries, whether or not they caused the

 4   death?

 5             Didn't you make an assumption there that they

 6   just did it right so he must have been the one who did

 7   it wrong?

 8       A.    Well, he illustrated doing something to the

 9   child.      So, he's the one who did the compression of the

10   abdomen.        So, I assumed that he is the one who did it.

11       Q.    Well, when they did CPR, they would have done

12   compression of the abdomen as well; would they not?

13       A.    No.     They would have been working on the chest.

14       Q.    But with such a small body, the hand would have

15   -- if they used the hand rather than fingers, they would

16   have been in the area of the chest cavity, correct?

17       A.    Well, they would have been in the area of the

18   liver possibly, yes, but they would have concentrated on

19   the chest.

20       Q.    So, I'm sorry if you asked and answered this, but

21   I don't recall.

22             Do you agree that liver lacerations typically

23   bleed slowly?
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page95
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1917
                                                                 23 of 45
                                                                              79


 1         A.   I would agree if they're small lacerations, yes.

 2         Q.   So, in this case, was it a large one or was it a

 3   small one that would be the type that bleeds slowly?

 4         A.   These lacerations would have bled profusely,

 5   because they were very large and a portion of the liver

 6   had actually been torn away.

 7         Q.   Did you consider, in your evaluation in this

 8   case, that -- withdrawn.

 9              You testified at trial that this would have been

10

11

12
     very painful for V

                              -     , that just the broken ribs alone

     she would have been screaming and crying, correct?

                      MS. PECK:       Objection.

13                    THE WITNESS:        I don't recall if I used

14         the words "very painful".            I may have.        But the

15         ribs would have been painful, yes.

16   BY MR. KLEIN:

17         Q.   So, what do you make of the fact that she was not

18   responsive and flat lining asystole when they got there?

19   There was no reports of her screaming, crying or

20   anything like that, and the only report was from the

21   father that she just was lethargic and then didn't wake

22   up.

23              Would you expect that there would have been a
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page96
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1918
                                                                 24 of 45
                                                                              80


 1   witness to her screaming, whether by EMS, by EMTs or by

 2   neighbors or anyone else, and is there any significance

 3   if there is no note of that in this case?

 4                    MS. PECK:       Objection to form.

 5                    THE WITNESS:        No, I don't.

 6                    I think she had already passed out from a

 7         significant loss of blood.             That's my assumption.

 8   BY MR. KLEIN:

 9       Q.    How do you know she didn't pass out from whatever

10   caused her to pass out which lead to Mr. Davis being

11   concerned that she was passed out?

12             How do you know that?           Other than that it's

13   unexplained, which is rare but it happens.

14       A.    You're asking me to chase gremlins.

15       Q.    No.    I'm asking you -- this is what Mr. Davis,

16   who has been found not guilty, said from his first

17   interview on the night of the incident, to his recorded

18   interview that you were given, to a subsequent interview

19   that he did right before the grand jury, to his

20   testimony at trial, and he was consistent about that.

21   Doesn't mean, you know, and so, he -- there's no other

22   account other than that she was unresponsive.

23             We may assume she was because you see this
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page97
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1919
                                                                 25 of 45
                                                                              81


 1   damaged her liver, but crediting that she was

 2   unresponsive, how do you know that there was not some

 3   unexplained cause of death, even if it's extremely rare,

 4   that this was not one of those situations?

 5                    MS. PECK:       Objection to form.

 6                    THE WITNESS:        You could never, ever rule

 7         out that in any circumstances if you wanted to

 8         use that logic, because even a traffic accident

 9         could have been caused by some arrythmia rather

10         than a drunk driver.          Even a person who dies of

11         pneumonia may have some cardiac arrythmia that

12         went undiagnosed.

13                    That's why we do a complete autopsy on

14         these children.        We look for anything that we can

15         rule out that would put her in a state of

16         unconsciousness or cardiac arrest.                We look for

17         bacterial infections.           We look for viral

18         infections.

19                    I sent out a metabolic screening to make

20         sure she didn't have an inherited disease that we

21         could not detect.

22                    We took x-rays.         We did a full workup on

23         this child to rule out any reason that she would
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page98
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1920
                                                                 26 of 45
                                                                              82


 1         be deceased that could explain why he supposedly

 2         did this.      I could find no reason, other than

 3         this mysterious sudden death, which she had no

 4         symptoms of prior.

 5                    It's possible, I will not say it's

 6         impossible, but it's very, very highly unlikely

 7         that she had died from a natural event before

 8         this series of events.

 9       Q.    When you're charging someone -- when you're

10   ruling this a homicide rather than, at most,

11   undetermined, it's foreseeable to you that someone is

12   going to be charged with murder and face life in prison;

13   is that fair?

14       A.    I would assume that, yes.

15       Q.    So, why not call this at most undetermined and

16   let the prosecutor decide if there's criminality?

17             If that's something you can't exclude, and the

18   only firsthand account, corroborated by his wife, that

19   she was up that morning but sluggish and then went back

20   to bed and then was unresponsive before any chest

21   compressions, and before 6,000 compressions by EMS, why

22   not say this is at most undetermined?                  It didn't

23   preclude a prosecution, did it?
 Case Case 23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                        Document   123-41 3604437,    Page99
                                            Filed 04/01/22   of 213
                                                           Page
                                                                       1921
                                                                 27 of 45
                                                                              83


 1                    MS. PECK:       Objection.

 2                    THE WITNESS:        Well, even by calling it a

 3         homicide does not guarantee a prosecution.                   The

 4         district attorney can do whatever he wants to do

 5         or she wants to do to pursue this.

 6                    If the district attorney seriously thinks

 7         that Mr. Davis did this in a flurry of panic or

 8         whatever, he's free not to prosecute this.                   My

 9         homicide ruling is only my ruling for the death

10         certificate.       Whatever they do with it is up to

11         them.

12   BY MR. KLEIN:

13       Q.    You looked at the video -- well, apparently it's

14   part of your file but we don't have it here.

15             Is that the video from Mr. Davis's interview with

16   Detective Fountain on March, I believe, 2nd of 2015?

17       A.    Yes.

18       Q.    So, you saw his interview and you determined that

19   he committed a murder; is that fair?

20                    MS. PECK:       Objection.

21                    THE WITNESS:        I never determined murder.

22   BY MR. KLEIN:

23       Q.    I'm not saying you made a legal determination,
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page100
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1922
                                                                 28 of 45
                                                                              84


 1   but you determined -- his statement and demonstration of

 2   compression, you determined that to be the cause of

 3   death rather than looking at -- and you assumed that the

 4   EMTs and hospital staff acted appropriately, you linked

 5   it to him based on the interview; did you not?

 6                    MS. PECK:       Objection.

 7                    THE WITNESS:        Well, I linked the pattern

 8         of injuries to be the most consistent, the far

 9         most consistent, with what he demonstrated doing

10

11

12       Q.
           to V

                -     .   That's what I linked him to.

           the only linkage I made.

               Well, when you watched that video, did you ever
                                                                    That's




13   watch it with anyone from the police department and/or

14   the DA's office or did you watch it either alone or with

15   your own staff?

16       A.    I watched it in my office later on after I

17   received it, by myself.

18       Q.    Did you then speak with Detective Fountain,

19   anyone from the DA's office, or anyone else, after you

20   watched it?

21       A.    No.

22       Q.    Did the police department video inform your

23   findings in this case about specifically -- let me
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page101
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1923
                                                                 29 of 45
                                                                              85


 1   scroll to the autopsy report.

 2             So, looking at the anatomic diagnoses on page

 3   1596 of Exhibit 1, hypovolemic shock due to large

 4   hemoperitoneum due to multiple lacerations of the liver

 5   with right rib fractures due to blunt force trauma, A,

 6   history of decedent reportedly found unresponsive with

 7   reported history of attempted CPR, cardiopulmonary

 8   resuscitation, by a large adult.

 9             So, this part about a large adult, you

10   specifically incorporated what you were informed by the

11   police and what you saw in the video in this autopsy

12   diagnosis, correct?

13                    MS. PECK:       Object to form.

14                    THE WITNESS:        Yes.

15                    MR. KLEIN:       Why don't we take a break

16         now.

17                    (Recess taken.)

18   BY MR. KLEIN:

19       Q.    Good morning, Dr. Sikirika.              We just took about a

20   20-minute break.

21             Given the break, is there anything you wish to

22   clarify, change or correct with your testimony so far

23   today?
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page102
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1924
                                                                 30 of 45
                                                                              86


 1       A.    Yes, please.

 2             With regard to the meeting that I had with

 3   Jessica Hall and Joel Abelove, that didn't occur after

 4   the verdict.

 5             That actually occurred after I witnessed the

 6   testimony of Dr. Teas and the prosecution's line of

 7   questioning.        That's the day that I insisted on seeing

 8   them.

 9             As soon as that testimony of Dr. Teas was done

10   and I wasn't allowed a chance to give a rebuttal,

11   through the investigator, Jimmy Morgan, I told them that

12   I had to see them ASAP, and they came over that

13   afternoon.

14       Q.    Do you have any e-mails, notes, memoranda, or any

15   other writings, that document this meeting?

16       A.    No.

17       Q.    Either --

18       A.    Didn't have notes on that.

19       Q.    Did Joel Abelove or anyone in his office ever

20   correspond you with in writing, even if you didn't with

21   them in writing, about the meeting?

22       A.    No.    Nothing ever written down.             They were, you

23   know, very attentive and apologetic about the way -- the
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page103
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1925
                                                                 31 of 45
                                                                              87


 1   performance, but nothing was ever put on paper.

 2         Q.   Did you ever speak with either or both of them

 3   after the acquittal, the not guilty verdict?

 4         A.   Not that I recall, no.

 5         Q.   Do you recall testifying at the grand jury,

 6   quote, with regard to the -- you were asked about

 7   district attorneys and police being at the autopsy, that

 8   quote, "they are there to feed me information about what

 9   the police or other people may know about the case, so

10   they are there to feed me information.                  I'm there to ask

11   them questions.         It's a give and take situation".

12              You said that on page one, lines 12 to 21.

13              Do you recall giving that testimony?

14         A.   Yes.

15         Q.   Is that accurate?         You stand by that today?

16         A.   Yes.

17         Q.   So, they're not just there to observe, they're

18   there to feed you information true, correct?

19         A.   Yes.    They're there to give me the information

20   that I'm requesting about the case and let me know about

21   it.

22         Q.   And is it your testimony that their narrative

23   does not influence you in any way, or are you maybe
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page104
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1926
                                                                 32 of 45
                                                                              89


 1         pended the case at that point.

 2                    So, it is very common I receive things

 3         sometimes weeks or months after the autopsy, and

 4         I eventually consolidate all those into my

 5         report.

 6                    But the police really didn't influence my

 7         report in any way, either -- whatever they

 8         wanted.

 9   BY MR. KLEIN:

10       Q.    Well, it did influence it.             You used their

11   interview and you used information in this give and take

12   situation, right, to factor into your report.

13             Whether you call that influenced or factoring in,

14   you factored it in.

15                    MS. PECK:       Objection.

16                    THE WITNESS:        Yes.    I factored it in.

17   BY MR. KLEIN:

18       Q.    Now, you talked about how when you did the

19   Y-shaped incision -- in the grand jury -- there was

20   large amount of blood oozing from the abdominal cavity

21   and you normally don't see free blood circulating.

22             Do you recall that?

23       A.    Yes.
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page105
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1927
                                                                 33 of 45
                                                                              94


 1   called into question.

 2              There was a reason why the confession didn't come

 3   into trial at the retrial, right?

 4                    MS. SPENCER:        Objection.

 5                    THE WITNESS:        Yes, I would have been

 6         aware of that, yes.

 7   BY MR. KLEIN:

 8       Q.     So, given that I'll tell you it was about several

 9   months before that trial, several months before V

10

11
     D
      -       's death, did you factor in any question about

     Ronald Fountain's credibility when you used evidence

12   that he gave you to factor into your autopsy?

13                    MS. SPENCER:        Objection to form.

14                    MS. PECK:       Objection.

15                    THE WITNESS:        Well, the only evidence

16         that I factored into the autopsy finding on the

17         final report was the video of Michael Davis

18         applying pressure or replicating applying

19         pressure to V          .

20   BY MR. KLEIN:

21       Q.     Did you come to learn that in the Thomas case

22   that anytime Adrian Thomas was throwing the briefcase on

23   the floor the court determined, as a matter of law, it
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page106
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1928
                                                                 34 of 45
                                                                              98


 1   BY MR. KLEIN:

 2       Q.    If you had not seen the video, would you have

 3   opined that the injury occurred due to compression of

 4   the abdominal cavity?

 5                    MS. SPENCER:        Object to form.

 6                    THE WITNESS:        No.    I would have -- could

 7         you repeat that question, please.

 8   BY MR. KLEIN:

 9       Q.    Had you not seen the video of Detective

10   Fountain's interview, would you have opined and

11   testified that the injury occurred due to compression of

12   the abdominal cavity?

13       A.    Yes.

14       Q.    So, you would have found that there was blunt

15   force compressive injury leading to the loss of blood,

16   leading to the blood in the cavity, even if you had not

17   seen the video?

18       A.    Yes.

19       Q.    Now, if you had not seen the video, would you

20   have been able to conclude that it was Michael Davis

21   versus EMTs or emergency room physicians?

22                    MS. SPENCER:        Objection.

23                    THE WITNESS:        Without seeing the video, I
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page107
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1929
                                                                 35 of 45
                                                                                 99


 1         would not know who did it, who applied the

 2         pressure, but I would not assume that it was EMS

 3         or done by CPR.

 4   BY MR. KLEIN:

 5       Q.    When you put in the words that we've discussed

 6   before the break in your anatomic diagnoses, attempted

 7   CPR by a large adult, you were specifically linking

 8   Michael Davis to the injuries in this case in your

 9   autopsy, correct?

10       A.    Not specifically linking him to it.                 I didn't

11   mention his name.

12             It said -- if I could refer to my report.                    It

13   said, history of decedent, reportedly found unresponsive

14   with reported history, reported history of attempted

15   cardiopulmonary resuscitation by a large adult.

16             He reported that he did this.               There are no

17   witnesses that Michael Davis ever did CPR to this child.

18   None.

19       Q.    Well, he's a witness.

20             What about the 6,000 compressions of attempted

21   CPR by potentially small, medium and large other adults,

22   EMTs and ER staff, what was the reason you didn't put

23   that in here, or did not know of it at the time you did
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page108
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1930
                                                                 36 of 45
                                                                              100


 1   your report?

 2                    MS. PECK:       Object to form.

 3                    THE WITNESS:        I knew about it.         It's

 4         standard practice to do CPR to a child brought

 5         into the hospital.          And the extent of the

 6         injuries on V            were far beyond anything

 7         applicable to -- attributable to CPR.

 8   BY MR. KLEIN:

 9       Q.    Well, as you said earlier, you assume they did it

10   right, but if they didn't, it could be attributable to

11   some or many of the 6,000 compressions.

12             You just don't know either way because you

13   assumed.      Is that fair?

14                    MS. PECK:       Objection.

15                    THE WITNESS:        It's fair to say that

16         whatever Michael Davis was doing to her abdomen

17         was not CPR.

18   BY MR. KLEIN:

19       Q.    It's also fair that trained -- individuals

20   trained in CPR are -- it's documented that they can

21   cause injuries to ribs and liver related even if they're

22   trained in CPR, correct?

23       A.    That is correct.
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page109
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1931
                                                                 37 of 45
                                                                              101


 1       Q.    So, when you say there's a history here of

 2   attempted CPR by a large adult, there's likewise a

 3   history of CPR over the course of over an hour by other

 4   adults that you don't put in here.

 5             I guess my question is just simple.                 Why was that

 6   history not significant enough to put in your report?

 7             Was it an oversight?           Would it have been more

 8   complete to put that in your report?

 9                    MS. PECK:       Objection.

10                    THE WITNESS:        It was simply assumed that

11         CPR would have been performed all the way into

12         the hospital.        I just assumed that people would

13         understand that she was pronounced in the

14         hospital.

15                    If you read the entire report, there are

16         hospital records.         I simply assumed that CPR

17         would have been performed all the way until the

18         time she was pronounced.

19   BY MR. KLEIN:

20       Q.    Right, but it's not -- my question is different.

21             You may assume that, maybe anybody would have

22   assumed that, but isn't it relevant history here, when

23   you have potential CPR related injuries, isn't it
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page110
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1932
                                                                 38 of 45
                                                                                102


 1   important history so that you could explain why they

 2   were not causative of the injuries or death?

 3       A.    Well, this is not CPR-related injury.                  This is

 4   blunt force, compressive injury to the abdomen which

 5   does not qualify as CPR.

 6       Q.    Well, you seem to document it as a reported

 7   history of attempted CPR.             So, you just reported it but

 8   you don't believe that's what it was?

 9       A.    No.

10       Q.    But when you know, based on your training and

11   extensive experience, and review of the literature, that

12   these types of injuries could be -- could occur due to

13   CPR, even if you don't believe that happened here, isn't

14   it important to document that in your report and rule it

15   out?

16                    MS. PECK:       Objection.

17                    THE WITNESS:        No.    You said that -- these

18         are not consistent with CPR.              They're vastly more

19         severe than anything that's been seen in CPR.

20   BY MR. KLEIN:

21       Q.    Do you agree the ribs, even the posterior ribs,

22   are stress points that can fracture during CPR, even if

23   the rear ribs are more rarely fractured than the front
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page111
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1933
                                                                 39 of 45
                                                                              118


 1       A.    No.

 2       Q.    That's because of the extent of the tearing to

 3   the liver that you described earlier?

 4       A.    Yeah.

 5       Q.    And the amount of blood?

 6       A.    Correct.

 7       Q.    Any other reason or those are the two reasons?

 8       A.    Those are the reasons.

 9       Q.    Then we have the Albany Med file.                So that's just

10   an order for radiological consult.

11             Did you request the full skeletal survey?

12       A.    Yes.

13       Q.    Those results were nonsignificant, correct?

14       A.    Correct.

15       Q.    So, this is -- page 1624 is the post-autopsy

16   meeting on March 12, 2015?

17       A.    Yes.

18       Q.    Do you recall when you got the interview, a copy

19   of the video, from March 2nd?

20             In other words, would it have been at this

21   meeting that they brought you a copy of it, or did you

22   have it in advance of this meeting, or subsequent, or

23   something else?
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page112
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1934
                                                                 40 of 45
                                                                              119


 1       A.    I can't remember if I got it at this meeting or I

 2   may have looked at the -- at this myself and been unable

 3   to open it.        Sometimes the Troy PD programs I can't open

 4   on my computer --

 5       Q.    Same here.

 6       A.    -- and we looked at it here, but it was done at

 7   my office.

 8       Q.    Do you know if it was a video watched or at least

 9   given to you during this meeting?

10             Is that typically what happens?

11       A.    I don't recall if it was given prior or after

12   this meeting.

13       Q.    Is there typically a post-autopsy meeting like

14   this a few weeks after the autopsy, or was this unusual

15   in this case?

16       A.    In a child it's pretty normal.

17       Q.    Do you have any notes of the agenda from that day

18   or any notes of what was discussed?

19       A.    No.

20       Q.    Do you remember?

21       A.    No.

22       Q.    The next page, 1625, is the sign-in sheet for the

23   autopsy?
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page113
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1935
                                                                 41 of 45
                                                                              127


 1   but these injuries to the liver would have bled her out

 2   very quickly and that would explain why she is

 3   unresponsive.

 4             Nothing else I did in her examination showed me

 5   why she was unresponsive.             Nothing showed why she had

 6   any reason to be unresponsive other than these liver

 7   lacerations.

 8       Q.    Unless it was a sudden, unexplained death that

 9   you misdiagnosed, but in your view you correctly

10   diagnosed it, but that would be fair, right?

11             If you misdiagnosed a sudden, unexplained death,

12   that would be an explanation for it.

13       A.    There is no such thing as misdiagnosing a sudden,

14   unexplained death.          It's simply a sudden, unexplained

15   death.

16       Q.    Right.

17       A.    Rule out everything else, and if you have no

18   other cause of death that's what you would put, but

19   there is no cause of death on her other than bleeding

20   from liver laceration as largely appeared to me.

21       Q.    If it was -- assume hypothetically for this

22   question that if the rib injuries and liver injuries

23   were caused by EMS and medical ER personnel, not by
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page114
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1936
                                                                 42 of 45
                                                                              128


 1   Michael Davis, and those injuries caused the death,

 2   would it be considered a homicide because it was at the

 3   hands of another just medical personnel rather than

 4   Michael Davis?

 5       A.    It would have probably been left undetermined or

 6   accidental.

 7       Q.    So, explain why in that scenario, if CPR caused,

 8   even if unintended, caused her death, why that would not

 9   be a homicide just by virtue of it being at the hands of

10   another.

11       A.    Well, it's at the hands of another during

12   resuscitative process, which she is already in extremis.

13   So, I would not call that a homicide.

14       Q.    So, if Michael Davis -- you have no reason to

15   question his veracity that he was attempting CPR.

16             You just think he did it wrong, correct?

17       A.    No.    I don't think he ever -- he may have

18   attempted CPR after he did something that's not CPR,

19   crushing her abdomen.

20       Q.    So, just to be clear:           The demonstration that you

21   saw on the video that you determined to be attempted

22   CPR, is that the crushing?              Or do you think there was

23   something that he didn't demonstrate that preceded the
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page115
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1937
                                                                 43 of 45
                                                                              140


 1   BY MR. KLEIN:

 2       Q.    So, Dr. Sikirika, in this case, were you aware

 3   that Detective Fountain was the lead Troy investigator

 4   in this case?

 5       A.    I don't recall ever knowing that he was the lead,

 6   but I knew he was one of the investigators.

 7       Q.    Were you aware -- were you working in cooperation

 8   with the Troy police department throughout the

 9   investigation of this case before it was indicted?

10       A.    Yes.     We cooperated with each other, yes.

11       Q.    Did you have an understanding, during the

12   investigatory phase of this case, that your testimony,

13   plus Ron Fountain's testimony at this meeting with

14   Michael Davis, formed the evidence that would lead to a

15   prosecution in this case?

16                    MS. PECK:       Object to form.

17                    MS. SPENCER:        Object to form.

18                    THE WITNESS:        I didn't know how much

19         Detective Fountain was involved in the case, but

20         I knew that my testimony would be important in

21         the case.      That's all I can tell you.

22   BY MR. KLEIN:

23       Q.    Even though you didn't know it was Ron Fountain,
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                             APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page116
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1938
                                                                 44 of 45
                                                                                  152


 1       A.      No.   No.    That's about it.

 2       Q.      Is there anything about the way the science has

 3   evolved, your view of Dr. Teas' testimony, learning your

 4   about the details of the 6,000 compressions by Fireman

 5   Bayly and Dr. Crisafulli, anything else that impacts

 6   your views in this case?

 7       A.      No.   Not at this time, no.

 8                     MR. KLEIN:      Well, thanks for this time.

 9         You've been very generous with it.                We appreciate

10         it.

11   EXAMINATION

12   BY MS. SPENCER:

13       Q.      Dr. Sikirika, my name is Rhiannon Spencer.                 I'm

14   an attorney for Pattison Sampson Ginsberg and Griffin.

15   I represent the City of Troy, Ronald Fountain, Danielle

16   Coonradt, Charles McDonald, Tim Colaneri and Adam Mason,

17   I believe are all the individuals named from the Troy

18   police department.

19               I just have a few questions for you.               Same rules

20   as with Brett.

21               Let's see.     So, in your experience, are there

22   certain or specific types of scenarios when the police

23   or the ADA or the district attorney's office would
 CaseCase  23-589, Document
      1:17-cv-01290-DJS
                           APPENDIX
                            77, 01/17/2024,
                         Document   123-41 3604437,   Page117
                                            Filed 04/01/22    of 213
                                                           Page
                                                                       1939
                                                                 45 of 45
                                                                              153


 1   request to be present during an autopsy?

 2       A.    Yes.     If they know that it is a homicide from the

 3   beginning, they're often there.                If there's anything

 4   suspicious about a death in a young person, they're

 5   often there, even if it's not suspicious.

 6             Young people generate more interest,

 7   understandably, whenever they die, especially children.

 8   Even if the child is in an accident, they may often be

 9   there.

10             So, they are there quite a bit if there's

11   anything unusual about a case or unknown.

12       Q.    And is it part of the expected standards or

13   customary practices for medical examiners to work

14   cooperatively with the police and the ADA's office?

15       A.    Yes.     Forensic pathology is a medical legal

16   investigation of death.            So, we have to rely on police

17   many times for things that we don't have access to.

18             Sometimes the DAs have to give us things that we

19   don't have access to.            They may provide subpoenas and

20   get us records if required, but it's a cooperative

21   effort and we all function independently of each other.

22       Q.    And part of that cooperative relationship would

23   include, you know, reviewing the police reports from the
CaseCase 23-589, Document
     1:17-cv-01290-DJS Document
                                      APPENDIX
                          77, 01/17/2024,
                                  123-42 3604437,  Page118
                                          Filed 04/01/22   of 213
                                                         Page  1 of 12
                                                                                       1940
                                                                                              1

  1

 2    STATE  OF NEW YORK        COUNTY   COURT
      COUNTY  OF RENSSELAER     CRIMINAL   TERM
  3   *********** * *** *************************
      THE PEOPLE  OF THE STATE   OF NEW YORK.
  4
            against                                        Indictment        15-1094
  5
      MICHAEL                DAVIS,
  6                                                        Defendant.
      * * * * * * ** *** ********* ********** *** **** * **
  7                                   Rensselaer         County     Courthouse
                                      Congress       and    Second     Streets
  8                                   Troy,      New York        12180
                                      May 3,      2016
  9
                                          Suppression Hearings
10
      Be        f     ore:
11
                    HONORABLE                   ANDREW         G. CERESIA,
12                        County                  Court          Judge

13    A p       p     e      a   r    a     n     c    e   s

14    For      THE           PEOPLE             OF     THE     STATE    OF   NEW   YORK:

15             JOEL     ABELOVE,          District          Attorney
                 of    Rensselaer           County
16                 By:        JESSICA         HALL,       ESQ.,
                       Chief      Assistant           District                 Attorney
17             Rensselaer           County         Courthouse
               Congress         and     Second        Streets
18             Troy,       New York         12180

19    For       DEFENDANT:

20             JOHN      C.    TURI,      ESQ.
               Rensselaer            County        Public       Defender
21                 By:       WILLIAM        D. ROBERTS,             ESQ.
                 and     JESSICA        ZWICKLBAUER,               ESQ.,
22                     Assistant          Public         Defenders
               Congress          and    Second        Streets
23             Troy,        New York             12180

24    A 1 so        Present           :

25             Michael                Davis,             Defendant
               Clerk             of    the            Court
                                                  Betsy Helm, CSR
                                                Senior Court Reporter

                                            001349
CaseCase 23-589, Document
     1:17-cv-01290-DJS Document
                                     APPENDIX
                          77, 01/17/2024,
                                  123-42 3604437,  Page119
                                          Filed 04/01/22   of 213
                                                         Page  2 of 12
                                                                                                               1941
                                                                                                                       18

  1   D. Coonradt - Cross by Mr. Roberts

 2    day?

 3             A           I    remember                      it      being            cold.

  4            Q          When            you           say          "cold",               what           do    you

  5   mean         by      that?

  6            A          Cold.                   I     was         cold.

  7            Q          Were            you           dressed                in      a    jacket?

  8            A          No,          sir.

  9            Q          Were            you           dressed                in      gloves?

10             A          No.

11             Q          When            you           approached                     my       client,

12    you        indicated                    he         was         on      the       sidewalk,

13    correct?

14             A          Yes

15             Q          And          he         was         with           another

16    individual                     or       by         himself?

17             A          He       was            with             another             individual.

18             Q          You          would              agree              with          me      that

19    based          upon            your             training                 and         experience,

20    you        could          tell              that             they        were          the

21    residents                 of          the          apartment,                    correct?

22             A          I     don't                 know.

23             Q          You          would              agree              with          me      that         the

24    female             and       my         client                 were                  appeared               to

25    be      distraught                      and         confused,                    correct?




                                              001366
CaseCase 23-589, Document
     1:17-cv-01290-DJS Document
                                       APPENDIX
                          77, 01/17/2024,
                                  123-42 3604437,  Page120
                                          Filed 04/01/22   of 213
                                                         Page  3 of 12
                                                                                                                  1942
                                                                                                                            19

  1   D. Coonradt - Cross by Mr. Roberts

  2              A          Yes.

  3              Q          And        it         was         based             upon           those

  4   outward                indications                           you         approached                        them

  5   and        began              speaking                      with         him,          correct?

  6              A          I'm        assuming                      so.

  7              Q          Well,             I     don't                want          you          to      assume.

  8   Do        you        recall?

  9              A          Well,             I     guess

10               Q          Okay.                 And         it         was      at         this           point

11    you        had         this           interaction                         with           my          client,

12    correct?

13               A          Yes

14               Q          Your            motivations                         were           to

15    ascertain                     some           information                         to      provide

16    the        firefighters,                               correct?

17               A          Correct.

18               Q          And        that             after              speaking                      with          my

19    client,                you        went            in         and         spoke           to          the

20    firefighters,                           correct?

21               A          Correct.

22               Q          And        you          also             went         in         the          apart-

23    ment            at     this           time             to      look         and          see              what

24    you        could              find,           correct?

25               A          Correct,                    in         plain          view.




                                                  001367
CaseCase 23-589, Document
     1:17-cv-01290-DJS Document
                                      APPENDIX
                          77, 01/17/2024,
                                  123-42 3604437,  Page121
                                          Filed 04/01/22   of 213
                                                         Page  4 of 12
                                                                                                            1943
                                                                                                                                25

  1   D. Coonradt - Cross by Mr. Roberts

  2             A          He        didn'          t      seem           to     understand                          the

  3   question                 that           I     asked             about              what

  4   happened.

  5             Q          When          you            say         "he        didn't             seem               to

  6   understand",                           what          indicated                     to     you        that

  7   he       didn't,                that          he        was         having              trouble?

  8             A          Taking                 awhile             to        answer,               looking

  9   around.

10              Q          Okay.                  Would             you        agree            with            me

11    that          you        had           an     opportunity                          to     observe

12    his        face          during               this            conversation?

13              A          That          I        what?

14              Q          Had         an         opportunity                       to        look         at             his

15    facial              features.

16              A          Yes.

17              Q          Would              you         agree             he      appeared                    to          be

18    di     s t r e s s e d ?

19              A          Yeah,              absolutely.

20              Q          Also          he         was        concerned,                       correct?

21              A          I    couldn't                      say         he     seemed

22    concerned.                        He        seemed              upset.

23              Q          Was         he         crying?

24              A          I    don't               recall

25              Q          Was         the          female                crying?




                                              001373
CaseCase 23-589, Document
     1:17-cv-01290-DJS Document
                                       APPENDIX
                          77, 01/17/2024,
                                  123-42 3604437,  Page122
                                          Filed 04/01/22   of 213
                                                         Page  5 of 12
                                                                                                                  1944
                                                                                                                              112

  1   C. McDonald - Cross by Mr. Roberts

  2   relative                  to         the         passage                  of        time,

  3   correct?

  4              A         Sure

  5              Q         And          you            would             agree              with          me        at

  6   times          a     minute                  can            seem          like          an         hour,

  7   correct?

  8              A         True

  9              Q         And          you            sat         and          spoke             with           my

10    client              for         some             time          but             an     undetermined

11    amount              of         time?

12               A         Correct.

13               Q         And          you            would             agree              with          me        he

14    was        cordial                   with           you,            correct?

15               A         Absolutely.

16               Q         And          he        was         concerned                      about               the

17    child,              was         he         not?

18               A         He         repeated                     over           and        over            that             he

19    was        trying               to         figure              out          what             happened.

20    He       doesn't                know             what          happened.

21               Q         You          would                agree              with         me       that               he

22    appeared                  very             distressed,                           correct?

23               A         He         was         a      little                 upset,              yeah.

24               Q         What                leads          you          to         the         conclusion

25    he       was        upset            ?       What            was          he        doing?




                                                 001460
CaseCase 23-589, Document
     1:17-cv-01290-DJS    77, 01/17/2024,
                       Document
                                         APPENDIX
                                  123-42 3604437,  Page123
                                          Filed 04/01/22   of 213
                                                         Page  6 of 12
                                                                                                                      1945
                                                                                                                                  113

  1   C. McDonald - Cross by Mr. Roberts

  2              A           Sniffling,                           that           type              of      thing.

  3              Q           When             you          say           "sniffling",                            what           do

  4   you·       mean              by        that?

  5              A           You         know,                  almost               on         the        verge            of

  6   crying,                 maybe.

  7              Q           For         what              duration                   of           the        small

  8   talk           that            you           were           making                  with           my       client

  9   was        he         almost                 on       the          verge              of          crying

10    before                Detective                       Fountain                      got           back?

11               A           It         was          off          and          on     while                they            were

12    talking.

13               Q           So         you          would               agree             with            me       that

14    at     a       number                  of       different                      intervals

15    during                that             time          period,                   he         appeared                   to

16    be     physically                            upset?

17               A           Yes.

18               Q           And         part              of       the          reason                  behind             you

19    making                small              talk             with           my         client                was

20    one,           to       pass             the         time,               correct?

21               A           Correct

22               Q           And         the            second                 was         to         comfort               him

23    and        getting                     his        mind             off         of         other             things

24    such           as       the            child's                care,               correct?

25               A           A      little                 bit,           yeah.




                                                   001461
CaseCase 23-589, Document
     1:17-cv-01290-DJS Document
                                        APPENDIX
                          77, 01/17/2024,
                                  123-42 3604437,  Page124
                                          Filed 04/01/22   of 213
                                                         Page  7 of 12
                                                                                                                   1946
                                                                                                                             115

  1   C. McDonald - Cross by Mr. Roberts

  2   got        there?

  3              A           I     really               don't             know.                   I      know         they

  4   walked               in         and       you          could             see          on        the          video

  5   when           he         comes           in        and         starts                talking                  and

  6   asking               the         questions,                        so      I      really                don't

  7   kno~           prior             to       that

  8              Q           Okay.                  And        you        were              present                 for

  9   the        entire                 interview?

 10              A           Yes

 11              Q           And            during             the        interview,                          it      was

 12   primarily                       questions                   that           were              fielded                 by

 13   which             detective?

 14              A           Sergeant                   Colaneri

 15              Q           Sergeant                   Colaneri.                           And          during

 16   these             questions,                        you        would              agree               with           me

 17   that           you         had          an       opportunity                          to        observe

 18   my      client,                  correct?

 19              A           Yes

 20              Q           And         you          indicated                      that             you

 21   listened                   to         that.               You       would                  agree             with

 22   me      that           throughout                         various                 portions                    of

 23   that           recording,                        there             are         what             appears

 24   to      be        sniffling,                        do     you           recall                 that?

 25              A           Correct.




                                                    001463
CaseCase 23-589, Document
     1:17-cv-01290-DJS Document
                                     APPENDIX
                          77, 01/17/2024,
                                  123-42 3604437,  Page125
                                          Filed 04/01/22   of 213
                                                         Page  8 of 12
                                                                                                             1947
                                                                                                                             116

 1   C. McDonald - Cross by Mr. Roberts

 2            Q             What           observations                            physically                      of

 3   my      client               were            occurring                      when         you          hear

 4   that          audio?

 5            A             I    don'        t     remember.                         I     mean,            he      had

 6   his          head          down          sometimes                     and           other            times

 7   he      had         his        head              up     and          he'd            wipe        his

 8   nose.

 9            Q             Was        he        crying             at         times?

10            A            A     little                bit         here            and       there,

11   yeah.

12            Q             How       many             times             did         he      wipe           away

13   tea     rs    ?

14            A             I    have            no        idea.

15            Q             You've               been          a    police                 detective                     at

16   this          point            for           how        many           years?

17            A            At       that           time,            a      couple                 months.

18            Q            Well,             you'd             been            a    police             officer

19   for          how       long?

20            A             Probably                   21      years.

21            Q             Based            upon            your          experience,                        you

22   would             agree            with           me      what            you         observed

23   were          genuine                  concerns                 over            the          safety                of

24   this          child,               correct?

25                                   MS.          HALL:                 Objection,




                                                 001464
CaseCase 23-589, Document
     1:17-cv-01290-DJS Document
                                       APPENDIX
                          77, 01/17/2024,
                                  123-42 3604437,  Page126
                                          Filed 04/01/22   of 213
                                                         Page  9 of 12
                                                                                                                      1948
                                                                                                                                 157

 1   K. Barry - Cross by Mr. Roberts

 2            A            The         lights                      in        the         living                room

 3   were         not          on,             no.

 4            Q          And           you             testified                         you            went         to      the

 5   door,          knocked                      on         the           door            and           my     client

 6   answered                  the             door?

 7            A          Yes.

 8            Q          How           was             he         dressed?

 9            A            I     don't                 recall.

10            Q          And           at            this              juncture,                        were         you

11   aware          that              the            child                was        deceased?

12            A          Yes.

13            Q          And           did             you             relay             that

14   information                          to         Mr.           Davis             at          this

15   point?

16            A          I      don't                  recall.                       I      know             we

17   addressed                   the            report                    that            was           regarding

18   the      chi       l d ' s           death              .

19            Q          How           did             you             address                  that?

20            A          We          asked                  him         to         relay,                you         know,

21   the      events                 of         the              day         leading                    up     to         what

22   happened                  with             the              police              arriving                       and

23   the      ambulance                         arriving.

24            Q          What               did             he      tell             you?

25            A          He          relayed                               what             he      told             me




                                                  001505
CaseCase  23-589, Document
     1:17-cv-01290-DJS  Document
                                        APPENDIX
                           77, 01/17/2024,
                                   123-42 3604437,   Page127
                                           Filed 04/01/22    of 213
                                                          Page  10 of 12
                                                                                                                          1949
                                                                                                                                 158

  1   K. Barry - Cross by Mr. Roberts

  2   was,        you           know,                  his           events                 of      the            day,

  3   when        he          woke           up,               you         know,              what             happened

  4   when        he          tried               to           wake            her          up,          and         what

  5   happened                  when           he              tried            to          call            9 11 .

  6          Q            How           long                 did          you          speak                with          him

  7   for?

  8          A            About               a         half              an         hour,              I    think.

  9          Q            And           you             would                agree                with          me        that

 10   Ms.        Parker                was             in        the           room?

 11          A            She           was             in          the         living                  room.

 12          Q            Where               in             the          living                  room?

 13          A            Laying                   on           a      mattress                    on        the

 14   f 1 o or    .

 15          Q            And           how             did            she           appear?

 16                                    MS.             HALL:                   Objection,

 17                       relevance.

 18                                    THE             COURT:                    Mr.             Roberts,

19                        what's                   the              relevance                      of        that?

20                                     MR.             ROBERTS:                         I        think             on

21                        direct                   they                indicated                     who            was

22                        present                       in          the         apartment,                          Judge

23                        I      think                  it's              relevant                   to         test

24                        what              her              recollection                            is         relative

25                        to          her         testimony                           on         direct.




                                                  001506
CaseCase  23-589, Document
     1:17-cv-01290-DJS     77, 01/17/2024,
                        Document
                                           APPENDIX
                                   123-42 3604437,   Page128
                                           Filed 04/01/22    of 213
                                                          Page  11 of 12
                                                                                                                     1950
                                                                                                                                  159

     1   K. Barry - Cross by Mr. Roberts

     2                                     If         she          can't            recollect                       simply

     3                      how            an          individual                        appeared,                     then

     4                        it         tests               whether                or        not           she        has         a

     5                      specific                         recollection                           of       any            of

     6                      the            events.

  7                                        THE           COURT                 I'll              allow              that

  8                         question,                          but          we're             not           going            to

  9                         go           too           far         down         that             road.

 10                                        I'll              allow           that             question                      on

 11                         that                topic.

 12               A         She            was           laying               on       the          mattress.

 13      She       appeared                     very            sad.               She          didn't               lift

 14      her       head            off          the          mattress                    as       we        talked

 15      to      her   .

 16               Q         And            when              you       were            presented                      with

 17      Mr.      Davis,                 he       also             presented                      very            sad,

18       did      he       not?

19                A         Yes.

20                Q         And            you           had         an      extensive                       time            to

21       speak         with              him,            correct?

22                A         I'm            sorry?

23                Q         You            spoke               with          him          for          an

24       extended                  time,              correct?

25                A        About                  a     half           an      hour.




                                                      001507
CaseCase  23-589, Document
     1:17-cv-01290-DJS  Document
                                         APPENDIX
                           77, 01/17/2024,
                                   123-42 3604437,   Page129
                                           Filed 04/01/22    of 213
                                                          Page  12 of 12
                                                                                                             1951
                                                                                                                  160

  1   K. Barry - Cross by Mr. Roberts

  2              Q          He      was          responsive                        to      your

  3   questions,                        correct?

  4              A          Yes

  5              Q          He      was        polite?

  6              A          Yes.

  7              Q          He      was          distraught

  8              A          I     believe               so,            yes

  9              Q          Well,            you        would                agree             with        me

 10   that            he     had         outward                physical

 11   appearances                                  he    indicated                        to       you       he

 12   was        in        physical                  distress                  over            the        loss

 13   of     hi s          chi     1d ,       c or re ct ?

 14              A          I     don't             know          what             you         mean.

 15              Q          Sure.              When             you          were          discussing

 16   the        death             of      V_,                  how          did          he       appear?

 17              A          He      appeared                    sad.               He      was         sullen.

 18   He     talked                very            quietly               when             we       were

 19   talking               about            that.

20               Q          Yet          despite                that,              you         continued

21    to     conduct                your             interview,                         correct?

22              A           Yes

23              Q           Would            you        agree                with          me        he    was

24    cordial?

25              A           Cordial?




                                              001508
           Case
          Case   23-589, Document 77,
               1:17-cv-01290-DJS  Document
                                            APPENDIX
                                      01/17/2024,
                                             124 3604437,   Page130
                                                  Filed 04/01/22    of 213
                                                                 Page  1 of 3
                                                                                                 1952

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL DAVIS-GUIDER,
                                                                                     DECLARATION
                                                     Plaintiff,                      OF KATHERINE
                 -against-                                                           F. MALONEY, M.D.

CITY OF TROY, RONALD FOUNTAIN, Individually,                                         17 CV 1290 (DJS)
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually, and JOHN and
JANE DOE 1-10, Individually,

                                                     Defendants.

---------------------------------------------------------------------------------X

        KATHERINE F. MALONEY, M.D., declares under penalty of perjury pursuant to 28

U.S.C. § 1746 that the following is true and correct:

        1.       I am board certified in forensic pathology and anatomic and clinical pathology.

        2.       I am currently employed as the Deputy Chief Medical Examiner for the Erie

County Medical Examiner’s Office.

        3.       I have been retained by plaintiff Michael Davis to provide an expert opinion in the

above captioned matter as to the cause of death of V.D. As such, I am fully familiar with the

facts and circumstances of this case.

        4.       My credentials to serve as an expert, including my education, licensures, and

employment history, are set forth in my curriculum vitae, which is attached hereto as Exhibit 1.

        5.       In my capacity as an expert, I reviewed relevant documentation relating to this

matter and rendered an expert opinion as set forth in the November 1, 2021, letter report attached

hereto as Exhibit 2.
      Case
     Case   23-589, Document 77,
          1:17-cv-01290-DJS  Document
                                      APPENDIX
                                 01/17/2024,
                                        124 3604437,   Page131
                                             Filed 04/01/22    of 213
                                                            Page  2 of 3
                                                                                              1953

          6.    All of the opinions set forth in my report are based on my review of the materials

listed in said report and my experience and knowledge of forensic pathology and are stated to a

reasonable degree of medical certainty.

          7.    The opinions set forth in my report truly and accurately reflect my opinions in this

matter.

          8.    1 further submit that I have personally encountered liver injuries sustained during

CPRand it is my opinion V.D.'s injuries are consistent with injuries Lhave observed from CPR.

          9.    The longer CPR is performed, the more CPR-associated injuries will be seen.

          10.   The size of an individual's hands cannot be medically co1Telatedto the resultant

CPR- related injury based on accepted medical research and knowledge.

Dated: Buffalo, New York
       April 30, 2022

                                              By:     -L~    -fc~.v}/Ck {(
                                                      KATHERINE F. MALONEY




                                                 2
           Case
          Case   23-589, Document 77,
               1:17-cv-01290-DJS  Document
                                            APPENDIX
                                      01/17/2024,
                                             124 3604437,   Page132
                                                  Filed 04/01/22    of 213
                                                                 Page  3 of 3
                                                                                                 1954

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL DAVIS-GUIDER,

                                                     Plaintiff,
                                                                                     17 CV 1290 (DJS)
                 -against-

CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually, and JOHN and
JANE DOE 1-10, Individually,

                                                     Defendant.

---------------------------------------------------------------------------------X




                     DECLARATION OF KATHERINE F. MALONEY, M.D.




                                    BRETT H. KLEIN, ESQ., PLLC
                                       Attorneys for the Plaintiff
                                       305 Broadway, Suite 600
                                      New York, New York 10007
                                            (212) 335-0132
     Case
   Case 1:17-cv-01290-DJS
                                APPENDIX
           23-589, DocumentDocument
                            77, 01/17/2024,
                                      124-1 3604437,  Page133
                                             Filed 04/01/22   of 213
                                                            Page  1 of 6
                                                                          1955


Katherine F. Maloney, M.D.
Nickel City Forensics, L.L.C.
P.O. Box 114
Getzville, NY 14068
(774) 249-8241
nickelcityforensics@gmail.com

Professional Experience
Deputy Chief Medical Examiner                                   2016 – Present
Erie County Medical Examiner’s Office
Buffalo, NY

Associate Chief Medical Examiner                                2013 – 2016
Erie County Medical Examiner’s Office
Buffalo, NY

City Medical Examiner                                           2011 – 2013
Office of Chief Medical Examiner
New York, NY

Education and Training
Fellow in Forensic Neuropathology and Cardiac Pathology          2012 – 2013
Office of Chief Medical Examiner
New York, NY

Fellow in Forensic Pathology                                     2011 – 2012
Office of Chief Medical Examiner
New York, NY

Resident in Anatomic and Clinical Pathology                      2007 – 2011
New York Presbyterian Hospital - Weill Cornell Medical Center
Department of Pathology and Laboratory Medicine
New York, NY

Doctor of Medicine                                               2003 – 2007
University of Massachusetts Medical School
Worcester, MA

Bachelor of Science, Biology                                     1998 – 2002
Boston College, College of Arts & Sciences
Chestnut Hill, MA



10/8/2020                                                        —continued—
     Case
   Case 1:17-cv-01290-DJS
                                  APPENDIX
           23-589, DocumentDocument
                            77, 01/17/2024,
                                      124-1 3604437,  Page134
                                             Filed 04/01/22   of 213
                                                            Page  2 of 6
                                                                                       1956
                                                                  Katherine F. Maloney, M.D.



Academic Appointments
Clinical Assistant Professor                                               2014 – Present
Pathology and Anatomical Sciences, University at Buffalo
Buffalo, NY

Clinical Instructor                                                        2011 – 2013
Department of Forensic Medicine, New York University
New York, NY

Medical Licensing and Examinations

Forensic Pathology Board Certified                          Certification Date 9/4/2012
Anatomic and Clinical Pathology Board Certified             Certification Date 7/29/2011
New York State Medical License – #250114                      Licensure Date 8/22/2008
United States Medical Licensing Examination, Steps 1-3

Professional Organizations

American Academy of Forensic Sciences                                      2014 – Present
New York State Association of County Coroners & Medical Examiners          2014 – Present
National Association of Medical Examiners                                  2011 – Present
United States & Canadian Academy of Pathology                              2008 – Present
American Society for Clinical Pathology                                    2008 – Present
College of American Pathologists                                           2007 – Present

Service to the Profession

Forensic Pathology Section Editor                                       2017 – Present
American Society for Clinical Pathology Forensic Pathology Case Reports

National Association of Medical Examiners                                   2016 – Present
Protocols for Interagency Interactions in Mass Fatality Incidents Committee

National Association of Medical Examiners                                  2016 – 2017
Forensic Pathology Fellowship Training Committee

Forensic Pathology Case Reviewer                                    2016 – Present
Sudden Unexpected Death in Childhood (SUDC) Registry and Research Collaborative

Case Reviewer                                                            2014 – Present
American Society for Clinical Pathology Forensic Pathology Check Samples




10/8/2020                                                                        Page 2 of 6
     Case
   Case 1:17-cv-01290-DJS
                                  APPENDIX
           23-589, DocumentDocument
                            77, 01/17/2024,
                                      124-1 3604437,  Page135
                                             Filed 04/01/22   of 213
                                                            Page  3 of 6
                                                                                       1957
                                                                  Katherine F. Maloney, M.D.



Teaching Experience
CRJ303: Criminal Investigation I Lab                                       2019 – Present
Medaille College
Buffalo, NY

Child Homicide Investigations                                              2018 – Present
National Criminal Justice Training Center
Fox Valley Technical College

Forensic Lecture Series                                                   September 2017
Jefferson Medical College, Lenox Hill Hospital, Albert Einstein College of Medicine, Weill
Cornell Medical College

Resident Lectures                                                          2013 – Present
Erie County Medical Examiner’s Office
Buffalo, NY

Resident Lectures                                                          2011 – 2013
Office of Chief Medical Examiner
New York, NY

Small Group Instructor                                                     2007 – 2011
Weill Medical College of Cornell University
New York, NY

Teaching Assistant                                                         2000 – 2002
Boston College
Chestnut Hill, MA

Research Experience
Graduate Research                                                        2008 – 2011
New York-Presbyterian Hospital - Weill Cornell Medical Center
Department of Pathology
New York, NY
      Mentor: Rebecca Baergen
      Project: Types of Maternal Hypertensive Disease and Their Association with
                Placental Pathologic Lesions and Clinical Factors

Undergraduate Research Assistant                                            2006-2007
University of Massachusetts Medical School
Department of Pathology
Worcester, MA
     Mentor: Dr. Ashraf Kahn



10/8/2020                                                                        Page 3 of 6
     Case
   Case 1:17-cv-01290-DJS
                                 APPENDIX
           23-589, DocumentDocument
                            77, 01/17/2024,
                                      124-1 3604437,  Page136
                                             Filed 04/01/22   of 213
                                                            Page  4 of 6
                                                                                      1958
                                                                 Katherine F. Maloney, M.D.



     Senior Project: Expression of Vascular Endothelial Growth Factor Subtypes and
                      Their Relationship to Tumor Progression

Research Assistant                                                  June – August 2004
University of Southern California
Division of Research Immunology/Bone Marrow Transplantation
Los Angeles, CA

Research Assistant                                                           2002 – 2003
Massachusetts General Hospital
Department of Molecular Pathology and Neuro-Oncology
Boston, MA

Undergraduate Research Assistant                                             2000 – 2002
Boston College
Department of Biology
Chestnut Hill, MA

Research Assistant                                                           1998 – 1999
University of Massachusetts Medical School
Department of Molecular Pathology
Worcester, MA



Publications

Maloney KF, Webb M. “Overdose death associated with vaping designer fentanyl
analogs.” Clinical and Forensic Toxicology News (Quarterly, AACC/CAP), 2019 December.

Miller AO, Buckwalter SP, Henry MW, Wu F, Maloney KF, Abraham BK, Hartman BJ,
Brause BD, Whittier S, Walsh TJ, Schuetz AN. “Globicatella sanguinis Osteomyelitis and
Bacteremia: Review of an Emerging Human Pathogen with an Expanding Spectrum of
Disease.” Open Forum Infect Dis 2017, 4(1): ofw277.

Maloney KF, Schoppe CS. “Obesity and non-atherosclerotic cardiovascular disease.”
Academic Forensic Pathology 2013 March, 3(1): 8-12.

Gill JG, Maloney KF, Hirsch CH. “The consistency and advantage of therapeutic
complication as a manner of death.” Academic Forensic Pathology 2012 June, 2(2): 176-182.

Maloney KF, Baergen RN. “Maternal floor infarction (Massive perivillous fibrin
deposition).” Pathology Case Reviews 2010, 15(2):58-61.




10/8/2020                                                                       Page 4 of 6
     Case
   Case    23-589, DocumentDocument
        1:17-cv-01290-DJS
                                   APPENDIX
                            77, 01/17/2024,
                                      124-1 3604437,  Page137
                                             Filed 04/01/22   of 213
                                                            Page  5 of 6
                                                                                          1959
                                                                     Katherine F. Maloney, M.D.



Maloney KF, Heller DS, Baergen RN. “Types of Maternal Hypertensive Disease and
Their Association with Pathologic Lesions and Clinical Factors.” Fetal and Pediatric Pathology
2012 Oct;31(5):319-23.



Abstracts and Poster Presentations
Maloney KF and Webb M. “An Overdose Death Associated with Vaping Designer
      Fentanyl Analogs.” National Association of Medical Examiners (NAME) Annual
      Meeting; Virtual: October 16-17, 2020.

Maloney KF, Hart AM, Reed S, Mahar TJ. “Your patient is going to die I: A review of
      iatrogenic injuries.” National Association of Medical Examiners (NAME) Annual
      Meeting; Virtual: October 16-17, 2020.

Maloney KF, Hart AM, Reed S, Mahar TJ. “Your patient is going to die II: A review of
      missed diagnoses.” National Association of Medical Examiners (NAME) Annual
      Meeting; Virtual: October 16-17, 2020.

Hart AM, Maloney KF, Yarid NA, Mahar TJ. “Two dead bodies in a cemetery: An
      unexpected lightning strike.” American Academy of Forensic Sciences (AAFS)
      Annual Meeting; Seattle, WA: February 19-24, 2018.

Maloney KF, Yarid NA, Giffin CR, Corcoran CM, Blank J, Mahar TJ. “U-47700: A
      synthetic opioid of unknown significance.” American Academy of Forensic
      Sciences (AAFS) Annual Meeting; New Orleans, LA: February 13-18, 2017.

Maloney KF, Yarid NA, Giffin CR, Corcoran CM, Blank J, Mahar TJ. “Butyrylfentanyl
      and acetylfentanyl levels in driving under the influence and overdose cases.”
      National Association of Medical Examiners (NAME) Annual Meeting; Minneapolis,
      MN: September 7-13, 2016.

Maloney KF, Yarid NA, Blank J, Mahar TJ. “Deaths associated with a November 2014
      snowstorm (“Winter Storm Knife”) in Erie County, New York.” American
      Academy of Forensic Sciences (AAFS) Annual Meeting; Las Vegas, NV: February
      22-27, 2016.

Gill JG, Maloney KF, Hirsch CH. “The consistency and advantage of therapeutic
      complication as a manner of death.” National Association of Medical Examiners
      (NAME) Annual Meeting; Baltimore, MD: October 5-9, 2012.

Maloney KF, Heller DS, Baergen RN. “Types of Maternal Hypertensive Disease and
    Their Association with Pathologic Lesions and Clinical Factors.” United States &
    Canadian Academy of Pathology (USCAP) Annual Meeting; Boston, MA: March 7-
    13, 2009.



10/8/2020                                                                           Page 5 of 6
     Case
   Case 1:17-cv-01290-DJS
                                APPENDIX
           23-589, DocumentDocument
                            77, 01/17/2024,
                                      124-1 3604437,  Page138
                                             Filed 04/01/22   of 213
                                                            Page  6 of 6
                                                                                     1960
                                                              Katherine F. Maloney, M.D.




Maloney KF, Savageau J, Pulver T, Prasad M, Quinlan R, Ashraf K. “Expression of
    Vascular Endothelial Growth Factor Subtypes and Their Relationship to Tumor
    Progression.” College of American Pathologists (CAP) Annual Meeting; Chicago, IL:
    April 14-18, 2007.

Maloney KF, Petri WH. “The Utility of Eight Canine Microsatellite Markers for
    Determining Genetic Variation in the Eastern Coyote (Canis latrans).” 60th Annual
    Eastern New England Biological Research Conference; Boston, MA: April 2002.



Media Appearances
Forensic Pathology Expert                                       TBA
“Hell and Gone – The Mitrice Richardson Case”
School of Humans, Podcast

Forensic Pathology Expert                                       TBA
“Exhumed – The Stacey Caster Case”
Milojo Downtown LLC, Oxygen Network

Forensic Pathology Expert                                       2019 – 2020
“Crime Stories with Nancy Grace”
Crime Online, Podcast

Forensic Pathology Expert                                         June 2019
“Wrong Man”
Radical Media, Starz

Forensic Pathology Expert                                         June 2019
“Murder and Justice: The Case of Martha Moxley”
Jupiter Productions, Oxygen Network

Forensic Pathology Expert                                         April 2018
“Deadly Intelligence”
Beyond Productions, Science Channel

Forensic Pathology Expert                                         January 2018
“Final Appeal”
Peacock Productions, Oxygen Network




10/8/2020                                                                      Page 6 of 6
          Case
        Case 1:17-cv-01290-DJS
                                      APPENDIX
                23-589, DocumentDocument
                                 77, 01/17/2024,
                                           124-2 3604437,  Page139
                                                  Filed 04/01/22   of 213
                                                                 Page  1 of 3
                                                                                          1961
                                                             nsi s


November 1, 2021

Katherine Maloney, M.D.
Nickel City Forensics, LLC
PO Box 114
Getzville, NY 14068




            -- -
Case information
Decedent: V    D , DOB:
Postmortem case number: MS-15-120
                                  , DOD: 2/26/15




Items provided for review
Autopsy report and medical examiner’s office file
Autopsy photographs
Scene photographs
Pediatrician medical records
EMS report
Hospital records from terminal admission
Police reports and drawing of the scene
Police deposition of Russell Brown (friend)
Police deposition of Rebecca Parker (mother)
Police deposition of Michael Bayley (firefighter/EMS)
Police deposition of James Tidings (firefighter/EMS)
Police deposition of Jason Lucey (firefighter/EMS)
Police deposition of Frank Shoemaker III (firefighter/EMS)
Police deposition of Michael Rustin (restaurant employee)
Police deposition of Kathleen Crisafulli (ER doctor)
Grand jury testimony of Dr. Michael Sikirca 9/25/15
Deposition of Dr. Michael Sikirca 5/24/21
Deposition of Michael Davis 3/30/17, 5/19/21
Transcripts of trial testimony


Facts of the incident
Per report, the decedent seemed lethargic and tired on the morning of the day she died (2/26/15) as
noted by the decedent’s mother and mother’s boyfriend (Michael Davis). The decedent’s mother

                                                                                         1|Page
          Case
        Case 1:17-cv-01290-DJS
                                 APPENDIX
                23-589, DocumentDocument
                                 77, 01/17/2024,
                                           124-2 3604437,  Page140
                                                  Filed 04/01/22   of 213
                                                                 Page  2 of 3
                                                                                                 1962
                            ..       G        .
                           Nickel City Fore~ns1cs
went to work and Mr. Davis was responsible for watching her during the day. The decedent was
placed for a nap by Mr. Davis in the late morning who also took a nap at that time. When he awoke,
he reported that the decedent was unresponsive. He attempted cardiopulmonary resuscitation (CPR)
by pacing one hand on her back and one on her chest/stomach and compressing the decedent’s
torso. Mr. Davis did not have a phone, so after attempting CPR and getting no response, he went to
a restaurant down the street to use their phone to call 911. When the decedent’s mother arrived
home from work, Mr. Davis was coming down the street back to the residence after having called
911 for assistance.

The ambulance arrived at 13:14 and CPR was initiated. In his deposition, firefighter/EMS
personnel, Frank Shoemaker II stated that the decedent’s abdomen was “not distended” when they
arrived and CPR was initiated. The decedent arrived to the emergency room at 13:46 and was
pronounced dead at 14:08. During this time, CPR was continued by medical personnel.

Autopsy photographs revealed lacerations of the anterior and posterior right and left lobes of the
liver with pulpification of the intervening parenchyma of the right lobe, and approximately 350 ml
of liquid blood in the peritoneal cavity. They also revealed fractures of the posterior right 9th and 10th
ribs with surrounding hemorrhage in the soft tissue; no overlying skin hemorrhage (contusion) of
the back was demonstrated. Postmortem metabolic screening detected a slightly elevated level of
thyroid stimulation hormone (TSH) consistent with hypothyroidism.


Opinion
The injuries to the decedent’s liver are consistent with CPR, as is the amount of blood in the
peritoneal cavity. While CPR is being performed, the heart is kept artifactually “beating” allowing
injuries, like liver lacerations, to continue oozing blood and bleeding into the surrounding soft tissue.
Of note, one of the EMS personnel stated that her abdomen did not appear distended when they
arrived to the residence, which suggests that additional blood accumulated while CPR was being
performed by EMS and hospital staff.

It is not uncommon to see rib fractures during routine CPR. While routine CPR usually does not
cause posterior rib fractures (as were seen in this case), Mr. Davis stated that when he performed
CPR, he placed one of his bands on the decedent’s back and one of his hands on the decedent’s
front. The hand placed on the back could have caused the posterior rib fractures identified in this
case, and as such, they are not concerning for inflicted trauma. The nature and extent of the CPR
related injuries would not have provided information about the size of Mr. Davis’s hands, despite
the size of his hands being specifically being listed in the autopsy report.

The autopsy and subsequent examination did not identify a cause of death. As such, the decedent’s
death would be classified as Sudden Unexplained Death in Childhood with Intrinsic Factors
(hypothyroidism), using the latest recommendations of the National Association of Medical

                                                                                               2|Page
          Case
        Case    23-589, DocumentDocument
             1:17-cv-01290-DJS
                                        APPENDIX
                                 77, 01/17/2024,
                                           124-2 3604437,  Page141
                                                  Filed 04/01/22   of 213
                                                                 Page  3 of 3
                                                                                               1963
                                                                 ns1 s
Examiners. Deaths that fall into this category are often thought to be due to cardiac arrhythmias
(when the heart beats irregularly or stops beating) or seizures. Further work-up of these diagnoses
includes extensive review of brain and cardiac tissue, genetic testing, and referral to the Sudden
Unexplained Death in Childhood Registry and Research Collaborative may be considered. It is
possible that a thorough evaluation of the heart and brain could have provided information about
the cause of death. Additionally further studies of the thyroid gland could have been considered
given the decedent’s abnormal thyroid metabolic screening. It is not clear if these studies were
performed in this case, as all of the emphasis was placed on the non-fatal and non-contributory to
death CPR related injuries.

To a reasonable degree of medical and scientific certainty, there is no evidence that the injuries to
the decedent’s liver and ribs were due to anything other than CPR, and they did not contribute to
her death.

The facts and opinions above are based on the provided information, and may change should new
information be provided. Please do not hesitate to contact me if there are further questions.




Katherine Maloney, M.D.
Nickel City Forensics, LLC




                                                                                             3|Page
         Case
      Case 1:17-cv-01290-DJS
                                    APPENDIX
              23-589, DocumentDocument
                               77, 01/17/2024,
                                        129-1 3604437,   Page142
                                               Filed 05/12/22    of 213
                                                              Page  1 of 15
                                                                                   1964

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MICHAEL DAVIS-GUIDER,
                                                       RESPONSE TO PLAINTIFF’S
                                                       LOCAL RULE 56.1 COUNTER-
                                                       STATEMENT
                            Plaintiff,                  Civil Case No.: 1:17-cv-01290
                                                       (FJS/DJS)
       -against-

CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES
MCDONALD, Individually, TIM COLANERI, Individually,
ADAM R. MASON, Individually, RENSSELAER COUNTY,
MICHAEL SIKIRICA, Individually, and JOEL ABELOVE,
Individually,

                            Defendants.


       Pursuant to 56.1(b) of the Local Rules of Practice for the United States District

Court for the Northern District of New York, Defendants RENSSELAER COUNTY,

MICHAEL SIKIRICA, and JOEL ABELOVE (collectively, “County defendants”), by and

through their attorneys, Bailey, Johnson & Peck, P.C., hereby submit the following

response to Plaintiff Michael Davis-Guider’s (“Davis”) counter-statement of material facts.

All exhibit citations refer to those exhibits attached to the County defendants’ moving

statement of material facts [Dkt. No. 115-3].

       1.     Admit only that V.D. is the daughter of Davis’s girlfriend, but object to the

remaining statement as it sets forth unsupported opinion—as opposed to assertions of

fact—in contravention of the rules of this Court.

       2.     Admit only that Davis testified accordingly, and add that he “guess[ed that

V.D.] threw up a few times but other than that it was, seemed like a simple cold.” Exhibit

“D,” pp. 47-48.
               Case
            Case 1:17-cv-01290-DJS
                                       APPENDIX
                    23-589, DocumentDocument
                                     77, 01/17/2024,
                                              129-1 3604437,   Page143
                                                     Filed 05/12/22    of 213
                                                                    Page  2 of 15
                                                                                         1965


       3.      Admit only that the cited exhibits set forth information consistent with the

statement, but deny that any medically significant inference can be drawn from the

statement supportive of Davis’s causes of action. Exhibit “F,” pp. 29-30, 64, 73-74, 82,

121; exhibit “A,” pp. 33-34; exhibit “N,” pp. 31-34.

       4.      Admit only that the cited exhibits set forth information consistent with the

statement, but deny that any medically significant inference can be drawn from the

statement supportive of Davis’s causes of action. Exhibit “F,” pp. 29-30, 64, 73-74, 82,

117-18, 121; exhibit “A,” pp. 33-34; exhibit “N,” pp. 31-34; exhibit “L,” generally.

       5.      Admit only that the cited exhibits set forth information consistent with the

statement, but deny that any medically significant inference can be drawn from the

statement supportive of Davis’s causes of action. Exhibit “F,” pp. 29-30, 64, 73-74, 82,

117-18, 121; exhibit “A,” pp. 33-34; exhibit “N,” pp. 31-34; exhibit “L,” generally.

       6.      Admit.

       7.      Admit.

       8.      Admit only that the cited exhibits set forth information consistent with the

statement, and object insofar as it is claimed that V.D. was not her normal self, as it is a

conclusion unsupported by a proper citation.

       9.      Admit.

       10.     Admit only that the cited exhibits set forth information consistent with the

statement, and object insofar as Davis sets forth opinion about the consistency of his

explanation of the morning events—as opposed to assertions of fact—in contravention of

the rules of this Court.

       11.     Admit.



                                              2
             Case
          Case 1:17-cv-01290-DJS
                                        APPENDIX
                  23-589, DocumentDocument
                                   77, 01/17/2024,
                                            129-1 3604437,   Page144
                                                   Filed 05/12/22    of 213
                                                                  Page  3 of 15
                                                                                          1966


       12.    Admit.

       13.    Admit only that Davis testified accordingly, and add that he testified that

when he woke up, he called to V.D. to let her know her breakfast was ready, but she did

not respond. Exhibit “A,” p. 38; exhibit “D,” p. 60.

       14.    Admit only that Davis testified accordingly, and deny the statement to the

extent that it implies or attempts to imply that Davis did not cause V.D.’s death due to his

infliction of severe blunt-force trauma. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 117-18, 121;

exhibit “A,” pp. 33-34; exhibit “N,” pp. 31-34; exhibit “L,” generally.

       15.    Admit.

       16.    Admit only that Davis testified accordingly, and deny the statement to the

extent that it implies or attempts to imply that Davis did not cause V.D.’s death due to his

infliction of severe blunt-force trauma. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 117-18, 121;

exhibit “A,” pp. 33-34; exhibit “N,” pp. 31-34; exhibit “L,” generally.

       17.    County defendants object to the statement as it sets forth opinion—as

opposed to assertions of fact—in contravention of the rules of this Court; object insofar

as the expert opinions are in dispute in this case; and without waiving said objections,

admit only that the cited exhibits set forth information consistent with the statement, but

deny that any medically significant inference can be drawn from the statement supportive

of Davis’s causes of action. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 121; exhibit “N,” pp. 31-

34.

       18.    Admit.

       19.    Admit only that the cited exhibits set forth information consistent with the

statement.



                                               3
             Case
          Case 1:17-cv-01290-DJS
                                       APPENDIX
                  23-589, DocumentDocument
                                   77, 01/17/2024,
                                            129-1 3604437,   Page145
                                                   Filed 05/12/22    of 213
                                                                  Page  4 of 15
                                                                                           1967


        20.   Admit.

        21.   Admit.

        22.   Admit.

        23.   Admit.

        24.   Admit.

        25.   Admit only that Coonradt was the first to respond; deny knowledge and

information sufficient to respond to the remainder of this particular statement; and object

to the statement as it sets forth opinion—as opposed to assertions of fact—in

contravention of the rules of this Court.

        26.   Admit only that Coonradt talked with Davis, and deny that she prepared an

inaccurate or false report. Klein affidavit, exhibit “16,” pp. 15-16; Klein affidavit, exhibit

“17.”

        27.   Admit only that Davis testified accordingly, and deny knowledge and

information sufficient to respond to the remainder of this particular statement, and

therefore deny the same.

        28.   Admit only that Fountain and McDonald responded to the Davis home, and

deny knowledge and information sufficient to respond to the remainder of this particular

statement, and therefore deny the same.

        29.   Admit only that Davis testified accordingly.

        30.   Admit only that the cited exhibits set forth information consistent with the

statement.

        31.   Admit.

        32.   Admit.



                                              4
             Case
          Case 1:17-cv-01290-DJS
                                       APPENDIX
                  23-589, DocumentDocument
                                   77, 01/17/2024,
                                            129-1 3604437,   Page146
                                                   Filed 05/12/22    of 213
                                                                  Page  5 of 15
                                                                                            1968


       33.    Admit.

       34.    Admit.

       35.    Admit.

       36.    Admit only that Abelove testified that Ackerman’s immediate supervisor was

Jessica Hall, who reported to Abelove. Klein affidavit, exhibit “24,” p. 30.

       37.    Admit only that law enforcement are not required to attend, but deny the

remainder of the statement. Klein affidavit, exhibit “4,” p. 48; exhibit “F,” pp. 38, 87, 153.

       38.    Admit.

       39.    County defendants object to this particular statement, as it sets forth

conjecture and speculation—as opposed to assertions of fact—in contravention of the

rules of this Court. Without waiving said objections, Fountain testified that he does not

recall what information he imparted to Dr. Sikirica. Exhibit “G,” pp. 118-20.

       40.    Deny, to the extent that Davis attempts to limit Dr. Sikirica’s determination

that V.D. did not die of natural causes to simply conducting some tests, and admit only

that the cited exhibits set forth information consistent with the statement that Dr. Sikirica

intended to rule the death a homicide. Exhibit “F,” pp. 36, 81, 118, 121; exhibit “L.”

       41.    County defendants object to the statement as it sets forth opinion and

conclusions—as opposed to assertions of fact—in contravention of the rules of this Court,

and object insofar as the expert opinions are in dispute in this case. Without waiving said

objections, deny. Exhibit “F,” pp. 29-30, 36, 64, 73-74, 81-82, 118, 121; exhibit “N,” pp.

31-34; exhibit “L.”

       42.    Deny. Exhibit “F,” p. 21.

       43.    Admit.



                                              5
             Case
          Case 1:17-cv-01290-DJS
                                        APPENDIX
                  23-589, DocumentDocument
                                   77, 01/17/2024,
                                            129-1 3604437,   Page147
                                                   Filed 05/12/22    of 213
                                                                  Page  6 of 15
                                                                                        1969


       44.    Admit.

       45.    Admit.

       46.    Admit.

       47.    County defendants object to the statement as it sets forth opinion and a

conclusion of law—as opposed to assertions of fact—in contravention of the rules of this

Court. Without waiving said objection, Fountain testified that V.D.’s death was suspicious

in nature. Klein affidavit, exhibit “18,” pp. 63-65.

       48.    Admit.

       49.    Admit.

       50.    Admit only that the cited exhibits set forth information consistent with the

statement, and deny knowledge and information sufficient to respond to the remainder of

this particular statement, and therefore deny the same.

       51.    Admit.

       52.    County defendants object to the statement as it sets forth opinion and a

conclusion of law—as opposed to assertions of fact—in contravention of the rules of this

Court. Without waiving said objection, deny. Exhibit “F,” pp. 29-30, 36, 64, 73-74, 81-82,

84, 88-89, 118, 121; exhibit “A,” pp. 33-34; exhibit “N,” pp. 31-34; exhibit “L.”

       53.    County defendants object to “purportedly,” as that word is not used within

the report. Exhibit “L.” Without waiving said objection, admit.

       54.    Admit.

       55.    Deny. Dr. Sikirica did not attribute the death to Davis specifically. Exhibit

“L.”




                                               6
             Case
          Case 1:17-cv-01290-DJS
                                       APPENDIX
                  23-589, DocumentDocument
                                   77, 01/17/2024,
                                            129-1 3604437,   Page148
                                                   Filed 05/12/22    of 213
                                                                  Page  7 of 15
                                                                                           1970


       56.    Admit only that the number of compressions are not included in the report,

but deny this particular statement insofar as it alleges or tends to allege that any medically

significant inference can be drawn from the statement supportive of Davis’s causes of

action. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 117-18, 121; exhibit “N,” pp. 31-34; exhibit

“L,” generally.

       57.    County defendants object to the statement as it sets forth opinion—as

opposed to assertions of fact—in contravention of the rules of this Court; object insofar

as the expert opinions are in dispute in this case; and without waiving said objections,

admit only that the cited exhibits set forth information consistent with the statement, but

deny that any medically significant inference can be drawn from the statement supportive

of Davis’s causes of action. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 121; exhibit “A,” pp. 33-

34; exhibit “N,” pp. 31-34.

       58.    Admit only that the cited exhibits set forth information consistent with the

statement, but deny that any medically significant inference can be drawn from the

statement supportive of Davis’s causes of action. Exhibit “F,” pp. 29-30, 64, 73-74, 82,

121; exhibit “N,” pp. 31-34.

       59.    County defendants object to the statement as it sets forth opinion—as

opposed to assertions of fact—in contravention of the rules of this Court, and deny that

any medically significant inference can be drawn from the statement supportive of Davis’s

causes of action. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 121; exhibit “A,” pp. 33-34; exhibit

“N,” pp. 31-34.

       60.    County defendants object to the statement as it sets forth opinion—as

opposed to assertions of fact—in contravention of the rules of this Court, and deny that



                                              7
               Case
            Case 1:17-cv-01290-DJS
                                        APPENDIX
                    23-589, DocumentDocument
                                     77, 01/17/2024,
                                              129-1 3604437,   Page149
                                                     Filed 05/12/22    of 213
                                                                    Page  8 of 15
                                                                                            1971


any medically significant inference can be drawn from the statement supportive of Davis’s

causes of action. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 121; exhibit “A,” pp. 33-34; exhibit

“N,” pp. 31-34.

       61.     Admit, and add that that is his custom and practice. Klein affidavit, exhibit

“4,” p. 41.

       62.     Admit only that Davis testified accordingly, and deny knowledge and

information sufficient to respond to this particular statement, and therefore deny the same.

       63.     County defendants object to the statement as it sets forth conclusions of

law—as opposed to assertions of fact—in contravention of the rules of this Court. Without

waiving said objections, deny that the report links the death to a large adult. Exhibit “L.”

       64.     Admit.

       65.     Admit.

       66.     Admit only that Fountain testified that he thought the ribs lacerated the liver,

but deny knowledge and information sufficient to respond in terms of what Fountain

believed.

       67.     County defendants object to this particular statement, as the cited exhibit

does not support it.

       68.     Admit.

       69.     Admit only that Fountain testified in accord with the cited exhibit, but deny

knowledge and information sufficient to respond in terms of what Davis advised him, and

therefore deny the statement.




                                               8
            Case
         Case 1:17-cv-01290-DJS
                                      APPENDIX
                 23-589, DocumentDocument
                                  77, 01/17/2024,
                                           129-1 3604437,   Page150
                                                  Filed 05/12/22    of 213
                                                                 Page  9 of 15
                                                                                         1972


       70.     Admit only that Fountain testified in accord with the cited exhibit, but deny

knowledge and information sufficient to respond in terms of what Fountain observed at

the scene, and therefore deny the statement.

       71.    Admit only that Fountain testified in accord with the cited exhibit, but deny

knowledge and information sufficient to respond in terms of what occurred at the scene,

and therefore deny the statement.

       72.    Admit only that Fountain testified in accord with the cited exhibit, but deny

knowledge and information sufficient to respond in terms of Davis’s presentation at the

time, and therefore deny the statement.

       73.    Admit only that the cited exhibits set forth information consistent with the

statement, but deny knowledge and information as to the accuracy of the statement, and

therefore deny the same.

       74.    Admit.

       75.    Admit only that Dr. Sikirica testified before the grand jury that V.D. did not

die from natural causes, and he testified at deposition that he could neither confirm nor

dispute that Davis found V.D. in an unresponsive state. County defendants deny that Dr.

Sikirica conceded at any time that V.D. died of a natural event, or falsely testified before

the grand jury, and object to the mischaracterization of his testimony. Klein affidavit,

exhibit “15,” pp. 66-67.

       76.    County defendants object to the statement insofar as it mischaracterizes

and incorrectly sets forth the autopsy findings, results, and cause of death. Furthermore,

County defendants deny that Dr. Sikirica correlated V.D.’s injuries to the nature and

manner as described by Davis. Exhibit “N,” pp. 29, 33; exhibit “L,” generally.



                                             9
         CaseCase 23-589, Document
              1:17-cv-01290-DJS Document
                                         APPENDIX
                                   77, 01/17/2024,
                                           129-1 3604437,    Page151
                                                   Filed 05/12/22    of 10
                                                                  Page  213of 15
                                                                                               1973


       77.     County defendants object to this statement insofar as it mischaracterizes

the presentation of evidence, and fails to cite to an exhibit that supports the statement,

i.e., the transcript of the entirety of the grand-jury proceedings.

       78.        County defendants object to this statement insofar as fails to cite to an

exhibit that supports the statement, i.e., the transcript of the entirety of Dr. Sikirica’s grand-

jury testimony before being recalled as a witness. Without waiving said objection, County

defendants deny the statement insofar as it alleges or tends to allege that CPR caused

the injuries at issue. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 117-18, 121; exhibit “N,” pp. 31-

34; exhibit “L,” generally.

       79.     County defendants deny that the evidence was exculpatory; admit only that

it was disclosed by the RCDAO; and object to the statement to the extent that it fails to

cite to any exhibit supporting the timing of the disclosure.

       80.     County defendants object to the statement as it sets forth opinion—as

opposed to assertions of fact—in contravention of the rules of this Court; object insofar

as the expert opinions are in dispute in this case; and without waiving said objections,

deny that Dr. Sikirica offered false testimony. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 121;

exhibit “A,” pp. 33-34; exhibit “N,” pp. 31-34.

       81.     Admit only that the number of compressions are not included in the report,

but deny this particular statement insofar as it alleges or tends to allege that any medically

significant inference can be drawn from the statement supportive of Davis’s causes of

action. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 117-18, 121; exhibit “N,” pp. 31-34; exhibit

“L,” generally.




                                               10
         CaseCase 23-589, Document
              1:17-cv-01290-DJS Document
                                          APPENDIX
                                   77, 01/17/2024,
                                           129-1 3604437,    Page152
                                                   Filed 05/12/22    of 11
                                                                  Page  213of 15
                                                                                          1974


       82.    County defendants object to the statement as it sets forth opinion and

conclusions—as opposed to assertions of fact—in contravention of the rules of this Court.

       83.    County defendants object to the statement as it sets forth opinion—as

opposed to assertions of fact—in contravention of the rules of this Court, and further

object insofar as the expert opinions are in dispute in this case. Without waiving said

objections, County defendants deny this statement insofar as it alleges that the blood in

the abdomen was consistent with CPR. Exhibit “F,” pp. 77, 91, 100.

       84.    County defendants object to the statement to the extent that it fails to cite

to any exhibit supporting that EMS reported that V.D.’s stomach was not distended upon

arrival, and deny this particular statement insofar as it alleges or tends to allege that any

medically significant inference can be drawn from the statement supportive of Davis’s

causes of action. Exhibit “F,” pp. 29-30, 64, 73-74, 77, 91, 82, 100, 117-18, 121; exhibit

“N,” pp. 31-34; exhibit “L,” generally.

       85.    County defendants deny that Dr. Sikirica offered false testimony, and

regardless, deny that any medically significant inference can be drawn from the statement

supportive of Davis’s causes of action. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 121; exhibit

“A,” pp. 33-34; exhibit “N,” pp. 31-34.

       86.    County defendants object to this particular statement, as it is a conclusion

unsupported by a proper citation. Without waiving said objection, County defendants

deny that Dr. Sikirica offered false testimony, and deny that any medically significant

inference can be drawn from the statement supportive of Davis’s causes of action. Exhibit

“F,” pp. 29-30, 64, 73-74, 82, 121; exhibit “N,” pp. 31-34.




                                             11
          CaseCase 23-589, Document
               1:17-cv-01290-DJS
                                        APPENDIX
                                    77, 01/17/2024,
                                 Document   129-1 3604437,    Page153
                                                    Filed 05/12/22    of 12
                                                                   Page  213of 15
                                                                                             1975


       87.     Admit only that Fountain and Dr. Sikirica testified before the grand jury and

that Davis was indicted, but deny that testimonial evidence was the only evidence

presented to the jury. Klein affidavit, exhibit “9.”

       88.     Admit.

       89.     Admit.

       90.     Admit only that Coonradt testified at a suppression hearing, and deny

knowledge and information sufficient to respond to the remainder of this particular

statement, and therefore deny the same.

       91.     Admit only that McDonald testified at a suppression hearing and that the

cited exhibits set forth information consistent with the statement.

       92.     Admit only that Coonradt testified at trial and that the cited exhibits set forth

information consistent with the statement.

       93.     County defendants object to the statement insofar as it mischaracterizes

Dr. Sikirica’s testimony and incorrectly sets forth the autopsy findings, results, and

cause of death. Furthermore, County defendants deny that Dr. Sikirica correlated V.D.’s

injuries to the nature and manner as described by Davis. Exhibit “L,” generally; Klein

affidavit, exhibit “4,” p. 12.

       94.     Admit only that Dr. Sikirica testified accordingly, but clarify that had Dr.

Sikirica not seen the video of Fountain’s interview—wherein Davis portrayed squeezing

V.D.—he still would have opined that the severe compressive injury to her liver occurred

due to compression of her abdominal cavity. Exhibit “F,” pp. 98, 117.




                                               12
         CaseCase 23-589, Document
              1:17-cv-01290-DJS
                                       APPENDIX
                                   77, 01/17/2024,
                                Document   129-1 3604437,    Page154
                                                   Filed 05/12/22    of 13
                                                                  Page  213of 15
                                                                                           1976


       95.    Admit only that Fountain testified at trial and was retired, and deny

knowledge and information sufficient to respond to the remainder of this particular

statement insofar as the underlying reason for his retiring.

       96.    Deny. The role of the DA’s office in this case was advisory in nature; it did

not direct TPD in terms of how to conduct its investigation. Exhibit “E,” p. 33.

       97.    Deny. Exhibit “F,” pp. 38, 89, 154-55.

       98.    Admit.

       99.    Admit only that Dr. Sikirica has personally observed ruptured livers

attributed to placement of the hands or compressions that are too vigorously applied, but

clarify that ruptured livers are associated with fractures to the anterior chest wall and the

sternum, most of which involve calcified bones in older adults. Exhibit “F,” pp. 58, 61.

       100.   County defendants object to the statement as it sets forth opinion—as

opposed to assertions of fact—in contravention of the rules of this Court; object insofar

as the expert opinions are in dispute in this case; and without waiving said objections,

admit only that Dr. Sikirica testified that some studies have suggested and some have

disclaimed that prolonged CPR is significantly associated with a higher incidence of rib

fractures. Exhibit “F,” pp. 57-58.

       101.   County defendants object to the statement as it sets forth opinion—as

opposed to assertions of fact—in contravention of the rules of this Court, and object

insofar as the expert opinions are in dispute in this case.

       102.   Admit only that V.D. exhibited no external bruising, but deny the remainder

of the statement. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 121; exhibit “N,” pp. 31-34.




                                             13
         CaseCase 23-589, Document
              1:17-cv-01290-DJS Document
                                        APPENDIX
                                   77, 01/17/2024,
                                           129-1 3604437,    Page155
                                                   Filed 05/12/22    of 14
                                                                  Page  213of 15
                                                                                             1977


       103.   County defendants object to the statement insofar as it mischaracterizes Dr.

Sikirica’s testimony, and admit only that Dr. Sikirica opined that the liver lacerations were

most consistent with force applied to V.D.’s abdomen and the back simultaneously,

similar to what Davis portrayed in the video of his questioning by Fountain and McDonald.

Exhibit “F,” p. 65.

       104.   Deny. The injuries to her ribs and liver were antemortem—conclusively or

to a reasonable degree of medical certainty—and were caused by blunt-force trauma.

Exhibit “F,” pp. 33, 125, 132.

       105.   Admit only that Dr. Sikirica testified at deposition that he could neither

confirm nor dispute that Davis found V.D. in an unresponsive state. Exhibit “F,” pp. 66-

67.

       106.   County defendants object to the statement insofar as it mischaracterizes Dr.

Sikirica’s testimony, and admit only that Dr. Sikirica testified hypothetically that if V.D. had

already been in extremis, and died at the hands of another during resuscitative process,

that would not be considered homicide. Exhibit “F,” p.128.

       107.   County defendants deny the statement insofar as it alleges or tends to

allege that CPR caused the injuries at issue. Exhibit “F,” pp. 29-30, 64, 73-74, 82, 117-

18, 121; exhibit “N,” pp. 31-34; exhibit “L,” generally.

       108.   Admit.

       109.   County defendants object to this statement as it is argumentative; sets forth

a conclusion unsupported by record evidence or appropriate citation; and goes to a matter

in dispute, all in contravention of the rules of this Court.




                                              14
      CaseCase 23-589, Document
           1:17-cv-01290-DJS    77, 01/17/2024, 3604437,
                             DA_ffltNi:JJXled            Page156
                                                    05/12/22     of 213
                                                              Page  15 of          11978

       110. Admit only that McElheny was arrested, prosecuted, and acquitted, and

object to the remainder of the statement as the cited exhibit does not support the proffered

conclusion.

       111. Admit only that Thomas was arrested, prosecuted, and acquitted, and

object to the remainder of the statement as it relies upon conjecture and speculation, and

as the cited exhibits do not support the proffered conclusion.

       112.   County defendants admit only that Dr. Sikirica continued to perform

autopsies for Rensselaer County; deny the statement to the extent that it alleges any

wrongdoing on the part of County defendants; and object insofar as the statement

improperly sets forth arguments, conclusions of law, and unsupported facts.

       113.   County defendants admit only that Dr. Sikirica was paid for his work by

Rensselaer County, but deny knowledge and information sufficient to respond to the

remainder of the statement as it is unsupported by the cited exhibit.

       114. Admit only that the cited exhibit sets forth information consistent with the

statement.

Dated: May 12, 2022                       BAILEY, JOH~SONc~-
                                          By:                           , :J/_ij
                                                 William C. Firth
                                                 Bar Roll No. 513832
                                          Attorneys for Defendants Rensselaer County,
                                          Michael Sikirica, and Joel Abelove
                                          5 Pine West Plaza, Suite 507
                                          Washington Avenue Extension
                                          Albany, New York 12205




                                            15
          Case
        Case 1:17-cv-01290-DJS
                                      APPENDIX
                23-589, DocumentDocument
                                 77, 01/17/2024,
                                           130-1 3604437,  Page157
                                                  Filed 05/13/22   of 213
                                                                 Page  1 of 2
                                                                                           1979



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________________
MICHAEL DAVIS-GUIDER,

                                      Plaintiff,                          ATTORNEY
                                                                            REPLY
               -against-                                                DECLARATION
                                                                     Case No.: 1:17-cv-1290
CITY OF TROY, RONALD FOUNTAIN, Individually,                               (FJS/DJS)
DANIELLE COONRADT, Individually, CHARLES
MCDONALD, Individually, TIM COLANERI, Individually,
ADAM R. MASON, Individually, RENSSELAER COUNTY,
MICHAEL SIKIRICA, Individually, and
JOEL ABELOVE, Individually,

                              Defendants.
___________________________________________________

       RHIANNON I. SPENCER, ESQ., under penalty of perjury, sets forth the following:

       1.      I am an attorney duly licensed and admitted to practice in all Courts of the State of

New York and I am admitted to practice in the United States District Court for the Northern District

of New York. I am employed by the law firm of Pattison, Sampson Ginsberg & Griffin, PLLC

who are the attorneys for the above-named defendants City of Troy, Ronald Fountain, Danielle

Coonradt, Charles McDonald, Adam R. Mason, and Tim Colaneri (hereinafter referred to as the

“City Defendants”).

       2.       The Plaintiff has consented to the dismissal of Adam R. Mason from the instant

action, has withdrawn his false arrest/ false imprisonment claims and has withdrawn his 42 U.S.C.

§ 1985 conspiracy claims as referenced in his Fifth Cause of Action.

       3.      I submit this Reply Declaration, together with the accompanying Memorandum of

Law in reply to the Plaintiff’s opposition to the City Defendants’ Motion for Summary Judgment

pursuant to Rule 56 of the Federal Rules of Civil Procedure seeking dismissal of the Plaintiff’s

                                                   1
          Case
        Case 1:17-cv-01290-DJS
                                      APPENDIX
                23-589, DocumentDocument
                                 77, 01/17/2024,
                                           130-1 3604437,  Page158
                                                  Filed 05/13/22   of 213
                                                                 Page  2 of 2
                                                                                             1980



Third Amended Complaint in its entirety against these moving defendants.

       4.      As discussed in the accompanying Memorandum of Law, the City Defendants

(movants) seek a dismissal of Plaintiff’s Third Amended Complaint on the grounds that there is

no question of material fact that a jury ought to consider or, in the alternative, because the City

Defendants are entitled to qualified immunity.

       5.      The following exhibits are provided in reply to the Plaintiff’s opposition:

       D. Exhibit “D”: August 19, 2016, Criminal Trial Vol III-Paramedic Bayly’s Testimony;

       E. Exhibit “E”: August 23, 2015, Criminal Trial Vol. V-Michael Davis-Guider;

       F. Exhibit “F”: May 3, 2016, Suppression Hearing Testimony of Danielle Coonradt and
          Charles McDonald


Dated: May 12, 2022.

                                             _________________________________________
                                             Rhiannon I. Spencer, Esq.
                                             Pattison, Sampson, Ginsberg & Griffin, PLLC
                                             Bar Roll No. 102582
                                             Attorneys for Defendants, The City of Troy,
                                             Danielle Coonradt, Charles McDonald,
                                             Adam R. Mason, Ronald Fountain, and
                                             Tim Colaneri
                                             22 First Street - P. O. Box 208
                                             Troy, New York 12181-0208
                                             (518) 266-1001




                                                 2
   Case
Case    23-589, Document~~ffl>txiled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page159
                                              05/13/22    of 213
                                                       Page   1 of   5\981




                 EXHIBIT D
       Case
     Case    23-589, Document 9t~:NfJixiled
          1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page160
                                                    05/13/22   of 213
                                                             Page  2 of   s5i
                                                                           982
                                                                                 1

     1

     2   STATE OF NEW YORK                  COUNTY COURT
         COUNTY OF RENSSELAER               CRIMINAL TERM
     3   ******************************************
         THE PEOPLE OF THE STATE OF NEW YORK,
     4
         - against     -                            15-1094
     5
         MICHAEL DAVIS,
     6
                                  Defendant.
     7   ****************************************
                                  Rensselaer       County Courthouse
     8                            Congress      and Second Streets
                                  Troy, New York         12180
     9                           August      19, 2016
    10                        Tria1    - Vo1ume 3

    11   B e f o r e:
    12          HONORABLEANDREWG. CERESIA,
                                County Court                   Judge
    13
    14   A p p e a r a n c e s:

    15   For   THE PEOPLE OF THE STATE OF NEW YORK:

    16         JOEL E. ABELOVE, ESQ.
               Rensselaer   County District   Attorney
    17         Rensselaer   County Courthouse
               Congress   and Second Streets
    18         Troy, New York 12180

    19         BY:    CINDY CHAVKIN, ESQ.
                      Assistant District  Attorney
    20

    21   For    DEFENDANT:

    22         JOHN C. TURI, ESQ.
               Rensselaer    County Public   Defender
    23         Congress   and Second Streets
I              Troy,   New York 12180
    24
               BY:    WILLIAM ROBERTS, ESQ. and
    25                JESSICA ZWICKLBAUER, ESQ.
                      Assistant Public Defenders

                           Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, Document~~NfJixiled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page161
                                               05/13/22   of 213
                                                        Page  3 of   5l983
                                                                             2

 1

 2
     Also   Present:
 3
            Michael Davis, Defendant
 4          Clerk of the Court

 5

 6

 7

 8

 9

10

11

12

13

14
15

16

17

18

19

20

21

22

23

24

25


                       Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, DocumentD-'l<ti11w=,hl~Filed
     1:17-cv-01290-DJS  77, 01/17/2024, 3604437, Page162
                                              05/13/22 p of 213
                                                             4
                        A.rr~l~J.JJ.A                    age of                                             sl984
                                                                                                                           3

 1

 2                                 ( In open        court.        )

 3                             THE COURT:                 Are         the     People          ready            to

 4                   proceed          with      the       jury?

 5                             MS. CHAVKIN:                   The People                are          ready,

 6                   your      Honor.

 7                             THE COURT:                 Defense             ready          to      proceed?

 8                             MR. ROBERTS:                   Yes,           your      Honor.

 9                             THE COURT:                 Okay.              We'll      bring              the      jury

10                   in,     please.

11                                 (Whereupon,            the         jury      entered              the

12                   court     room. )

13                             THE COURT:                 Okay.              Please          be        seated.

14                             All     right.             Members             of     the      Jury,            good

15                   morning.            I welcome                you all            back         to     the

16                   courthouse.

17                             We are          ready         to       continue          with            the      trial

18                   at     this      point         in    time.

19                             You all          may be seated.

20                             The      People           may call             their          first

21                   witness.

22                             MS. CHAVKIN:                   Thank           you,          your        Honor.

23                   The People              call        Michael             Bayly.

24                                       MICHAEL             BAYLY,

25   the   witness        hereinbefore              named,            being         first          duly


                            Cheryl M. Moore, Senior Court Reporter
   Case
Case    23-589, Document~~ffl>txiled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page163
                                              05/13/22    of 213
                                                       Page   5 of 5\
                                                                                                                     985
                                                                                                                            4

 1   M. Bayly - Direct Examination by Ms. Chavl<ln

2    cautioned            and    sworn      or     affirmed            to     tell        the         truth,         the

 3   whole       truth,         and    nothing          but      the    truth,            was examined

 4   and      testified          as    follows:

 5
                                      CLERK OF THE COURT:                          The sworn                witness

 6                        is     Michael         Bayly,          B-A-Y-L-Y.

 7
                                      THE COURT:              Okay.           Ms. Chavkin                   you may

 8                        proceed.

 9
                                      And just          so the         attorneys                are      aware,

10                        attorneys          may approach                   the      witnesses                 freely

11                        throughout             the     trial         without            requesting

12                        permission,              okay?

13                                    MR. ROBERTS:                Thank           you,        your       Honor.

14                                    MS. CHAVKIN:                Thank           you,        your       Honor.

15                         Direct        Examination               by Ms.            Chavkin

16              Q          Can you please                  introduce              yourself             to      the

17   jury?
18              A          Captain        Michael           Bayly,          Troy         Fire         Department.

                Q          What is         your        occupation,                Captain?
19

                A          I'm    a firefighter                  and    paramedic.
20

21              Q          How long         have        you been             a paramedic?

22              A          Twenty-two             years.

                Q          What are         your        responsibilities?
23

                           Now as        a captain            we respond                 to     EMS calls               and
24              A
25   fires.          Generally           I'm      in     charge         of     the        scene         until           a


                                 Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, Document 9t~:NfJixiled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page164
                                               05/13/22   of 213
                                                        Page  6 of                                          s5i
                                                                                                             986
                                                                                                                       5

 1   M. Bayly - Direct Examination by Ms. Chavkin

 2   higher       officer              arrives.

 3            Q            And what             were       your         responsibilities                   on

 4   February         26,        2016?

 5            A            I was a paramedic                         on an engine                 company,

 6   Engine         1 in        Lansingburgh.

 7            Q            Were you on duty                        on February               26,    2015?

 8            A            I was.

 9            Q            And approximately                         1:11        p.m.      on February          26,

10   2015     did     you        get      a call          out?

11            A            We did.

12            Q            Do you          recall          to      where?

13            A            856 Fourth               Avenue.

14            Q            Is     that      in      the      City        of      Troy?

15            A            In Troy.

16            Q            County          of     Rensselaer?

17            A            Yes.

18            Q            State         of New York?

19            A            Yes.

20            Q            What was the                   nature         of      the      call?

21            A            It     was for           a cardiac                 arrest.

22            Q            Did you proceed                      to      the      address?

23            A            We did.

24            Q            Did you go alone                        or    with           anyone     else?

25            A            The first              response              was      two other          people      with


                                  Cheryl M. Moore, Senior Court Reporter
   Case
 Case    23-589, Document D-'><tiltiaftt•~iled
      1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page165
                                                05/13/22 p of 213
                          1-\.CC.l!.il~U.l.A               age 7 of                                                 55J.987
                                                                                                                                     6

 1   M. Bayly - Direct Examination by Ms. Chavkin

 2   me on the            engine        company                   and the          ambulance              that's

 3   stationed            at    the     Lansingburgh                        Firehouse              as     well.

 4            Q            Do you        recall               approximately                    how long             it     took

 5   you to        get      there?

 6            A            Probably           two minutes.

 7            Q            When you got                      to     856 Fourth               Avenue         what         did

 8   you observe?

 9            A            We went           to        the         house      and        we found           a small

10   child        in     cardiac        arrest.

11            Q            When you           say            cardiac          arrest,              what     does         that

12   mean     exactly?

13            A            She was not                  breathing                and      there          was no

14   pulse.

15            Q            And what,              if         anything,              did      you do?

16            A            We started                  to     work         her      right          away with             CPR.

17                                    MR. ROBERTS:                          Judge,          can     I --        I'm      going

18                         to   object            to         the      characterization                      of      "we".

19                         I would           just            prefer          the     witness             talk       about

20                         what       he did            specifically.

21                                    THE COURT:                      Well,         the       witness           can

22                         testify           as        to     what         he did           specifically                 or

23                         what       he personally                        observed,               so    I'm       going        to

24                         overrule           the            objection              at      this        point       in

25                         time,       but        I will              ask     the        witness           to make


                                   Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, Document 9t~:NfJlxiled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page166
                                               05/13/22       8 of 55J.988
                                                          of 213
                                                        Page

                                                                                                                               7

 1   M. Bayly - Direct Examination by Ms. Chavkin

 2                          sure      he testifies                    regarding                what      he

 3                          personally             did      or        what      he personally

 4                          observed          happening.

 5             Q            So what          did     you do at                that         time?

 6             A            I proceeded              to     the               to      the        head      of     the

 7   child.           I was running                  the    call.              I was --                being      the

 8   person        in   charge          at     the        time,          I was,           you know,              running

 9   the      overall         scene.

10             Q            Do you recall                  where         the       child          was when you

11   entered          the     apartment?

12             A            I do.        She was on a couch                               that      was right             in

13   the      front     room,          I believe,                to     the        left          as we walked

14   through          the     door.

15             Q            How was          she     positioned,                   do you              recall?

16             A            She was laying                  flat         on her            back         with      her

17   head      towards         --      facing         in    towards                the         house,       more        like

18   towards          the     kitchen          area.

19             Q            And did          you see         any adult                    in     the      house?

20             A            I did.           I remember                --      recall            seeing          some

21   people        as we walked                through             the        door.

22             Q            And did          you come to                 know the                name of          the

23   child?

24             A            Yes.

25             Q            What was her               name?


                                   Cheryl M. Moore, Senior Court Reporter
   Case
Case    23-589, Document~~ffl>txiled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page167
                                              05/13/22    of 213
                                                       Page   9 of 5\
                                                                                                                             989
                                                                                                                                    8

1    M. Bayly - Direct Examination by Ms.Chavkin

2              A           v► D I            ~


3              Q           Are         you       certified                 in CPR?

4              A               I am.

               Q               How long            have         you been               certified             in CPR?
 5

               A               Since       my initial                 EMT certification.                              It's
 6

 7   almost            24 years.

 8             Q               And have            you performed                       CPR on a child

 9   previously?

10             A               I have.

11             Q               ~pproximately                    how many times?

12             A               Probably            ten         or more.

                   Q           Can you please                       describe             how CPR is                properly
13

14   performed             on a two                year        old        child?

15                 A           For        a two year                old     it     is     a one           handed          CPR

16   technique.                     You usually                --     you put             your        hand        in between

17   the      --       right         in    the      center            --        center         of     the        breast       bone

18   and      then        you press                down.

                               Is    there         any         breathing                involved            in     that      too
19                 Q

20   or

                               There         is,     yes.            We breathe                 for       them       with       a
21                 A

22   bag      valve        mask.

                   Q           And where,                 if    anywhere,                did        you     take      the
23

24   child?

25                 A           After         we treated                   her     at     the        scene         we took


                                       Cheryl M. Moore, Senior Court Reporter
CaseCase 23-589, Document
     1:17-cv-01290-DJS    77, 01/17/2024, 3604437,
                       DA_ffJtNiflXled             Page168
                                              05/13/22     of 213
                                                        Page  10 of 51
                                                                                                                            990
                                                                                                                                     9

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   her      to       St.      Mary's             Hospital.

 3               Q             Captz¢r&,             during               the        time      that      you were
                                           ,/II

 4   working            on V.,                     did        she     ever            regain          a pulse       or did

 5   she      ever           start          breathing?

 6               A             She did              not.

 7                 Q           And what,                 if     anything,                   did   you do en route

 8   to    the         hospital?

 9                 A           We just              continued                   --     I just         continued         a

10   normal            ACLS, Advanced                         Cardiac                Life      Support,           running      off

11   a protocol                    set      of      standards               that            we use.          We don't         call

12   a doctor                for         everything                 for     a call             like      that.        We

13   pretty            much just                   run     a standard                   algorithm            of    CPR and

14   drugs.

15                 Q           And which                 --     which            hospital              did   you take          her

16   to?

17                 A            St.        Mary's             in Troy.
                                                  MS. CHAVKIN:                       I have       no further
18

19                              questions                on direct,                    your       Hpnor.

20                                                THE COURT:                Mr.         Roberts?

                                                  MR. ROBERTS:                       Yes,      your      Honor,       thank
21

22                              you.

23                                   Cross          Examination                      by Mr.       Roberts

24                 Q            Good morning.

25                 A            Good morning.


                                          Cheryl M. Moore, Senior Court Reporter
   Case
Case    23-589, DocumentDJlcppJtNiJIXled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page169
                                              05/13/22    of 213
                                                       Page   11 of                                              51991
                                                                                                                             10

 1   M. Bayly - Cross Examination by Mr. Roberts

 2             Q         Is      it     Captain             Bayly?

 3             A         That's              correct.

 4             Q         Okay.               Captain,            you have         been        with         the        Troy

 5   Fire      for     the      entirety              of    your        career?

 6             A         No.          I have            been      a paramedic                longer         than

 7   I've      been      with         the      fire        department.                I've      been         with         the

 8   fire      department              for       15 years.

 9             Q         And so you have                         been     a paramedic                for         22

10   years,          fireman          for,       I'm       sorry,        15?

11             A         Correct.

12             Q         And how long                      have     you been            a captain?

13             A         November               will        be three           years.

14             Q         Now, you testified                          that       on February                 26,

15   2015,      you responded                    to     a report            of a child            in       cardiac

16   arrest,          correct?

17             A         Correct.

18             Q         Who did              you respond               with?

19             A         Other          members             of    the     crew        that      I was on?

20             Q         Yes,         please.

21             A         Frank          Shoemaker                was there,             and     I believe

22   firefighter              Danny Riley.

23             Q         There          was only
24             A         That's              who I responded                   with      with        the         engine

25   I was on,           correct.


                                 Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                 DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page170
                                              05/13/22        12 of 51
                                                          of 213
                                                        Page
                                                                                                              992
                                                                                                                   11

 1   M. Bayly - Cross Examination by Mr. Roberts

 2             Q          Did another                  engine          respond?

 3             A         Another             ambulance               responded           and another

 4   the      rescue          squad      out      of     the        downtown          station         also

 5   responded.

 6             Q          So all         total          how many people                     responded        to

 7   the      apartment          to      assist          the        toddler?

 8             A         Nine         plus       the     Battalion              Chief.

 9             Q         And

10             A          I'm     sorry,          nine          including             the    Battalion

11   Chief.

12             Q         Who's          the      Battalion              Chief?

13             A         Ed Cummings                   was the          chief      at       the   time.

14             Q         And when you arrived                             --    how would          you

15   describe          the      weather           on that             day?

16             A          I don't            recall.

17             Q          It     was      February,                 correct?

18             A          I     know it          was the             winter       but       I don't

19   remember          what       kind        of day           it     was.

20             Q         To your             recollection                 it    was winter            but    you

21   don't      necessary              recall          whether           it     was     super     cold       or

22   warm?

23             A         Correct.

24             Q         Okay.           When you responded                           how were        you

25   greeted       at     the         apartment?


                                 Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page171
                                              05/13/22    of 213
                                                        Page  13 of 5!
                                                                                                                      993
                                                                                                                                 12

 1   M. Bayly - Cross Examination by Mr. Roberts

 2             A             Just     an open          door.            We just           --      I went         right

 3   in,      you    know.            We just          go right           in.

 4             Q         What do you mean there                                 was an open               door?

 5             A         The door             of the           apartment              was open.                 I think

 6   there      was somebody                  standing           there          to      let      us in,         but      I

 7   don't         remember           who it        was.

 8             Q         Do you have                 any       idea      how long               the      door     was

 9   open?

10             A         No.

11             Q         And the             apartment,               itself,           could           you

12   describe          the      layout         of      the     apartment?

13             A         I only            recall        seeing          the         front        room.          When

14   we're      called          for        something           like       that          I don't

15   necessarily               look        around       all      that        much.             I remember             the

16   couch.          I remember              the       child         being       on the            couch,        but         I

17   didn't         recall          looking         past       that       at     all.

18                                    MR. ROBERTS:                    May I have                this      marked?

19                                        (Photograph           was marked                    Defendant's

20                       Exhibit             A for       identification.)

21                                    MR. ROBERTS:                    Sorry,          Judge,            I wanted             to

22                       ask         to    approach            the      witness.

23                                    THE COURT:                If      you ask,               that's         okay,

24                       but         I'm     telling           you you don't                    have      to     ask.

25                                    MR. ROBERTS:                    Certainly.


                                    Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, DocumentD<lCWififi~led
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page172 of 213
                         ftr  r ..l!Jl~.l.JlA 05/13/22  Page 14 of 51994

                                                                                                                            13

 1   M. Bayly - Cross Examination by Mr. Roberts

 2             Q             Captain,             I will           show you what's                  been         marked

 3   as     Defendant's               Exhibit            A.        I will         ask      you to         take      a

 4   look      at     that         photo.

 5             A             Okay.

 6             Q             Captain,             you would              agree          with     me that's           a

 7   photo       of    the         front      room that                  you entered              on the         date      in

 8   question,           correct?

 9             A             Yes.

10             Q             And to         the     -- that              depicts          what      you

11   encountered                  from     the     front           door,      correct?

12             A             Correct.

13             Q         And you would                        agree        with         me that         fairly       and

14   accurately              depicts          what         you saw on February                          26,      2015,

15   correct?

16             A             Yes.

17             Q             It    doesn't          --        it    is     a fair         representation,

18   it     hasn't       been         changed            or altered                in     any way,

19   correct?

20             A             To my knowledge,                       no.

21             Q             Okay.

22                                       MR. ROBERTS:                     Your      Honor,         at     this      time,

23                           I would         move Defendant's                           A into      evidence.

24                                       MS. CHAVKIN:                     No objection,                 your

25                           Honor.


                                    Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS              DJlcppJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page173
                                              05/13/22    of 213
                                                       Page   15 of                                        51995
                                                                                                                        14

 1   M. Bayly - Cross Examination by Mr. Roberts

 2                                  THE COURT:                Defendant's               A is

 3                       received.
 4                                  (Defendant's               Exhibit            A, having              been

 5                       previously                marked      for      identification,                        was

 6                       received             into     evidence.)

 7            Q          So,      Captain,            what     we're          looking         at        here     is    a

 8   photo      of the         apartment.               On the         left         side     is     the

 9   window.           The door            would      be just          before         the        window,

10   correct?

11            A          I believe             so.

12            Q          Which         allowed         you to         come into              the        edge     of

13   the     table      and     then        this      is     the      black         futon        that      you

14   were     talking          about?

15            A          Yes.

16            Q          All      right.             And this         is      where        you

17   performed          --     well,        you discovered                  the      child         on February

18   26,     2015,      correct?

19            A          Yes.          Yes.
20            Q          And you           indicated           that        when you discovered

21   her,     her      head     was        facing       away       from       the     door         towards            the

22   kitchen,          correct?

23            A          Yeah.          I believe            she      was       further            up on the

24   couch      than      what      you see           in     the      picture         there.

25            Q          Okay.


                                Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                       DJlcppJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page174
                                              05/13/22    of 213
                                                       Page   16 of                                                       51996
                                                                                                                                        15

 1   M. Bayly - Cross Examination by Mr. Roberts

 2                                           MR. ROBERTS:                   Can I have                 a moment,

 3                              Judge?

 4                                           THE COURT:                 Sure.

 5                                           (Whereupon,                a brief           moment            was taken.)

 6                                           ( In    open        court.)

 7                 Q            Could         you describe                 the        make up of                 the         couch,

 8   what          it    felt         like?

 9                 A            I mean,             I realized             it     was,         you know,                 a

10   futon.              I didn't                really      look         at     much other                 than         her,

11   but      it        was      like        a leather             --      leather             couch.

12                 Q            And did             you have            an opportunity                      to    observe

13   the      firmness                of the          couch?

14                 A            It        was firmer             than      most         couches.

15                 Q            Okay.             And while             performing               CPR is            it

16   recommended                     to    perform          CPR on a couch?

17                 A            Usually             no.      For        an adult              you would                 normally

18   move the             person             to     the     --     lo      the        floor       for       a harder

19   surface             to     work         on but         because             the      couch          was relatively

20   stable             we kept            the      child        on the          couch.               For        a child           it

21   is    not          necessary              to     do that.
22                 Q            So it         is     your        testimony              that          you performed

23   CPR on this                     futon         or couch         as you put                  it,      correct?

24                 A            We did.

25                 Q            All        right.           You would             agree          with        me it            is


                                          Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, DocumentD<lCWififi~led
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page175 of 213
                                              05/13/22
                         ftr  r .l!Jl~.l.JlA            Page 17 of 51997

                                                                                                                                          16

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   ideal       to        perform            CPR on a hard                        surface,                correct?

 3               A           Yes.

 4               Q           Okay.            And would                  you agree                   with         me the

 5   reason          for      doing           that         is     that        it      is        important               to      have

 6   the     pressure              of CPR --                   withdrawn.

 7                           You would                agree            with        me the                 importance            of

 8   having          on a hard                surface             is     to        ensure             that        the

 9   mechanisms               that        CPR are               intended              to        function             on are

10   actually              effective,                correct?

11               A           I'm        not     sure            I understood                     what           you said.

12               Q           Okay.            It      is        important                 to     do CPR on a hard

13   surface          so it          works,               correct?

14               A           You want                something                that         isn't             bouncy.

15               Q           Okay.

16               A           As long            as        it     isn't         bouncy                it      is    okay.

17               Q           Okay.            And would                  you agree                   with         me if

18   something              is     bouncy            it        can     lead          to        unintended

19   consequences                  of     the        CPR, correct?

20               A           No.

21               Q           Okay.            You would                  agree            with            me that         the

22   purpose          of      having           a firm             surface             is        to        not     incur         injury

23   to    the       subject,             correct?

24               A           No.         It     speaks               only      to         the        effectiveness                   of

25   CPR.


                                     Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                    DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page176
                                              05/13/22        18 of 51
                                                          of 213
                                                        Page
                                                                                                                                  998
                                                                                                                                          17

 1   M. Bayly - Cross Examination by Mr. Roberts

 2             Q              You would                agree         with        me that            if    you are

 3   applying            pressure               on the          chest        cavity            of        an individual

 4   on a softer                   surface          you don't               know how the                      pressure               is

 5   being         exerted            back       from          the     --    the        give        of        the        subject

 6   of what         --         you're          less       --        bad question.                       I'm    going              to

 7   strike         that           question.

 8                            You would                agree         with        me because               --        it       is

 9   designed            --        CPR is        designed              to    be used            against                  a hard

10   surface         because              the       procedure               of     CPR is           designed                  to

11   compress            the        heart,          correct?

12             A              It     compresses                 the     chest        cavity.

13             Q              Okay.          And it             is     important           not           to     have          a

14   bounce         back           because          then         you are           going        to        have           a

15   compression                   on the        back          of the        subject,               correct?

16             A              That's         not        my understanding.                            It        speaks

17   solely         to     the        effectiveness                    of CPR.             You want                  a firm

18   surface         so the            CPR is            effective.

19             Q              Okay.          So you would                   agree         with           me it           is        less

20   effective             if       you're          not        on a firm            surface?

21             A              The CPR is                less         effective.                The results

22   you're         trying           to      gain         from        CPR are           less        effective.

23             Q              Have you been                     trained,           in     any        respect,                 with

24   respect         to       the      effects             of performing                   CPR on a softer

25   surface?              The effects                   on the          body?


                                     Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS              DJlcppJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page177
                                              05/13/22    of 213
                                                       Page   19 of                                            51999
                                                                                                                           18

 1   M. Bayly - Cross Examination by Mr. Roberts

 2             A          No.       Only       to    the      effect           that        the     CPR is           less

 3   effective            if     you're      not     on a firm               surface.

 4             Q          Okay.           So under          ideal         circumstances                  you're

 5   to    have     a firm          surface,         correct?

 6             A          Correct.

 7             Q          And you would               agree         with          me that          a floor           is

 8   a very        firm        surface,        correct?

 9             A          Correct.

10             Q          And a couch               or a futon               is     designed            to     be sat

11   upon      so it       is     comfortable              and      accommodating                   when you

12   sit      on it,       correct?

13             A          Correct.

14             Q          All      right.           For     instance,               when you're                buying

15   a couch        you're         not      looking          for       one        that     feels        like         a

16   floor,        correct?

17             A          Correct.

18                                  MR. ROBERTS:                    I will          just         take        this

19                        back      before          I steal         it.

20             Q          Since       you were             initially              trained          on CPR how

21   many advances                have      moved         forward         in       the     practice             of

22   CPR?

23             A          Quite       a few.

24             Q           For     instance,          how were               you initially                    trained

25   on how to            perform         CPR on a toddler?


                                 Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS              DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page178
                                              05/13/22    of 213
                                                        Page  20 of                                   ~OOO
                                                                                                               19

 1   M. Bayly - Cross Examination by Mr. Roberts

 2            A          My initial          training?

 3              Q        Yes.

 4            A           I couldn't         tell         you.

 5              Q        When was your              last         training?

 6            A          Within       the    last         -- we're           trained        every       two

 7   years,         so it       was within          the     last      two years.

 8            Q          Do you remember                  the      specific         date     you were

 9   retrained?

10            A          I do not.

11            Q          Where      was that          training?

12            A          At the       fire     department.

13            Q          Who instructed               it?

14            A          Our CPR EMS Battalion                        Chief        or our      EMS

15   Captain.

16            Q          Do you       know how often                  he is        --    he is

17   re-certified               or how he gets              up-to-date             on the        latest

18   techniques?

19            A          I know he's           an American                 Heart        Association

20   CPR instructor.                 I don't         know what             he receives            as

21   updates.

22            Q          So your       training             is     only      as good        effectively

23   as his         training,       correct?

24            A          Correct.

25            Q          And did       you ever             have      --     did    you ever           check


                                Cheryl M. Moore, Senior Court Reporter
CaseCase 23-589, Document
     1:17-cv-01290-DJS    77, 01/17/2024, 3604437,
                       DA_ffJtNiflXled             Page179
                                              05/13/22        213of 5!00l
                                                           of 21
                                                        Page

                                                                                                                                20

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   to     see       if     your         training             was in        accordance           with         the

 3   known standards                       for         CPR or        did     you rely          on your

 4   instructor?
                  A           When we have                    a --     when we re-certify                       our        CPR
 5

 6   certification                   it        comes      with         all    the      American          Heart

 7   Association                handouts                and     a Power         Point,          so we're             not

 8   just         relying           on what             we're        being      told.          We're          also

 9   seeing           a lecture.

10                Q           Okay.             And when you had                     that      last      lecture            do

11   you know what                   date         the     materials             you were              being

12   lectured               on were            based       on?         Was it        2012?            2014?          2015?

13   Did you               check?

14                A           I did            not.
                  Q           Okay.             So you would                 agree      with      me today             that
15

16   you would               have         to     rely      upon        the     individual              who last

17   gave         you your            trainings                to     determine             whether       or     not       it

18   was in           the      acceptable                 standards            for      CPR,      correct?

                  A           Going            there      for        an update           every         two years            I
19

20   just         assume           that         we're         receiving         the         current       update.

21                Q           Okay.

22                A           If     that's             what        you're      asking         me.

                  Q           Right.              So you assume                 you're         getting           the
23
24   current               update,             there      is     no need         for        you to       check         into

25    it,     correct?

                                      Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, DocumentD_A<ppftNtfrX1ed
     1:17-cv-01290-DJS  77, 01/17/2024, 3604437, Page180
                                             05/13/22    of 213
                                                       Page  22 of                                                              51002
                                                                                                                                        21

 1   M. Bayly - Cross Examination by Mr. Roberts

 2             A            Correct.

 3             Q            All        right.             Now, Captain,                            when you arrived

 4   you    said       you were                  also      kind        of      the            supervisory                      guy at

 5   the    time,           right?               Were you             the      ranking                   fire           responder

 6   when you got                 to       the      apartment?

 7             A            When we first                      got         there          actually                  Captain

 8   Shoemaker           outranks                 me,      but        I have             more            paramedic

 9   experience              so I                 I was running                         the        call.

10             Q            Okay.            When you             say         "running                   the        call",           what

11   does      that      mean?

12             A            For        every        cardiac                arrest             we pretty                  much do

13   things.           We do the                  same thing.                      It         is    called               running

14   the    code.            Somebody               runs        the        code.               Somebody                  is     in

15   charge.           It      is      calling             out       what          is         going           to        be done,

16   what      medications                  are         going         to     be given.                        That        way --

17   because          there's              a lot         of     people             there,                you       know,         that

18   way there           aren't             eight          people            --

19             Q            -- trying               to        do the          same            thing.

20             A            Yes

21             Q            Okay.            And this             was

22             A            Orchestrating.                        One person                        is     kind           of

23   orchestrating                   the     whole            thing.

24             Q            You would               agree         with            me this                is        in     a

25   relatively              small          room that                you're              working                in,       correct,


                                    Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                    DJlcppJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page181
                                              05/13/22    of 213
                                                       Page   23 of                                              5!00J
                                                                                                                                  22

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   on February                26,       2015?

 3                A           I wouldn't            say               it    didn't            seem that              small.

 4   I've     been        in     smaller            rooms.

 5                Q       Okay.             It     got        small        with        nine         people       in

 6   there         quickly,           correct?

 7                A       Not necessarily.                            I mean,           we --         there          is,

 8   you know,            some guys               that        come that              are      --      are     just          kind

 9   of     helping           out     behind            the     scenes           and       there       was myself

10   and     I know Danny Riley                          was doing               part        of the          treatment

11   and,     you        know,        there        was three                or     four       people          around

12   her     at       most.

13                Q       All         right.            And how big                 would           you --       are        you

14   familiar           with         dimensions,                feet?

15                A       Yes.

16                Q       How large                would        you estimate                   the      room was?

17                A           Fifteen          by fifteen.

18                Q       Okay.             So you would                   agree        with         me that          maybe

19   from     myself            to    the        wall     is        about         15 feet,            correct?

20                A       Okay.

21                Q       Would           you agree             with        me?         Is     it     more       or

22   less?

23             A              I guess          you're          in     the        ballpark.

24             Q          Okay.             So,     15 by 15.                    So from           me to       the         wall

25   and     then       kind         of    squared            off     we're          talking           about          for     a


                                     Cheryl M. Moore, Senior Court Reporter
CaseCase 23-589, Document
     1:17-cv-01290-DJS    77, 01/17/2024, 3604437,
                       DA_ffJtNiflXled             Page182
                                              05/13/22     of 24
                                                        Page  213of                                                         52004
                                                                                                                                        23

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   room.             Then        there          is      some furniture,                         a bed,         a futon,               a

 3   table,            correct?

 4               A               Correct.

 5               Q               All     right.
 6               A               Looking           at      the      picture               I saw more                 than        what

 7   I really                recall          from         seeing             that        day because                 we're

 8   going          in,       we have             a child               in    cardiac               arrest,           I go right

 9   to    the         head,           I start            telling             people             what      we're        going           to

10   do,      and          I'm     not       really             looking             at     dimensions                 or wall

11   color          or anything                    like         that.

12                 Q             Absolutely.                     You were                there        to      lend

13   assistance                   and      save         a life,              correct?

14                 A             Correct.

15                 Q             All     right.                 So everything                    is     very         fast        paced

16   and      it        is       important               and      immediate,                   correct?

17                 A             Correct.

18                 Q             So when            you first                 responded                were      --     was it

19   your          first          directive               to      have         one        of     your         associates

     start             CPR or          did        you,      yourself,                    initiate             CPR?
20
                   A             Somebody               else       started               CPR.
21

22                 Q             Who started                    CPR?

                                  I don't              recall       who it               was.          Possibly             it
23                 A

     would             be on the             --        on the           --     on the            PCR.
24
                                             MR. ROBERTS:                       May I have                    a moment,            your
25

                                         Cheryl M. Moore, Senior Court Reporter
       Case
    Case 1:17-cv-01290-DJS                 DJlcppJtNiJIXled
            23-589, Document 77, 01/17/2024, 3604437, Page183
                                                  05/13/22    of 213
                                                           Page   25 of                                           5!00S
                                                                                                                               24

     1   M. Bayly - Cross Examination by Mr. Roberts

     2                        Honor?

     3                                     THE COURT:                  Yes.

     4                                     (Whereupon,                 a brief             moment     was taken.)

     5                                     (In     open         court.)

     6                                     (PCR was marked                      Defendant's                Exhibit       B

     7                        for     identification.)

     8             Q          What's         a PCR?

     9             A          Pre-Hospital                    Care      Report.

    10             Q          If     I were         to        show you the                  Pre-Hospital              Care

    11   Report        would        that         refresh          your         recollection,

    12   potentially,               relative             to     who did             what?

    13             A          It     would.

    14                                     MR. ROBERTS:                   May I?

    15             Q          I will         show          you what's                been        marked      as

    16   Defendant's               Exhibit          B.        After           you     review        that      document

    17   please        let      me know if               that        refreshes              your     recollection

    18   in     any    way.

    19                        All     set?

    20             A          Yes.

    21             Q          I will         just          take        that         back     from     you.           Thank

    22   you.         After        looking          at     Defendant's                 Exhibit         B, does          that

    23   refresh         your       recollection                  in     any        way?

    24             A          It     says        CPR by other.                       So when --             on that

I   25   particular             program           you      list        some of             the     caregivers           that


                                     Cheryl-M. Moore, Senior Court Reporter
  Case
Case    23-589, DocumentD_A<ppftNtfrX1ed
     1:17-cv-01290-DJS  77, 01/17/2024, 3604437, Page184
                                             05/13/22    of 213
                                                       Page  26 of                                         51006
                                                                                                                     25

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   were         there       and      everybody              else     that       was there.             CPR was

 3   done.            It     is    listed         as    an other.

 4                Q           Okay.         So when you arrived                       you arrived

 5   specifically                  with      whom?

 6                A           Frank       Shoemaker             and     Danny Riley.

 7                Q           Frank       Shoemaker             and     Danny Riley.               Did you

 8   observe                  when you gave                   the     direction           to   start      CPR was

 9   there         anyone          else      in       the     room?

10                A           Yes.

11                Q          Who else             was in        the     room?

12                A           Frank       and      Dan.         Jim     Tysner           (phonetic)        would

13   have     been           there.          He was a lieutenant                         on the        ambulance.

14                Q           So of those               people        who started              CPR?

15                A           I would           say     looking         at     the    PCR it       was

16   probably               Frank.

17                Q           How long            has       Frank     been       an EMS responder?

18                A          He's      been        with       the     fire      department             a year

19   more     than           me.

20                Q          Okay.          Do you           know when he was last

21   certified               for      CPR?

22                A          We're        all      on the           same      rotation         so we do it

23   all     at       the     same time.

24                Q          Was he there                   when you did             CPR, your

25   recertification?                        You have            a specific              recollection           of


                                     Cheryl M. Moore, Senior Court Reporter
   Case
 Case    23-589, DocumentD(iCfflfifi~~led
      1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page185 of 213
                                               05/13/22
                          l-\.r r ~l~.UIA                Page 27 of 5!007

                                                                                                                                 26

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   it?

 3                A               It's        usually            over     one         or two nights.                    We do

 4   shift            work.              I don't           know if            he was in             class        with        me or

 5   not.

 6                Q               Okay.            As you sit             here         today        you don't            know

 7   when he was last                              certified,            fair         to     say?         You're

 8   assuming                he was certified?

 9                A               Correct.

10                Q               How long             did       Frank        perform             CPR?

11                A               For        the     duration            of     the        call     until

12   somebody                --        you      know,        somebody           may at            some point            may

13   have         switched                out       with         him.         And I don't              think         he went

14   to     the        hospital                with        us,     so he wasn't                   doing       CPR on the

15   way to            the        hospital.

16                Q               You have             a specific               recollection                of     watching

17   Frank         do CPR?

18                A               No.

19                Q               So as you              sit      here        today         you don't            know if

20   Frank         used           one hand              or two hands                  on the         child,          correct?

21   Don't         assume.                    Do you have               a recollection?

22                A               If     he wasn't               doing        CPR right             I would          have

23   told     him

24                                            MR. ROBERTS:                    Judge,          I would          ask      --

25                A                      to     do it          differently.


                                         Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page186
                                              05/13/22    of 213
                                                        Page  28 of                                              ~OOS
                                                                                                                               27

 1   M. Bayly - Cross Examination by Mr. Roberts

 2                                    THE COURT:               He's        attempting                to     answer

 3                        your        question.

 4                                    MR. ROBERTS:                Okay.

 5             Q          Captain,           you would           agree           with           me you do not

 6   have      a specific             recollection               as     to      the        manner          in which

 7   he was doing               CPR, correct,              yes        or      no?

 8             A          No.

 9             Q          Again,           you would           agree         with         me that           it        is   a

10   very      hectic          situation          when you ran                  in       there,           correct?

11             A          It     is    a controlled              situation.

12             Q          Okay.

13             A          So I would              say    no,     that's              not        correct.

14             Q          And you would                 agree         with       me that            CPR

15   involves           the     use     of force          against             the        sternum,

16   correct?

17             A          It     involves          compression                  against            the      sternum.

18   It     doesn't           have    to    be forcible.                   It       is     a controlled

19   pressure.

20             Q          Okay.            And you would               agree             with      me when I'm

21   saying              you would            agree       with        me that              in     order          to

22   correctly           perform           CPR you must               compress              the      chest

23   cavity,          correct?

24             A          Correct.

25             Q          And to           compress       the         chest          cavity         you push


                                 Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, DocumentD<lCWififi~led
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page187 of 213
                         ftr  r ..l!Jl~.l.JlA 05/13/22  Page 29 of                                                          51009
                                                                                                                                         28

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   downward,                  correct?
 3               A              Correct.                    For    a child             you want               to     push        about

 4   one     third              of the               way of        the        diameter            of their             chest.

 5               Q              What was the                      diameter             of       the        child's         chest

 6   in     this        case?

 7               A              It        is     not        something            I would              have          measured.

 8   It     is     --      it        is        all     --

 9               Q              You kind                of eye           it     when you do it?

10               A              Absolutely.

11               Q              Okay.

12               A              It        is     all        on feel.

13               Q              Okay.                So you would                agree           with         me that            your

14   feel        is     different                     than        someone         else's              feel,          correct?

15               A              Correct.

16               Q              And because                   you        kind         of    eye       it      you      kind       of

17   gauge         based             upon            your     own experience                      the        manner         in

18   which         you perform                        CPR, correct?

19               A              Correct.

20               Q              And you would                      agree         with           me that             when

21   performing                  CPR on a toddler                             you give            approximately                    30

22   chest         compressions                        over        the        duration            of a minute                 and

23   then        utilize              the            bag,     correct?

24               A              No.             It     is    not     30.         It        is    not         30

25   compressions                     in        a minute.                 It     is        30 to        --     it     is    30 --


                                          Cheryl M. Moore, Senior Court Reporter
   Case
Case    23-589, DocumentDJlcppJtNiJIXled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page188
                                              05/13/22    of 213
                                                       Page   30 of                                                 5!0lO
                                                                                                                                 29

 1   M. Bayly - Cross Examination by Mr. Roberts

 2             Q           To a bag?

 3             A                  ratio.              Not       30 to        a bag.

 4             Q           In fact,              it     is      much more            than       that.           It's

 5   upward          of    100 to          120 compressions,                        correct?

 6             A           Correct.

 7             Q           So when we say                       100 to        120 compressions,                        that

 8   means       the       pushing             down with             your         hands     on the            chest

 9   cavity          100 to        120 times                 per     cycle,         correct?

10             A           I would             call       it       a 30 --          I would        call         it     a 30

11   to     a cycle         and     I would              call        that         100 to        120 per         minute.

12             Q           And how many minutes,                              from        the    beginning                  of

13   your      call        to     your         ultimate            arrival          at    the     hospital,                 was

14   compressions                 given         to     this        child?

15             A           She had CPR the                         whole      time.          She never                had a

16   heartbeat             so we were                 doing        CPR.

17             Q           So you performed                         CPR for          probably            --

18             A           From our              --     the        time      on the         PCR from            the

19   arrival          at    the     house             until        the      time      we got        to        the

20   hospital.

21             Q           Is     that         about           45 minutes?                How long            did      it

22   take      for        you to         get     --      how long             did     you work            on her            in

23   the      house?

24             A           I would             have       to       look      at     the     PCR for           the

25   times.


                                  Cheryl M. Moore, Senior Court Reporter
   Case
Case    23-589, DocumentDJ\.ffJtNiJIXled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page189
                                              05/13/22        31 of ~Oll
                                                          of 213
                                                        Page

                                                                                                                         30

 1   M. Bayly- Cross Examination by Mr. Roberts

 2              Q       Do you recall                getting              to     the     hospital            around

 3   1:41?

 4             A       Again,          I would           have        to     --     it    is       all     on the

 5   PCR.

 6              Q      Okay.           I will         show you what's                        been       marked          as

 7   Defendant's             Exhibit         B, which           is        the     PCR.            Would that

 8   refresh        your      recollection?

 9             A        It    would.

10                                MR. ROBERTS:                   May I?

11             A        1336,         1:36     is    when we got                  to     St.       Mary's.

12             Q        1:36.          And you got               on scene               at     1:11?

13             A       We got          there        at    1:14.

14             Q       Okay.           I will        take        that           back.          So about            20

15   minutes        you were          performing               CPR?

16             A       Correct.

17             Q       So for          20 minutes              you were             applying              pressure

18   at      what   rate?

19             A        100            100     to     120.           You know,               there         are     some

20   interruptions              for    movement.

21             Q       Movement          meaning             personnel?

22             A       And getting              her       in     and out            of       --     you     know,

23   out      of the    house         into     the       ambulance.

24             Q       And you would                 agree           with        me that           after         --

25   after      Danny Riley            was doing               compressions                   someone            else


                               Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                  DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page190
                                              05/13/22    of 213
                                                        Page  32 of ~
                                                                                                                      012
                                                                                                                             31

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   took      over,        correct?

 3             A           Somebody                took      over.             I think,          like        I said,

 4   it     was    Frank          who was doing                    CPR.

 5             Q           Frank.                 Okay.           So Frank         and        then        someone

 6   else      took        over        for        Frank.             It   may have            been         Dan

 7   Riley?

 8             A           Possibly.                      He was --            he rode         to     the

 9   hospital.

10             Q           All      right.                 And you would                 agree        with        me that

11   the     purpose            of having                 someone         take         over     performing             CPR

12   is     that      it    is     --        it      is    tiring,          correct?

13             A           Correct.

14             Q           It     is     a physical                  exertion            on the           body      such

15   that      a grown            man possibly                    has     to     let     another            grown      man

16   take      over,        correct?

17             A           At times.

18             Q           Did you personally                             perform         CPR on the

19   child?

20             A           No.

21             Q           So Danny Riley,                         how long            has     he been            on the

22   EMT responders?

23             A           He has             less         time      than       me.       I'm        not     sure      how

24   long      he's        been        on.           Somewhere            in     the     area        of     ten     years.

25             Q           All     right.                  And,      again,        do you            know when his


                                  Cheryl M. Moore, Senior Court Reporter
   Case
Case    23-589, DocumentDJlcppJtNiJIXled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page191
                                              05/13/22    of 213
                                                       Page   33 of                                                      5!0lJ
                                                                                                                                     32

 1   M. Bayly - Cross Ex_amination by Mr. Roberts

 2   last      certification                       of CPR occurred                          without             guessing?

 3              A           I don't,                   other            than    the         fact        we do it         all        at

 4   the     same time.

 5              Q           Okay.

 6              A           And I don't                      know for                sure      if       he was doing

 7   CPR.

 8              Q           All        right.                Fair          to   say         that        because         more

 9   than      one     individual                      performed                CPR you have                    no idea        if

10   that      individual                   --     what           the       force       was that                individual

11   was using,             correct?
12              A           It        is     not        something               we normally                 gauge.

13              Q           Sure.                So,     no,        you don't                know how much force

14   that      individual                   used?

15              A           No.

16              Q           Because               it     is        --      it   is     all         --    you would

17   agree      with        me that                the         manner           in     which            someone         performs

18   CPR is         sort         of        unique            to     that        individual,                correct,

19   pursuant          to        how they                gauge            the    situation?

20              A           I think               you're            asking            me more            than      I can

21   answer.

22              Q           Okay.                So,     did            you go en route                    to     the

23   hospital          with           whoever                was performing                        CPR?

24              A           I did.

25              Q           In the                      in        the     ambulance?


                                      Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, DocumentD_A<ppftNtfrX1ed
     1:17-cv-01290-DJS  77, 01/17/2024, 3604437, Page192
                                             05/13/22    of 213
                                                       Page  34 of                                                    51014
                                                                                                                                    33

 1   M. Bayly - Cross Examination by Mr. Roberts

 2              A          Correct.

 3              Q          And as             you     sit     here        today             you don't              recall

 4   who was doing                 CPR in            the      ambulance?

 5              A          I don't.

 6              Q          So is         it     fair         to     say     you don't                    recall       the

 7   manner         in     which        they         were         doing         CPR, correct?

 8              A          Correct.

 9              Q          And when --                    when you were                     in     the      ambulance

10   where       were       you situated?

11              A          I was at             the         head     of     the        stretcher.                   There

12   is     a chair         there.             I was basically                        working              her      airway

13   the     whole         time.

14              Q          When you             say         "working            the         airway"          that       is

15   that       you put          a bag         over         her     --     when             I say        a bag,        a

16   device         that        you can             squeeze         air     manually?

17              A          We use             a bag         valve        mask         first         and      then       I

18   intubated             her     with        an intratracheal                             tube     and      then         I

19   basically             stayed         at        the     head      and        worked            the       airway.

20              Q          At some point                     someone            administered                      Narcan,

21   correct?

22              A          Correct.

23              Q          Tell         the     jury         what        that         is.

24              A          It      is    a drug             used     to     reverse                the      effects            of

25   opiates.


                                   Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, DocumentDA_ffftNtiIX'ed
     1:17-cv-01290-DJS  77, 01/17/2024, 3604437, Page193
                                             05/13/22    of 213
                                                       Page  35 of                                                  51015
                                                                                                                                  34

 1   M. Bayly - Cross Examination by Mr. Roberts

 2            Q               And where's                  that        administered?

 3            A               I would            have        to    look        at     the       PCR to         --      I'm

 4   sure     it        is     on there.

 5            Q               Okay.             So fair           to     say    you don't                recall          when

 6   or where            it        was administered?

 7            A               I know it               is     in    the       document.

 8            Q               Okay.             I understand                 you      know it            is    in   the

 9   document.                 Fair        to     say,        as you testify                     right        now you

10   don't      have           a specific                  recollection?

11            A               No.

12            Q               Okay.             Would        reviewing              the        document           refresh

13   your     recollection?

14            A               It    would.

15            Q               Okay.             I will           show you once                  again         what's

16   marked        Exhibit                B.     Let        me know when your                        memory         is

17   sufficiently                   refreshed.

18                                        THE         COURT:           Mr.     Roberts,              he's      ready         to

19                            proceed.

20                                        MR. ROBERTS:                    Oh,        yes.

21            Q               Is    your         memory           sufficiently                  refreshed,

22   Captain?

23            A               It    is.          It    was in           the     --        it    was after           we

24   left.         It        was en route                   to    the     hospital.

25            Q               Okay.             When you arrived                      at       the    apartment              do


                                     Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page194
                                              05/13/22    of 213
                                                        Page  36 of ~
                                                                                                                           016
                                                                                                                                     35

 1   M. Bayly ~ Cross Examination by Mr. Roberts

 2   you     recall          the     temperature                  in        the     apartment?

 3               A          I don't.

 4               Q          And at        some point                   --     withdrawn.

 5                          How long            was CPR performed                           within                the

 6   apartment              on the        futon?

 7               A          From the            time        we got            there         until            the        time

 8   that      we left.              So we got              there             at    14 and we left                        at

 9   1331.

10               Q          Sixteen        minutes?

11               A          Sixteen        minutes,               seventeen                 minutes.

12               Q          If     my math         is       off        tell        me.          Around             sixteen

13   minutes           you worked           on her            on the               futon?

14               A          Right.

15               Q          When you encountered                              her         did        you change                her

16   body     position             on the         futon           or did            you work                 on her        as

17   she     was       found?            Did you move her                          left         or        right         or up

18   and     down?

19               A          I moved         her        up right               to     the        edge         of     the

20   couch           so I could          work         her     airway.

21               Q          Okay.

22               A          I thought            that        would            --     determined                    that        was

23   the     best       position           to     work        her           in.       Her being                   so small,

24   moving           her    to    the     floor        would               have      made           it      more

25   difficult              for    us to        do,     you know,                   our         procedures.


                                   Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, DocumentD(iCfflfifi~~led
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page195
                                              05/13/2     of 213
                                                      2 Page
                         l-\.r r ~l~.UIA                      37 of                                                   5!017
                                                                                                                                    36

 1   M. Bayly ~ Cross Examination by Mr. Roberts

 2              Q         All      right.             And while              you were                moving           her      on

 3   the      futon     are      you moving                  her     arms          and        legs        and     kind         of

 4   shifting          her      entire           body        over      to       this          location?

 5              A         We just           pulled           her      up to             the     edge.

 6              Q         Pulled         her        up.        All        right.               When you moved

 7   her      from     the      apartment              to     the      ambulance,                    how did            you

 8   transport          her?

 9              A         We carried                her      out      on a --                 we put        her       on a,

10   like,       a pediatric              backboard                 we call             it,      just       for         ease

11   of movement,               just        to make           it     easier             to move her.

12              Q         Explain           to      the      jury         how you secure                        her     to

13   that      backboard.

14              A         Put     the       backboard               on the              couch,           rolled         her

15   over      and     just      rolled             her      onto      it.          It        has        a bunch         of

16   straps         and we just              strapped               her      on it            and then            two guys

17   carry       her    out.

18              Q         When you say                    rolled          her      over,            is    that        so you

19   can      slide     the      backboard                underneath                her?

20              A         Right.            So we can                slide         it         underneath,               roll

21   her      back     and      put      the        straps          on there.

22              Q        And then              --     do you recall                      who moved                her       from

23   the      apartment          to      the        ambulance?

24              A         I don't.

25              Q        Were          you giving              those         directions?


                                Cheryl M. Moore, Senior Court Reporter
   Case
Case    23-589, DocumentDJ\.ffJtNiJIXled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page196
                                              05/13/22        38 of ~OlS
                                                          of 213
                                                        Page

                                                                                                                                        37

 1   M. Bayly - Cross Examination by Mr. Roberts

 2               A           I was.          At that               point          there          was a Battalion

 3   Chief       there         but,         you know,               we don't               need      to        direct

 4   every       action          of    every             person            on the          scene.              You know,

 5   I'm      sure      there         are         two guys            that         realized              we needed                 to

 6   move her           outside            and they                don't         need       to     be told              to     move

 7   her      outside.

 8               Q        Who made the                        determination                  to     --     how long

 9   you were           going         to     try         to     work        on her          in     the         apartment?

10               A        We normally                    just         --     enough          time         to     get         her

11   intubated,               get     an     IV I        give       her      her      first          round         of

12   drugs.           Generally              any cardiac                    arrest,           from        an infant                 up

13   to    the       oldest         adult,           your          best      chance           in     pre-hospital

14   cardiac          arrest          is     right            there         on the          scene         so we

15   usually          stay       there,            you        know,         in     the      ten      to        fifteen

16   minute          range       to    accomplish                   what         we want           to     accomplish.

17               Q        Okay.             And when you                     say      what         you normally

18   do,     do you have               a specific                   recollection                   as to          who made

19   the     determination                   it      was time               to     go?

20               A        Probably                me.

21               Q        Now, there                 was other                   efforts           that        were

22   undertaken               by your             unit        to    resuscitate                   her     in      the

23   apartment,               correct?

24               A        What do you mean?

25               Q        Did you utilize                          paddles?


                                    Cheryl M. Moore, Senior Court Reporter
CaseCase 23-589, Document
     1:17-cv-01290-DJS    77, 01/17/2024, 3604437,
                       DA_ffJtNiflXled             Page197
                                              05/13/22     of 39
                                                        Page  213of                                                           52019
                                                                                                                                          38

 1   M. Bayly - Cross Examination by Mr.Roberts

 2                A           That         we --             no.          In the            ambulance             they         have

 3   paddles               or pads,          but         yeah.

 4                Q           What type                 of mechanical                        electrical                tests          did

 5   you use               on the          child         in         the        apartment?

 6                A           The whole                 time             the        EKG monitor              was hooked                up

 7   to     her        so that's              how we treat                           whatever         rhythm             she        may

 8   be in.

 9                Q           Can you explain                             to        me what        an EKG is                  and

10   when and how it                        was utilized                         in    this        case?

11                A           When we went                         inside             I was at         the        head.             We

     pulled            her     up to          the        head.                 CPR was          started.                 The very
12
     next         thing        that         happens                 is     the        EKG monitor                was hooked
13

14   on her.

15                Q           Why?

                  A           We need              to        know what                 rhythm         she        is     in     in
16
17   order            to    establish               how we're                       going     to    treat             her.

18                Q           What do you mean what                                     rhythm         she        is         in?

19   What are                you    looking                  for?

20                A            Heart         activity.

21                Q            Okay.           And after                       utilizing            the      EKG in            this

22   specific                case     --      is        it      a hand               held     device?                 Comes in            a

23          is        it     something              you need                   to     plug      in?          Does it               come

24   in     a case?

25                A            It     is     a --            comes             in     a case.             It's         its         own --


                                      Cheryl M. Moore, Senior Court Reporter
   Case
Case    23-589, DocumentDJlcppJtNiJIXled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page198
                                              05/13/22        40 of 5!0iO
                                                          of 213
                                                       Page

                                                                                                                               39

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   its     own

 3             Q             Self-contained                  unit.

 4             A             --     self-contained                   unit.

 5             Q             Did there             come a time                  that      you utilized                  this

 6   unit?

 7             A             Correct.

 8             Q             And what,             if      anything,             did      you learn              because

 9   of     using       this        medical             device?            What did                you find?

10             A             We found             she      was in       asystole,                  which        is

11   basically           she        had     no heart              activity.                   It    was a flat

12   line     rhythm.

13             Q             Throughout             the      --      the        process            of CPR, were

14   you able           to        obtain       a rhythm             again?

15             A             At one        point           during       the           code,        I believe            it

16   was on the              way to         the         hospital,               she     did        go into           what      we

17   would       call        a shockable                 rhythm,            something               that        you

18   can            something              that         you can        shock.

19             Q             What's        that?            What do you mean a shockable

20   rhythm?            How is          that        --     how --          withdrawn.

21                           When you say                  shockable              rhythm,               what    does

22   that     mean?
23             A             There's           Lwo rhythms                 in     the     heart            you can

24   shock.          The same way --                       it's       the        same way an automatic

25   defibrillator                  works         that's          probably              out        in     the    hallway.


                                    Cheryl M. Moore, Senior Court Reporter
   Case
Case    23-589, DocumentDJlcppJtNiJIXled
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page199
                                              05/13/22    of 213
                                                       Page   41 of                                                    5!0il
                                                                                                                                    40

 1   M. Bayly - Cross Examination by Mr. Roberts

 2   It     reads         either           v tach,          which          is     ventricular

 3   tachycardia                 or ventricular                      fibrillation.                        Those        are        the

 4   only         two rhythms                that        are     what       we call                shockable

 5   rhythms,             something              the       electricity                 might            have       a chance

 6   of     reversing                the     cardiac           arrest           and getting                     a normal

 7   beat         back     in        the     heart.

 8                Q            At what           point         did     you find                  that     rhythm           to

 9   occur?

10                A            On the        way to            the     hospital                  I believe             she

11   went         into     v tach            briefly           and then            into            v fib         and       then

12   we shocked                her.

13                Q            Okay.         And when you say                          you shocked                  her,

14   what         does     that        mean?             Explain           the     process                to     the       jury.

15                A            Deliver           an electrical                   current                based       on her

16   weight.              We set           the      machine           to    that            --     to     that      amount

17   of energy             and        then       you deliver                the         shock.

18                Q            And who specifically                             performed                this

19   function?

20                A            I don't           recall.

21                Q            But     you recall                watching              it        occur,          correct?

22                A            Correct.

23                Q            Now, you would                    agree          with        me when you first

24   arrived             and     found        the        child        on the            futon           she      was warm

25   to     the       touch,          correct?


                                      Cheryl M. Moore, Senior Court Reporter
  Case
Case    23-589, DocumentD<lCWififi~led
     1:17-cv-01290-DJS   77, 01/17/2024, 3604437, Page200 of 213
                         ftr  r ..l!Jl~.l.JlA 05/13/22  Page 42 of 51022
                                                                                                                           41

 1   M. Bayly - Cross Examination by Mr. Roberts

 2                 A            Yeah.           I believe                she     was warm to           the        touch.

 3                 Q            And what          part            of     her     body     were      you

 4   touching?

 5                 A            Mostly          her    upper             body.

 6                 Q            Okay.           Did you have                    an opportunity              to     touch

 7   her      arms?

 8                 A            Well,         when I pulled                     her    up and       her      --    I

 9   think          it        was more          her      --        her        core     that   was a little

10   warmer,              her      upper        body.              Like        I said,        I was working

11   mostly              at    her      head.

12                 Q            Okay.           Did you have                    an opportunity               to    touch

13   her      arms,             legs,      when you moved                       her?

14                 A            I'm      sure      I did.                You --        you know,           we pulled

15   her      up.

16                 Q            Okay.           Fair         to    say         you didn't          make any

17   notations                 that      she      was cold                to    the     touch,       correct?

18                 A            No,      unless         it        is     in     the    PCR.

19                 Q            Okay.           So your            recollection               is    when you

20   first          found          her     within            minutes            of arrival           she        was warm

21   to      the         touch?

22                 A            I would          have         to       look      to    see    what        I --     I'm

23   sure          I noted            something              there.

24                 Q            Do you recall                     giving         a deposition              to     a Troy

25   police            officer           in     this         matter?


                                        Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS             DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page201
                                              05/13/22    of 213
                                                        Page  43 of ~
                                                                                                            023
                                                                                                                   42

 1   M. Bayly - Cross Examination by Mr. Roberts

 2           A         I do.

 3           Q         If     you reviewed                that      would          that      refresh        your

 4   recollection?

 5           A         Yes.

 6                                 MR. ROBERTS:                   Judge,          could      I utilize

 7                     the        copy   machine?                 I have          a note      on it.          I

 8                     apologize.

 9                                 THE COURT:                Yes.

10                                  (Whereupon,              a brief          moment was taken.)

11                                  ( In open           court.)

12                                 (M. Bayly's               Deposition              was marked

13                     Defendant's                 Exhibit         C for          identification.)

14           Q         Captain,          I will            show you what's                   been      marked

15   as   Defendant's             Exhibit          C.       I will         direct         your       attention

16   to   about      the     eighth         line        down.        If      you could             read    that

17   sentence.

18           A         She was warm to                    the      touch.

19           Q         Okay.

20           A         When you're                 asking         me what          part      of     her    body

21   was warm to            the    touch,          I couldn't              tell       you.

22           Q         Okay.           You --           when you encountered                        the    child

23   prior    to     initiating             CPR you make an overall                               visual

24   assessment,            correct?

25           A         Correct.


                              Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                DJlcppJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page202
                                              05/13/22    of 213
                                                       Page   44 of                                        52024
                                                                                                                          43

 1   M. Bayly - Cross Examination by Mr. Roberts

 2              Q          And you would                   agree        with       me that         when you

 3   first      encountered                 her,       and      through           the      duration        of the

 4   time      that        you were           encountering                the       child,         at    no point

 5   did      you observe              any visible                 injuries,            correct?

 6              A          Correct.

 7              Q          Now, Captain,                   when you responded                      do you

 8   recall         any members               of     the      public        at      the      apartment?              The

 9   occupants,             do you recall                    seeing       them?

10              A           I know there                was people                there,        but     I --     I

11   couldn't            tell      you who they                were.

12              Q          Were there                police          officers           there      when you

13   arrived?

14             A            I'm     not      sure       if     we got           there      first        or they

15   did.       Some calls                 they're           there       first,           some calls           we're

16   there      first,            so ...

17             Q           You would               agree       with      me that           while        you were

18   there      you had            discovered                an opiate            derivative,

19   prescription                 drug,       correct?

20             A            It    was discovered.

21             Q           Okay.           Was it          Hydrocodone,                 Hydrocodeine,                do

22   you recall?

23             A           I don't           recall.

24                                    MR. ROBERTS:                    One moment,               Judge.

25                                     (Whereupon,               a brief            recess         was taken.)


                                  Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS              DJlcppJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page203
                                              05/13/22    of 213
                                                       Page   45 of                                                 52025
                                                                                                                                    44

 1   M. Bayly - Redirect Examination by Ms. Chavkin

 2                                  (In         open        court.)

 3                                  MR. ROBERTS:                      I don't             have        anything

 4                       further           I don't               believe.

 5                                  Thank            you,        Captain.

 6                                  THE WITNESS:                      You're             welcome.

 7                                  THE COURT:                     Any redirect                  from         the

 8                       People?

 9                                  MS. CHAVKIN:                      Just         briefly,                your

10                       Honor.

11                       Redirect              Examination               by Ms.               Chavkin

12             Q         Captain,              I believe              you testified                        that         it    is

13   your      usual      protocol              to     put       a patient               on the            floor

14   before        you begin         CPR?

15             A         Correct.

16             Q         Why did           you --            did      you not            put         V,.           on the

17   floor?
18             A         Because           of        her     size        and       her        being         so small                I

19   had           I had     said         it     is        normally            that           standard             for        an

20   adult,        you would         immediately                     pull       them           out     of         bed        and

21   put      them     on the       floor.                 For      a child,             if     the        surface             is

22   firm      enough,       it     is         not     necessary.

23             Q         And did           you        feel        that       the      surface               was firm

24   enough?

25             A         I did.


                              Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS              DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page204
                                              05/13/22    of 213
                                                        Page  46 of ~
                                                                                                             026
                                                                                                                        45

 1   M. Bayly - Recross Examination by Mr. Roberts

 2            Q        And when you're                     giving         compressions              during

 3   CPR you're         doing         that        on the         sternum,            correct?

 4            A        Yes.

 5            Q        Not on the                 abdomen?

 6            A        On the          sternum            in     between               for      a child          it

 7   would    be between              the     nipple            line      on the        sternum.

 8            Q        Is    CPR ever              performed             on the        abdomen?

 9            A        No,     it      is    not.

10            Q        And I believe                  the        testimony           was that            there

11   was narcotics            in      the     house?

12            A        At some point                  we --            some --       one of the

13   police       officers           had     --     you know,             we had heard              in     the

14   course       of   running         the        code         or working            on the       child          that

15   there    was narcotics                  in     the        house.

16                                  MR. ROBERTS:                  Objection,             your       Honor.

17                     Withdrawn.

18            Q        Is     that         why you gave                 her   Narcan?

19            A        Correct.

20                                  MS. CHAVKIN:                   I have        no further

21                     questions,                 your     Honor.

22                                  THE COURT:                  Mr.     Roberts,         anything           else?

23                                  MR. ROBERTS:                  Yes,        your     Honor.

24                     Recross             Examination                 by Mr.      Roberts

25            Q        So you testified                        that      if   CPR is         done


                              Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                       DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page205
                                              05/13/22    of 213
                                                        Page  47 of ~
                                                                                                                          027
                                                                                                                                46

 1   M. Bayly - Recross Examination by Mr. Roberts

 2   correctly                  it     is        on the        sternum         between          the     nipples,

 3   correct,              between                the    nipples,            is    that        what     you

 4   testified                  to?

 5              A                Correct.

 6              Q               As you sit                   here     today,         you don't            have         any

 7   specific              recollection                      as to         how the        members            of your

 8   unit     were          performing                   CPR, correct,                 other          than        they       were

 9   doing          it?

10              A                Correct.

11              Q                Yes or no?

12              A               Correct.

13              Q               And you would                       agree     with     me that            the

14   reason          --         the       importance                of doing         CPR on the               sternum

15   between              the        nipples            is     if     you perform              CPR in a

16   different              manner                it    can        cause     injury,           correct?

17              A               Correct.

18              Q               And are                you aware            how many children                     either

19   Danny       Riley               or     Frank        had        resuscitated               prior         to

20   encountering                      V,.?

21              A                No.

22              Q                So,        as    you        sit     here     today,        you have              no

23   direct          knowledge                    if    this        was their          first          child?

24              A                No.

25              Q               How many times                       over     your        career        have        you


                                          Cheryl M. Moore, Senior Court Reporter
CaseCase
     1:17-cv-01290-DJS DA_ffJtNiflXled
         23-589, Document 77, 01/17/2024, 3604437, Page206
                                              05/13/22     of 48
                                                        Page  213of                                                        52028
                                                                                                                                 47

 1     M. Bayly - Recross Examination by Mr. Roberts

 2     performed       CPR in        its      entirety?
 3                                THE COURT:                Mr. Roberts,                              we have

 4                      covered        that       on direct.                          If        it        is    a

 5                      transition            question             --

 6                                MR. ROBERTS:                    It        is.

 7
                                   THE COURT:               --         into           something                      else

 8                      that's        okay.

 9                                 MR. ROBERTS:                   It        is.

10                                 THE COURT:               But let's                       stick               --

11                                 MR. ROBERTS:                   It        is        a transition

12                       question.

13                                 THE COURT:               Let's             stick                  to        what        was

14                       addressed           on redirect.
                                   MR. ROBERTS:                   I will                   withdraw                  it.
15

16              Q        You performed               this         on hundreds                             of people?

17              A        I --      more      than     that.

18              Q        More than           that.          Okay.                 You follow                         up with

19     their      medical        progression              after             you perform                         CPR on

20     individuals?

2 J.            A        Yes.        I mean,         if     we --             if           we have               a cardiac

22     arrest       reversal,        yes,       we do --               we do follow                              up.

23
                Q        More than            hundreds,                what           would               be your

24     ballpark        figure?         I'm      sorry.

2·5             A        I couldn't            possibly                --        it        is        22 years,


                                 Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                     DJ\.ffJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page207
                                              05/13/22    of 213
                                                        Page  49 of ~
                                                                                                                           029
                                                                                                                               48

 1   M. Bayly - Recross Examination by Mr. Roberts

 2   thousands               of      calls          a year,       it     would             only        be an

 3   estimate.                 100,          200,     maybe       more.             I've          worked         in busy

 4   systems,               I've      worked           in     slow      systems.                  It    is    hard     to

 5   put     a number                on that.

 6                Q           You have               broken      ribs         doing          CPR, have               you

 7   not?

 8                A           On adults.

 9                Q           Okay.           And you have                   only     performed                ten     on

10   children,               correct?
11                A           That's           an estimate              as well,              but       that's         it.

12                Q           Did you follow                    up with             the     medical            prognosis

13   of     all       ten      of     those          children           to     determine                if    you had

14   broken           ribs         on any of            them?

15                A           No.

16                Q           So,         as you sit            here         today,          you don't               know if

17   you have            broken            ribs       on children,                  correct?

18                A           Well,          when you --

19                Q           Yes or no.

20                A           When you break                    a rib         doing          CPR you know it

21   because           you         feel       it.

22                Q           Okay.

23                A           I've         never       felt      it     doing         CPR on a child.

24                Q           And of           all     the      times         you've          done           CPR on a

25   child        how many times                      have      you done              it     on a futon?


                                      Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS                  DJlcppJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page208
                                              05/13/22    of 213
                                                       Page   50 of                                           5!0J0
                                                                                                                            49

 1   M. Bayly - Recross Examination by Mr. Roberts

 2               A          More than            once        we have.

 3               Q          How many?

 4               A          I don't           know.          I don't             know.

 5               Q          Fair        to    say     when you feel                   a rib      being         broken

 6   it     is    because           you're          pushing           on the         chest      against             a

 7   hard        surface          and        you can         feel         the     change,       correct?

 8               A          To me it            has    nothing              to    do with        the     surface.

 9   If     you      feel     --     you feel           it      in --            you can       feel     it         in

10   your        hands.

11               Q          But you didn't                   perform             CPR, did        you?

12               A          No.

13                                      MR. ROBERTS:                      Nothing        further,            Judge,

14                          thank        you.

15                                      THE COURT:                  Anything          else      from         the

16                          People?

17                                      MS. CHAVKIN:                      No,    your     Honor

18                                      THE COURT:                  Okay.          Captain,           you may

19                          step        down,       thank           you.

20                                      (Whereupon,                 the     witness,          Michael              Bayly,

21                          was excused               from          the     witness          stand.)

22                                      THE COURT:                  All     right.           Members          of the

23                          Jury,        we'll        take          a 15 minute              break      at     this

24                          time.

25                                      During        the      course            of this        break         please


                                   Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS        DJlcppJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page209
                                              05/13/22    of 213
                                                       Page   51 of   5!0Jl
                                                                          183

 1   People v. Michael Davis

 2                                   CERTIFICATION
 3                         I, CHERYL M. MOORE, Senior  Court
     Reporter   for Rensselaer      County Court and
 4   Notary   Public     in and for the State   of New York,
     do hereby    certify:
 5
                          The foregoing    to be a true
 6 transcription,         to the best of my ability,     of the
   stenographic       notes    as taken by me of the
 7 aforesaid      proceedings      and provided  on a
   daily-copy      basis.      As such, minor typographical
 a errors     may be found and will be corrected         when
   the official       final    copy of the record    is
 9 provided.

10
                              IN WITNESS w4F/BEOF, I have
11   her~to           set   my h~nd this~      day of
           i       a,A;&i,\_./ 2 Q,W_.        -
12             0                                  J     ~
13
                                                      L M. MOORE
14

15

16

17

18

19

20

21

22

23

24

25


                            Cheryl M. Moore, Senior Court Reporter
CaseCase
     1:17-cv-01290-DJS DA_ffJtNiflXled
         23-589, Document 77, 01/17/2024, 3604437, Page210
                                              05/13/22     of 52
                                                        Page  213of   52032
                                                                          184


1    People v. Michael Davis

2                              INDEX TO PROCEEDINGS

3    FOR THE PEOPLE:
 4 MICHAEL BAYLY
   Direct   Examination       by Ms. Chavkin .......••••••••              4
 s Cross Examination       by Mr. Roberts .....•..••••••••                9
   Redirect   Examination          by Ms. Chavkin .....•••••••           44
 6 Recross   Examination        by Mr. Roberts ......•••••••             45
   Witness   Excused .......................•..••••••                    49
 7
     KATHLEEN CRISAFULLI
 8   Direct  Examination       by Ms. Chavkin .......•••••••             51
     Cross Examination       by Mr. Roberts ........•••••••              55
 9   Witness  Excused .........................•••••••                   63

10   DANIELLE COONRADT
     Direct  Examination       by Ms. Chavkin ....•.••••••••              64
11   Cross Examination       by Mr. Roberts .....•.••••••••               68
     Witness  Excused ........................••••••••                    88
12
     REBECCA PARKER
13   Direct   Examination       by Ms. Chavkin .......•••••••             88
     Cross Examination       by Mr. Roberts ........•.•••••               95
14   Redirect   Examination          by Ms. Chavkin .....••••••          136
     Recross   Examination        by Mr. Roberts .......•••••            136
15   Witness   Excused ........................•••••••                   138

16   KRISTIN CORBIN
     Direct  Examination       by Ms. Chavkin .......••••••              139
17   Cross Examination      by Mr. Roberts ......•.••••••                144
     Witness  Excused ......................•..••••••                    155
18
     MATTHEWMETZGER
19   Direct   Examination       by Ms. Chavkin .......••••••             162
     Vair Dire Examination             by Mr. Roberts ..•..•••••         164
20   Cross Examination       by Mr. Roberts ......•.••••••               167
     Redirect   Examination          by Ms. Chavkin ....•.•••••          170
21   Recross   Examination        by Mr. Roberts ......••••••            171
     Witness   Excused .......................••••••••                   174
22
23   Matter      Adjourned      ......................••••••••           182

24

25

                         Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS      DJlcppJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page211
                                              05/13/22    of 213
                                                       Page   53 of   52033
                                                                          185

 l   People v. Michael Davis

 2                              INDEX TO EXHIBITS

 3   PEOPLE'S      EXHIBITS                            FOR ID     REC'D

 4    1    Miranda      Warnings
 5    2    Autopsy      Photograph
 6    3    Autopsy      Photograph
 7    4    Autopsy      Photograph
 8    5    Autopsy      Photograph
 9    6    Autopsy      Photograph
10    7    Autopsy      Photograph
11    8    Autopsy      Photograph
12    9    Photograph
13   10    Photograph
14   11    Photograph
15   12    Photograph
16   13    911    CD                                              166

17   14    Interview        DVD
18   15    Interview        DVD
19   16    M. Bayly's          Statement
20   17    R. Fountain          - Police
               Narrative
21
     18    R. Parker's          Statement
22
     19    K. Crisafulli's           Statement
23
     20    TPD Supplemental            Report
24
     21    Crime    Scene       Attendance
25                 Log

                        Cheryl M. Moore, Senior Court Reporter
   Case
Case 1:17-cv-01290-DJS     DJlcppJtNiJIXled
        23-589, Document 77, 01/17/2024, 3604437, Page212
                                              05/13/22    of 213
                                                       Page   54 of   52034
                                                                          186

 1   People v. Michael Davis

 2                   INDEX TO EXHIBITS           (Continued)

 3   PEOPLE'S       EXHIBITS                           FOR ID     REC'D

 4   22    Autopsy      Report

 5   23    Black     & White     Photograph

 6   24    Black     & White     Photograph

 7   25    9/9/15     Video      CD

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                        Cheryl M. Moore, Senior Court Reporter
   Case
 Case    23-589, DocumentD_A<ppftNtfrX1ed
      1:17-cv-01290-DJS  77, 01/17/2024, 3604437, Page213
                                              05/13/22    of 213
                                                        Page  55 of          5!0JS
                                                                                     187

 1   People v. Michael Davis

 2                      INDEX TO EXHIBITS                     (Continued)

 3   DEFENDANT'S EXHIBITS                                          FOR ID   REC'D

 4   A    Photograph                                               12       14

 5   B    PCR Report                                               24

 6   C   TPD - M. Bayly's                    Deposition            42

 7   D    Photograph                                               76       77

 8   E    Photograph                                               76       79

 9   F   CPS Report             - pgs.         44-45               152

10   G   2/24/15         Interview            CD

11

12

13

14   COURT'S EXHIBITS
15   1   Verdict         Sheet ............................                      .
16   2   Jury      Note ................................                         .
17   3   Jury      Note ................................                         .

18

19

20

21

22

23

24

25


                            Cheryl M. Moore, Senior Court Reporter
